                    Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 1 of 124 PageID 567



                                               IN THE UNITED STATES DISTRICT COURT
                                               FOR THE NORTHERN DISTRICT OF TEXAS
                                                       FORT WORTH DIVISION

                  UNITED STATES OF AMERICA,                        §
                                                                   §
                             Plaintiff,                            §
                                                                   §
                  v.                                               § CRIMINAL ACTION NO.
                                                                   § 4:24-CR-00001-Y-1
                  JOHN ANTHONY CASTRO,                             §
                                                                   §
                             Defendant.                            §



                                                     DEFENDANT’S TRIAL EXHIBITS

Exhibit Number   Sponsoring Description of Exhibit                                                 Identified   Offered Admitted
                 Witness
                                                               AiTax
   1.            J. Castro      AiTax Movie:
                                2020-08-12 2159, John Explains Downward Flow Discovery
   2.            J. Castro      AiTax Movie:
                                2020-08-12 2258, John Announces Proper Module Structure
   3.            J. Castro      AiTax Business Plan
   4.            J. Castro      AiTax Explanatory Video
   5.            J. Castro      AiTax Investor Pitch Deck




DEFENDANT’S EXHIBIT LIST                                                                                                       1
                    Case 4:24-cr-00001-Y Document 40 Filed 05/14/24            Page 2 of 124 PageID 568



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
   6.            J. Castro   AiTax Valuation Report
   7.            J. Castro   AiTax Valuation, Tony Drexel Smith Proprietary Pro Forma Development
                             Template
   8.            J. Castro   Letter Explaining AiTax
   9.            J. Castro   Official AiTax Flow Chart 2023-XX-XX
   10.           J. Castro   Dominic
   11.           J. Castro   Official AiTax Flow Chart 2023-01-30b
   12.           J. Castro   Official AiTax Flow Chart 2023-03-07
   13.           J. Castro   Official AiTax Flow Chart 2023-08-22
   14.           J. Castro   Official AiTax Flow Chart, 2021-01-07
   15.           J. Castro   Official AiTax Flow Chart, 2021-02-02
   16.           J. Castro   Official AiTax Flow Chart, 2021-06-07
   17.           J. Castro   Official AiTax Flow Chart, 2021-08-27
   18.           J. Castro   Official AiTax Flow Chart, 2021-09-18 – Copy
   19.           J. Castro   Official AiTax Flow Chart, 2021-09-18
   20.           J. Castro   Official AiTax Flow Chart, 2021-09-27
   21.           J. Castro   Official AiTax Flow Chart, 2022-01-21 – Copy
   22.           J. Castro   Official AiTax Flow Chart, 2022-02-07
   23.           J. Castro   Official AiTax Flow Chart, 2022-02-09
   24.           J. Castro   Official AiTax Flow Chart, 2022-03-18 (Word)



DEFENDANT’S EXHIBIT LIST                                                                                                        2
                    Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 3 of 124 PageID 569



Exhibit Number   Sponsoring Description of Exhibit                                                 Identified   Offered Admitted
                 Witness
   25.           J. Castro   Official AiTax Flow Chart, 2022-03-18 (Acrobat)
   26.           J. Castro   Official AiTax Flow Chart, 2023-01-04
   27.           J. Castro   Official AiTax Flow Chart, 2023-01-18
   28.           J. Castro   Official AiTax Flow Chart, 2023-01-19
   29.           J. Castro   Official AiTax Flow Chart, 2023-01-27
   30.           J. Castro   Official AiTax Flow Chart, 2023-01-30
   31.           J. Castro   USPTO: U.S. Patent No. 11,257,167
   32.           J. Castro   USPTO: U.S. Patent No. 11,397,995
   33.           J. Castro   USPTO: U.S. Patent No. 11,556,999
   34.           J. Castro   USPTO: U.S. Patent No. 11,847,707
   35.           J. Castro   USPTO: U.S. Trademark Reg. No. 7,205,552
   36.           J. Castro   USPTO: U.S. Trademark Reg. No. 7,272,567
                                                 EMAILS TO AUTHORITIES
   37.           J. Castro   2022-01-05, Responses to Open Questions.msg

   38.           J. Castro   2022-01-05, John Explains Alfonso's Return to Agent Ma.msg

   39.           J. Castro   2020-02-26, Communication with IRS Agent Re Section 119.msg
   40.           J. Castro   2022-01-10, AiTax Business Plan.msg

   41.           J. Castro   2022-01-17, Email to AUSA Chauncey Bratt Explaining AiTax Interview
                             Process (Turatti's Section 119 Expenses).msg

   42.           J. Castro   2022-01-18a, Email to AUSA Chauncey Bratt (Minor Follow-Up).msg



DEFENDANT’S EXHIBIT LIST                                                                                                       3
                    Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                Page 4 of 124 PageID 570



Exhibit Number   Sponsoring Description of Exhibit                                                      Identified   Offered Admitted
                 Witness

   43.           J. Castro   2022-01-18b, Email to AUSA Chauncey Bratt with Timeline of Section
                             62(a)(2)(A) Issue.msg

   44.           J. Castro   2022-02-10, Email to AUSA Chauncey Bratt Re Texas Attorney-Client
                             Privilege for Federal Practitioners.msg

   45.           J. Castro   2022-07-07, Email to AUSA Chaincey Bratt Re EFIN Revocation by Agent
                             Ma.msg

   46.           J. Castro   2022-07-20, Email to AUSA Chauncey Bratt Re DOJ Policy.msg

   47.           J. Castro   2022-08-04, Formal Criminal Complaint.msg

   48.           J. Castro   2022-09-28, Email with TIGTA Special Agent Erik Harkey Re IRS Agent
                             Ma.msg

   49.           J. Castro   2023-05-26, Email to FEC Re Loan of Stock.msg

                                                        TRIAL EXHIBITS
   50.           J. Castro   Step-by-Step Guide to Challenging the Validity of a Treasury Regulation:
                             supreme_court.jpg
   51.           J. Castro   Step-by-Step Guide to Challenging the Validity of a Treasury Regulation:
                             Notes.docx
   52.           J. Castro   Step-by-Step Guide to Challenging the Validity of a Treasury Regulation:
                             New York State Charitable Gifts Trust Fund.txt




DEFENDANT’S EXHIBIT LIST                                                                                                            4
                    Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                Page 5 of 124 PageID 571



Exhibit Number   Sponsoring Description of Exhibit                                                      Identified   Offered Admitted
                 Witness
   53.           J. Castro   Step-by-Step Guide to Challenging the Validity of a Treasury Regulation:
                             blind_justice.jpg
   54.           J. Castro   Section 119: Section 119 Castro & Co. Virtual Consultation.mp4
   55.           J. Castro   Section 119: Employer-Provided Lodging Expenses.docx
   56.           J. Castro   Employee Expenses Incurred Under a Reimbursement Arrangement:
                             Plante v. U.S., 226 F. Supp. 314 (D.N.H. 1963) .pdf
   57.           J. Castro   Employee Expenses Incurred Under a Reimbursement Arrangement: 2024-
                             03-28, Employee Expenses Incurred Under a Reimbursement
                             Arrangement.pdf
   58.           J. Castro   Employee Expenses Incurred Under a Reimbursement Arrangement: 2020-
                             09-26, Employee Expenses Incurred Under a Reimbursement
                             Arrangement.pdf
   59.           J. Castro   Child Care Expenses: Smith v CIR (The Genesis Case).pdf
   60.           J. Castro   Child Care Expenses: Schedule C, Disclosure Form 8275, Line 48, Child
                             Care Expenses Necessary to Pursue Business.txt
   61.           J. Castro   Child Care Expenses: OConnor v C I R (citing sexist Smith).pdf
   62.           J. Castro   Child Care Expenses: K-1103 WHETHER SPECIFIC KINDS OF
                             PERSONAL EXPENSES ARE DEDUCTIBLE.pdf
   63.           J. Castro   Child Care Expenses: discrimination 2.jpg




DEFENDANT’S EXHIBIT LIST                                                                                                            5
                    Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                    Page 6 of 124 PageID 572



Exhibit Number   Sponsoring Description of Exhibit                                                      Identified   Offered Admitted
                 Witness
   64.           J. Castro   Child Care Expenses: 2024-03-28, The Case for Deducting Child Care
                             Expenses.pdf
   65.           J. Castro   Child Care Expenses: 262 Personal living and family expenses.pdf
   66.           J. Castro   Child Care Expense: 212 Expenses for production of income.pdf
   67.           J. Castro   Child Care Expenses: 08 Dependent Care Expenses.mp4
   68.           J. Castro   Child Care Expenses: The Case for Deducting Child Care Expenses.dox
   69.           J. Castro   Work-Related Temporary Impairment Expenses.docx
   70.           J. Castro   Section 280F.docx
   71.           J. Castro   Depreciation.docx
                                            Client Specific Files – Boggs, James (17, 18, 19)
   72.           J. Castro   TY2017 Email: 2018-02-15 2013, Boggs Submits Online Contact Form.msg
   73.           J. Castro   TY2017 Email: 2018-02-15 2135, John Replies.msg
   74.           J. Castro   TY2017 Email: 2018-02-16 0411, Boggs Wants to Engage.msg
   75.           J. Castro   TY2017 Email: 2018-02-16 1128, John Sends SmartVault Email.msg
   76.           J. Castro   TY2017 Email: 2018-03-05 1430, John Sends the 2017 Tax Proposal.msg
   77.           J. Castro   TY2017 Email: 2018-03-05 1527, Boggs Approves the Proposal.msg
   78.           J. Castro   TY2017 Email: 2018-03-07, Return is Filed.msg
   79.           J. Castro   TY2017 ProFX Tax: Schedule C, Utilities, $7,598 Details.PNG
                             TY2017 ProFX Tax: Schedule C, Employee Benefits Program, $8,166
                             Details.PNG



DEFENDANT’S EXHIBIT LIST                                                                                                            6
                    Case 4:24-cr-00001-Y Document 40 Filed 05/14/24            Page 7 of 124 PageID 573



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
                             TY2017 ProFX Tax: Schedule C, Depreciation, $6,524 Details.PNG
                             TY2017 ProFX Tax: Schedule A, Unreimbursed Employee Expenses,
                             $6,307 of $8,315.PNG
                             TY2017 ProFX Tax: Schedule A, Unreimbursed Employee Expenses,
                             $2,008 of $8,315.png
                             TY2017 ProFX Tax: Schedule A, Other Miscellaneous Deductions,
                             $9,015.PNG
                             TY2017 ProFX Tax: Schedule A, Other Expenses, $203 of $14,153.PNG
                             TY2017 ProFX Tax: Schedule A, Other Expenses, $13,950 of
                             $14,153.PNG
                             TY2017 ProFX Tax: History 02.PNG
                             TY2017 ProFX Tax: History 01.PNG
                             TY2017 ProFX Tax: 2017-0X1.U7I
                             TY2017 ProFX Tax: 2017-0X1.B7I
   80.           J. Castro   TY2017 ProLaw: 2017 Tax Interview Packet v.5_Boggs.pdf.pdf
                             TY2017 ProLaw: 2017 Tax Proposal.PDF
                             TY2017 ProLaw: 2018-02-28, JSM.txt
                             TY2017 ProLaw: 2018-03-02, AD.txt
   81.           J. Castro   TY2017 Raw Data Transmitted to IRS: 2017-00816_2017 1040 History.xlsx
                             TY2017 Raw Data Transmitted to IRS: 2017-00816_2017 1040 XML.txt



DEFENDANT’S EXHIBIT LIST                                                                                                         7
                    Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 8 of 124 PageID 574



Exhibit Number   Sponsoring Description of Exhibit                                                Identified   Offered Admitted
                 Witness
   82.           J. Castro   TY2017 SmartVault: 2017 Annual Client Info Sheet---X.pdf
                             TY2017 SmartVault: 2017 BOGGS U.S. FEDERAL INCOME TAX
                             RETURN.PDF
                             TY2017 SmartVault: 2017 Business Income---X .xlsx
                             TY2017 SmartVault: 2017 Misc Expenses.xlsx
                             TY2017 SmartVault: 2018 Misc Expenses.xlsx
                             TY2017 SmartVault: Cruise Planners Expenses 2017--X.xlsx
                             TY2017 SmartVault: Cruise Planners Expenses 2018.xlsx
                             TY2017 SmartVault: Donation, 480.pdf
                             TY2017 SmartVault: Form 1098 MIS---X.pdf
                             TY2017 SmartVault: Form 1098MIS---X.pdf
                             TY2017 SmartVault: Form 1099 MISC SUB.pdf
                             TY2017 SmartVault: Form W2 (1)---X.pdf
                             TY2017 SmartVault: Form W2 (2)---X.pdf
                             TY2017 SmartVault: Form W2 (3)---X.pdf
                             TY2017 SmartVault: Form W2---X.pdf
   83.           J. Castro   TY2018 Email: 2019-04-11 1913, Boggs Sends Josh Some Expenses.msg
   84.           J. Castro   TY2018 Email: 2019-04-11 1959, John Confirms Receipt.msg
   85.           J. Castro   TY2018 Email: 2019-04-11 2017, Boggs Thanks John.msg
   86.           J. Castro   TY2018 Email: 2019-04-11 2038, John Says You're Welcome.msg



DEFENDANT’S EXHIBIT LIST                                                                                                      8
                    Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 9 of 124 PageID 575



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
   87.           J. Castro   TY2018 Email: 2019-04-14 1833, John Sends the 2018 Tax Proposal.msg
   88.           J. Castro   TY2018 Email: 2019-04-14 1856, Boggs Approves Proposal.msg
   89.           J. Castro   TY2018 Email: 2019-04-16, Tax Return is Filed.msg
   90.           J. Castro   TY2018 Email: 2019-06-26 1055, Alfonso Explains Availability.msg
   91.           J. Castro   TY2018 Email: 2019-06-26 1546, Alfonso Asks Boggs to Schedule Call.msg
   92.           J. Castro   TY2018 Email: 2019-06-26 1657, Boggs Confirms Scheduling.msg
   93.           J. Castro   TY2018 Email: 2019-06-26 1657, Boggs Schedules Call.msg
   94.           J. Castro   TY2018 Email: 2019-07-01 0820, Boggs Reschedules.msg
   95.           J. Castro   TY2018 Email: 2019-07-01 0823, Boggs Informs Alfonso.msg
   96.           J. Castro   TY2018 Email: 2019-07-01 1357, Alfonso Cancels Other Call.msg
   97.           J. Castro   TY2018 Email: 2019-07-01 1430, Alfonso Informs Boggs of
                             Unavailability.msg
   98.           J. Castro   TY2018 Email: 2019-07-01 1449, Boggs Asks for Reconsideration.msg
   99.           J. Castro   TY2018 Email: 2019-07-01 1605, Alfonso Apologizes.msg
   100.          J. Castro   TY2018 Email: 2019-08-13 1414, New Call Scheduled.msg
   101.          J. Castro   TY2018 Email: 019-08-13 1751, Celeste Informs of Need to Reschedule
                             with Wrong Name.msg
   102.          J. Castro   TY2018 Email: 2019-08-13 1752, Celeste Informs of Need to
                             Reschedule.msg
   103.          J. Castro   TY2018 Email: 2019-08-13 1808, Francine Notices Wrong Name.msg



DEFENDANT’S EXHIBIT LIST                                                                                                          9
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24            Page 10 of 124 PageID 576



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
   104.          J. Castro   TY2018 Email: 2019-08-13 1810, Francine Confirms.msg
   105.          J. Castro   TY2018 Email: 2019-08-14 0926, Celeste Asks About Time.msg
   106.          J. Castro   TY2018 Email: 2019-08-14 0942, Francine Confirms.msg
   107.          J. Castro   TY2018 ProFX Tax: 2017-0X1.B8I
                             TY2018 ProFX Tax: 2017-0X1.U8I
                             TY2018 ProFX Tax: History 01.PNG
                             TY2018 ProFX Tax: History 02.PNG
                             TY2018 ProFX Tax: Schedule C, Depreciation, $30,711.PNG
                             TY2018 ProFX Tax: Schedule C, Employee Benefits Program, $8,622.PNG
                             TY2018 ProFX Tax: Schedule C, Office Expenses, $7,855 (1 of 3).PNG
                             TY2018 ProFX Tax: Schedule C, Office Expenses, $7,855 (2 of 3).PNG
                             TY2018 ProFX Tax: Schedule C, Office Expenses, $7,855 (3 of 3).PNG
                             TY2018 ProFX Tax: Schedule C, Taxes and Licenses, $5,914.PNG
   108.          J. Castro   TY2018 ProLaw: 2018 Annual Tax Interview Packet_Boggs.pdf.pdf
                             TY2018 ProLaw: Calculator.pdf.pdf
                             TY2018 ProLaw: Main Notes.txt
                             TY2018 ProLaw: PDF copy 2018 Tax Proposal.PDF
   109.          J. Castro   TY2018 Raw Data Transmitted to IRS: 2017-00816_2018 1040 History.xlsx
   110.          J. Castro   TY2018 SmartVault: 2018 BOGGS U.S. FEDERAL INCOME TAX
                             RETURN.PDF



DEFENDANT’S EXHIBIT LIST                                                                                                        10
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 11 of 124 PageID 577



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
                             TY2018 SmartVault: 2018 Misc Expenses.xlsx
                             TY2018 SmartVault: 2018_Annual_Client_Info_Sheet_(ACIS) (1).pdf
                             TY2018 SmartVault: Cruise Planners Expenses 2018.xlsx
                             TY2018 SmartVault: Frances Fifis Boggs - EIN (1).pdf
                             TY2018 SmartVault: Frances Fifis Boggs - EIN.pdf
                             TY2018 SmartVault: IRS Form 1098-MIS.pdf
                             TY2018 SmartVault: IRS Form 1099-MISC 2018.pdf
                             TY2018 SmartVault: IRS Form W2 2018.pdf
                             TY2018 SmartVault: IRS Form W2's Same Company 2 Diff Payroll
                             Companies 2018.pdf
   111.          J. Castro   TY2019 Email: 2020-01-27, Celeste Sends Intro Email.msg
   112.          J. Castro   TY2019 Email: 2020-03-04, Boggs Schedules a Call wit Katherine Jean
                             Barnes, J.D., LL.M..msg
   113.          J. Castro   TY2019 Email: 2020-03-16, Celeste Instructs Boggs to Complete Virtual
                             Tax Interview.eml
   114.          J. Castro   TY2019 Email: 2020-03-31, Tax Return is Filed.msg
   115.          J. Castro   TY2019 Email: 2020-04-14 1213, Tiffany Sends Boggs the 2019 Tax
                             Proposal.eml
   116.          J. Castro   TY2019 Email: 2020-04-14 1232, Boggs Approves Proposal.msg
   117.          J. Castro   TY2019 Email: 2020-04-23, Celeste Notifies Boggs of Stimulus Check.eml



DEFENDANT’S EXHIBIT LIST                                                                                                         11
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 12 of 124 PageID 578



Exhibit Number   Sponsoring Description of Exhibit                                                 Identified   Offered Admitted
                 Witness
   118.          J. Castro   TY2019 Email: 2020-04-27, Alfonso Informs Boggs that Check was
                             Sent.msg
   119.          J. Castro   TY2019 Email: 2020-05-14 1128, Boggs Asks for Refund Status.msg
   120.          J. Castro   TY2019 Email: 2020-05-14 1139, John Provides Timeframe.msg
   121.          J. Castro   TY2019 Email: 2020-05-15, Alfonso Explains Pandemic Delays.msg
   122.          J. Castro   TY2019 Email: 2020-05-18, John Confirms Approval.msg
   123.          J. Castro   TY2019 Email: 2022-01-25, Alexander Asks for Missing Form 8879.msg
   124.          J. Castro   TY2019 ProFX Tax: 2017-0X1.B9I
   125.          J. Castro   TY2019 ProFX Tax: 2017-0X1.U9I
                             TY2019 ProFX Tax: History 01.PNG
                             TY2019 ProFX Tax: History 02.PN
                             TY2019 ProFX Tax: Schedule C1, Car and Truck Expenses, $4,416.PNG
                             TY2019 ProFX Tax: Schedule C1, Employee Benefits Program,
                             $8,098.PNG
                             TY2019 ProFX Tax: Schedule C1, Interest, $1,520.PNG
                             TY2019 ProFX Tax: Schedule C1, Office Expenses, $8,812 (1 of 3).PNG
                             TY2019 ProFX Tax: Schedule C1, Office Expenses, $8,812 (2 of 3).PNG
                             TY2019 ProFX Tax: Schedule C1, Office Expenses, $8,812 (3 of 3).PNG
                             TY2019 ProFX Tax: Schedule C1, Taxes and Licenses, $4,008.PNG
                             TY2019 ProFX Tax: Schedule C2, Car and Truck Expenses, $4,089.PNG



DEFENDANT’S EXHIBIT LIST                                                                                                      12
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                   Page 13 of 124 PageID 579



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
                             TY2019 ProFX Tax: Schedule C2, Employee Benefits Program,
                             $6,048.PNG
                             TY2019 ProFX Tax: Schedule C2, Office Expenses, $9,801 (1 of X).PNG
                             TY2019 ProFX Tax: Schedule C2, Office Expenses, $9,801 (2 of X).PNG
                             TY2019 ProFX Tax: Schedule C2, Office Expenses, $9,801 (3 of X).PNG
   126.          J. Castro   TY2019 ProLaw: 2019 Annual Tax Interview Packet_F
                             Boggs_3.17.2020.pdf.pdf
                             TY2019 ProLaw: Main Notes.txt
                             TY2019 ProLaw: PDF copy 2019 Tax Proposal.PDF
                             TY2019 ProLaw: Proposal_Calculator.pdf.pdf
   127.          J. Castro   TY2019 Raw Data Transmitted to IRS: 2017-00816_2019 1040 History.xlsx
   128.          J. Castro   TY2019 Raw Data Transmitted to IRS: 2017-00816_2019 1040 XML.txt
                                          Client Specific Files: Clayton, Paul And Alyssa (17)
   129.          J. Castro   2017 Tax Return (Recently Printed)
   130.          J. Castro   TY2017 Email: 2018-04-08, Paul Uploads All of His Tax Docs
   131.          J. Castro   TY2017 Email: 2018-04-16, John Sends Paul His 2017 Tax Proposal
   132.          J. Castro   TY2017 Email: 2018-05-29, Paul Acknowledges Tax Filings and Thanks Us
   133.          J. Castro   TY2017 Email: 2018-09-25, Josh Emails Paul for Annual Review Call
   134.          J. Castro   TY2017 ProFX Tax: 2015-2F1
                             TY2017 ProFX Tax: 2015-2F1



DEFENDANT’S EXHIBIT LIST                                                                                                         13
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                    Page 14 of 124 PageID 580



Exhibit Number   Sponsoring Description of Exhibit                                                     Identified   Offered Admitted
                 Witness
                             TY2017 ProFX Tax: History 01
                             TY2017 ProFX Tax: History 02
                             TY2017 ProFX Tax: Schedule A, Other Expenses, $5,290
                             TY2017 ProFX Tax: Schedule A, Unreimbursed Employee Expenses,
                             $6,999 (1 of 2)
                             TY2017 ProFX Tax: Schedule A, Unreimbursed Employee Expenses,
                             $6,999 (2 of 2)
                             TY2017 ProFX Tax: Schedule C, Depreciation, $20,000
                             TY2017 ProFX Tax: Schedule C, Gross Receipts, $5,370 (1 of 2)
                             TY2017 ProFX Tax: Schedule C, Gross Receipts, $5,370 (2 of 2)
                             TY2017 ProFX Tax: Schedule C, Supplies, $6,771
                             TY2017 ProFX Tax: Schedule C, Travel Expenses, $862
                             TY2017 ProFX Tax: Schedule C, Employee Benefits, $13,421
   135.          J. Castro   TY2017 ProLaw: 2017 Tax Interview Packet v.6_Clayton.pdf
                             TY2017 ProLaw: 2018-04-13, JSM
                             TY2017 ProLaw: PDF copy 2017 Tax Proposal
   136.          J. Castro   TY2017 Raw Data Transmitted to IRS: 2015-00441_2017 1040 History
                             TY2017 Raw Data Transmitted to IRS: 2015-00441_2017 1040 XML
                                               Client Specific Files: Jackson, Angela (17)




DEFENDANT’S EXHIBIT LIST                                                                                                          14
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 15 of 124 PageID 581



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
   137.          J. Castro   TY2017 Email: 2018-02-05 RE_ New Contact Form Submitted on
                             CastroAndCo_com (1)
   138.          J. Castro   TY2017 Email: 2018-02-07 RE_ New Contact Form Submitted on
                             CastroAndCo_com (2)
   139.          J. Castro   TY2017 Email: 2018-02-14 Castro & Co_ ✅ 2017 Tax Compliance
   140.          J. Castro   TY2017 Email: 2018-02-14 Re_ Castro & Co_ ✅ 2017 Tax Compliance (1)
   141.          J. Castro   TY2017 Email: 2018-02-14 Re_ New Contact Form Submitted on
                             CastroAndCo_com
   142.          J. Castro   TY2017 Email: 2018-02-15 RE_ Castro & Co_ ✅ 2017 Tax Compliance
                             (2)
   143.          J. Castro   TY2017 Email: 2018-02-15 RE_ Castro & Co_ ✅ 2017 Tax Compliance
                             (3)
   144.          J. Castro   TY2017 Email: 2018-03-12 Castro & Co_ ⚜ 2017 Tax Proposal
   145.          J. Castro   TY2017 Email: 2018-03-14 1422, Jackson Approves Proposal
   146.          J. Castro   TY2017 Email: 2018-03-14 1657, John Files Tax Return
   147.          J. Castro   TY2017 Email: 2018-04-24 Castro & Co_ _ IRS ID Verification Required
   148.          J. Castro   TY2017 Email: 2018-04-27 Re_ Castro & Co_ _ IRS ID Verification
                             Required (2)




DEFENDANT’S EXHIBIT LIST                                                                                                       15
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 16 of 124 PageID 582



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
   149.          J. Castro   TY2017 Email: 2018-04-30 RE_ Castro & Co_ _ IRS ID Verification
                             Required (1)
   150.          J. Castro   TY2017 Email: 2018-09-27 Castro & Co_ _ Client Review Call
   151.          J. Castro   TY2017 Email: 2018-09-27, Josh Emails Jackson about Annual Review Call
   152.          J. Castro   TY2017 Email: 2022-01-27, Alexander Emails Jackson for Form 8879
   153.          J. Castro   TY2017 ProFX Tax: 2017-0Z1.B71
                             TY2017 ProFX Tax: 2017-0Z1.U71
                             TY2017 ProFX Tax: History 01
                             TY2017 ProFX Tax: History 02
                             TY2017 ProFX Tax: Schedule A, Other Expenses, $28,600
                             TY2017 ProFX Tax: Schedule A, Unreimbursed Employee Expenses,
                             $2,400
   154.          J. Castro   TY2017 ProLaw: 2017 Tax Interview_-_JACKSON ANGELA
                             TY2017 ProLaw: Main Notes
                             TY2017 ProLaw: PDF copy 2017 Tax Proposal
   155.          J. Castro   TY2017 Raw Data Transmitted to IRS: 2017-00818_2017 1040 History
                             TY2017 Raw Data Transmitted to IRS: 2017-00818_2017 1040 XML
   156.          J. Castro   TY2017 SmartVault: ACIS---X
                             TY2017 SmartVault: FORM W2---X
                             TY2017 SmartVault: FORM 1099INT---X



DEFENDANT’S EXHIBIT LIST                                                                                                         16
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 17 of 124 PageID 583



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
                             TY2017 SmartVault: 2017 JACKSON U.S. FEDERAL INCOME TAX
                             RETURN
                             TY2017 SmartVault: Jackson, Angela - IRS ID Verification
                                  CLIENT-SPECIFIC FILES: Karavangelos, Christian (17, 18, 19)
   157.                      2017 KARAVANGELOS U.S. FEDERAL INCOME TAX RETURN
                             (Recently Printed)
   158.          J. Castro   TY2017 Email: 2018-03-23, John Sends Christian His 2017 Tax Proposal
   159.          J. Castro   TY2017 Email: 2018-03-24a, Christian Approves the Proposal
   160.          J. Castro   TY2017 Email: 2018-03-24b, 2017 Electronic Return Accepted by the IRS
   161.          J. Castro   TY2017 Email: 2018-04-24a, Alfonso Provides Christian with Update on
                             Refund
   162.          J. Castro   TY2017 Email: 2018-04-24b, Christian Says Thank You
   163.          J. Castro   TY2017 Email: 2018-09-27, Josh Emails Christian for Annual Review
   164.          J. Castro   TY2017 ProFX Tax: 2016-2U1.B71
   165.          J. Castro   TY2017 ProFX Tax: 2016-2U1.U71
   166.          J. Castro   TY2017 ProLaw: 2017 Tax Interview_-_KARAVENGELOS
                             CHRISTIAN.pdf
   167.          J. Castro   TY2017 ProLaw: PDF copy 2017 Tax Proposal
   168.          J. Castro   TY2017 Raw Data Transmitted to IRS: 2016-00689_2017 1040 History
   169.          J. Castro   TY2017 Raw Data Transmitted to IRS: 2016-00689_2017 1040 XML



DEFENDANT’S EXHIBIT LIST                                                                                                        17
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 18 of 124 PageID 584



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
   170.          J. Castro   TY2017 SmartVault: 2017 Business Income _-_KARAVANGELOS
                             CHRISTIAN_-_SPOUSE
   171.          J. Castro   TY2017 SmartVault: ACIS---X
   172.          J. Castro   TY2017 SmartVault: Karavangelos, Ciara - Employment ID Theft
   173.          J. Castro   TY2017 SmartVault: TAX DOCUMENTS
   174.          J. Castro   TY2018 Email: 2019-02-22, Christian Schedules Annual Tax Interview
   175.          J. Castro   TY2018 Email: 2019-03-15, Christian Asks About Tax Refund Even
                             Though Return Has Not Been Filed
   176.          J. Castro   TY2018 Email: 2019-03-17, John Sends Christian His 2018 Tax Proposal
   177.          J. Castro   TY2018 Email: 2019-03-18a, Christian Approves the Proposal
   178.          J. Castro   TY2018 Email: 2019-03-18b, Tiffany Asks Christian If He Has EIN for
                             Business
   179.          J. Castro   TY2018 Email: 2019-03-26, 2018 Electronic Return Accepted by the IRS
   180.          J. Castro   TY2018 ProFX Tax: 2016-2U1.B8I
                             TY2018 ProFX Tax: 2016-2U1U8I
   181.          J. Castro   TY2018 ProLaw: 2018 Tax Interview Packet_KARAVANGELOS
                             CHRISTIAN.pdf
                             TY2018 ProLaw: Main Notes
                             TY2018 ProLaw: PDF copy 2018 Tax Proposal
                             TY2018 ProLaw: Proposal_Calculator.pdf



DEFENDANT’S EXHIBIT LIST                                                                                                       18
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 19 of 124 PageID 585



Exhibit Number   Sponsoring Description of Exhibit                                                      Identified   Offered Admitted
                 Witness
   182.          J. Castro   TY2018 Raw Data Transmitted to IRS: 2016-00689_2018 1040 History
                             TY2018 Raw Data Transmitted to IRS: 2016-00689_2018 1040 XML
   183.          J. Castro   TY2018 SmartVault: 2018 KARAVANGELOS U.S. FEDERAL INCOME
                             TAX RETURN
                             TY2018 SmartVault: 2018_Annual_Client_Info_Sheet_(ACIS)
                             TY2018 SmartVault: Giving Docs
                             TY2018 SmartVault: IRS Form 1098-MIS
                             TY2018 SmartVault: IRS Form W-2
   184.          J. Castro   TY2019 Email: 2020-01-28, Celeste Emails Christian the 2019 Introduction
                             Email
   185.          J. Castro   TY2019 Email: 2020-03-14a, Christian Schedules Annual Tax Interview
   186.          J. Castro   TY2019 Email: 2020-03-14b, Christian Acknowledges Virtual Tax Interview
                             Option Bonus
   187.          J. Castro   TY2019 Email: 2020-03-15, Christian Uploads Documents to SmartVault
   188.          J. Castro   TY2019 Email: 2020-03-16a, Alfonso Forwards Christian's Email to Celeste
   189.          J. Castro   TY2019 Email: 2020-03-16b, Celeste Send Info About 2019 Virtual Tax
                             Interview
   190.          J. Castro   TY2019 Email: 2020-03-16b, Celeste Send Info About 2019 Virtual Tax
                             Interview




DEFENDANT’S EXHIBIT LIST                                                                                                           19
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                 Page 20 of 124 PageID 586



Exhibit Number   Sponsoring Description of Exhibit                                                     Identified   Offered Admitted
                 Witness
   191.          J. Castro   TY2019 Email: 2020-03-17, Christian Confirms Creation of Business
                             Spreadsheet
   192.          J. Castro   TY2019 Email: 2020-03-31, 2019 Electronic Return Accepted by the IRS
   193.          J. Castro   TY2019 Email: 2020-04-02, John Sends Christian His 2019 Tax Proposal
   194.          J. Castro   TY2019 Email: 2020-04-03a, Christian Approves the Proposal and Asks Us
                             to File
   195.          J. Castro   TY2019 Email: 2020-04-03b, John Confirms Approval
   196.          J. Castro   TY2019 Email: 2020-04-17, Christian Asks About COVID Stimulus
                             Checks
   197.          J. Castro   TY2019 Email: 2020-04-21a, Celeste Tells Christian We're Monitoring the
                             Situation
   198.          J. Castro   TY2019 Email: 2020-04-21b, Christian Thanks Celeste
   199.          J. Castro   TY2019 Email: 2020-04-23, Celeste Informs Christian that Stimulus Check
                             Arrived
   200.          J. Castro   TY2019 Email: 2020-05-04a, Christian Asks for Update on Refund Status
   201.          J. Castro   TY2019 Email: 2020-05-04b, Alfonso Provides Update on Refund
   202.          J. Castro   TY2019 Email: 2021-01-12, Christian Asks Celeste If We Have His Current
                             Address
   203.          J. Castro   TY2019 Email: 2022-01-27, Alexander Emails Christian for 2019 Form
                             8879



DEFENDANT’S EXHIBIT LIST                                                                                                          20
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 21 of 124 PageID 587



Exhibit Number   Sponsoring Description of Exhibit                                              Identified   Offered Admitted
                 Witness
   204.          J. Castro   TY2019 ProFX Tax: 2016-2U1.B9I
                             TY2019 ProFX Tax: 2016-2U1.U9I
   205.          J. Castro   TY2019 ProLaw: 2019 V Annual Tax Interview Packet_C
                             Karavangelos_3.17.2020.pdf
                             TY2019 ProLaw: Main Notes
                             TY2019 ProLaw: PDF copy 2019 Tax Proposal
                             TY2019 ProLaw: Proposal_Calculator.pdf
   206.          J. Castro   TY2019 Raw Data Transmitted to IRS: 2016-00689 - FD
                             TY2019 Raw Data Transmitted to IRS: 2019 2016-00689
                             TY2019 SmartVault: 2019 Business Income
                             TY2019 SmartVault: 2019 KARAVANGELOS U.S. FEDERAL INCOME
                             TAX RETURN
                             TY2019 SmartVault: 2019_Annual_Client_Info_Sheet__(ACIS)
                             TY2019 SmartVault: Karavangelos_AY2019_Tax Docs
                             TY2019 SmartVault: ORIGINAL RETURN
                             TY2019 SmartVault: Striving Grace Photography - EIN
                                       CLIENT SPECIFIC FILES: Lampkin, Ahmad (17, 18)
   207.          J. Castro   2017 AMENDED
   208.          J. Castro   2017 RECONSTRUCTED
   209.          J. Castro   TY2017 Email: 2016-04-11, Lampkin Provides ACIS



DEFENDANT’S EXHIBIT LIST                                                                                                   21
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 22 of 124 PageID 588



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
   210.          J. Castro   TY2017 Email: 2016-04-18, Lampkin Approves 2015 Tax Proposal
   211.          J. Castro   TY2017 Email: 2016-04-19, Lampkin's 2015 Return is Filed with the IRS
   212.          J. Castro   TY2017 Email: 2016-06-14, Lampkin Discloses Education Debt that
                             Resulted in Seized Refunds
   213.          J. Castro   TY2017 Email: 2017-02-04, Lampkin Approves 2016 Tax Proposal
   214.          J. Castro   TY2017 Email: 2017-02-14, Lampkin's 2016 Return Filed with IRS
   215.          J. Castro   TY2017 Email: 2018-03-05a, Alfonso Warns John About Lampkin
   216.          J. Castro   TY2017 Email: 2018-03-05b, John Explains to Alfonso That Fees Can Wait
   217.          J. Castro   TY2017 Email: 2018-03-21, John Sends 2017 Tax Proposal
   218.          J. Castro   TY2017 Email: 2018-03-21, Lampkin Approves Proposal
   219.          J. Castro   TY2017 Email: 2018-03-24, John Files Lampkin's Return
   220.          J. Castro   TY2017 Email: 2018-04--25b, John Mistakenly Files Lampkin's Extension
   221.          J. Castro   TY2017 Email: 2018-04-25a, John Explains That Returns May Have to Be
                             Withdrawn if Fees Not Settled
   222.          J. Castro   TY2017 Email: 2018-06-18, Email Exchanges Between Alfonso and
                             Lampkin Regarding Balance
   223.          J. Castro   TY2017 Email: 2018-09-04a, Lampkin Emails John Asking for Direct Call
   224.          J. Castro   TY2017 Email: 2018-09-04b, John Explains He Is Not Wasting Time
   225.          J. Castro   TY2017 Email: 2018-09-05, Lampkin Again Stalls in Exchanges in Alfonso
   226.          J. Castro   TY2017 Email: 2018-09-21, Lampkin Makes a $100 Payment



DEFENDANT’S EXHIBIT LIST                                                                                                         22
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 23 of 124 PageID 589



Exhibit Number   Sponsoring Description of Exhibit                                                     Identified   Offered Admitted
                 Witness
   227.          J. Castro   TY2017 ProFX Tax: 2015-4R1.B7
                             TY2017 ProFX Tax: 2015-4R1.U71
   228.          J. Castro   TY2017 ProLaw: 2017 Tax Interview Packet v.6_Lampkin.pdf
                             TY2017 ProLaw: Main Notes
                             TY2017 ProLaw: PDF copy 2017 Tax Proposal
   229.          J. Castro   TY2017 Raw Data Transmitted to IRS: 2015-00523_2017 1040 DC XML
                             TY2017 Raw Data Transmitted to IRS: 2015-00523_2017 1040 FD XML
                             TY2017 Raw Data Transmitted to IRS: 2015-00523_2017 1040 History
   230.          J. Castro   2018 AMENDED LAMPKIN U.S. FEDERAL INCOME TAX RETURN
   231.          J. Castro   Agent Contact Info
   232.          J. Castro   DC Tax Refund (Sent Back)
                             DC Tax Refund Deposited
   233.          J. Castro   TY2018 Email: 2019-03-18, Lampkin Sneaks in an Appointment
   234.          J. Castro   TY2018 Email: 2019-04-29, Lampkins Federal Return is Mysteriously Filed
   235.          J. Castro   TY2018 Email: 2019-05-09, Lampkin Asks About an Extension
   236.          J. Castro   TY2018 Email: 2019-05-30, Lampkin Asks About Debt
   237.          J. Castro   TY2018 Email: 2019-05-31a, Notice of Client Termination
   238.          J. Castro   TY2018 Email: 2019-05-31b, Lampkin Again Plays Innocent and Claims to
                             Be Unaware of Nonpayment
   239.          J. Castro   TY2018 Email: 2019-05-31c, Lampkins Asks for a Call to Again Stall



DEFENDANT’S EXHIBIT LIST                                                                                                          23
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                Page 24 of 124 PageID 590



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
   240.          J. Castro   TY2018 Email: 2019-05-31d, John Calls Out Lampkin's Repeated
                             Deception
   241.          J. Castro   TY2018 Email: 2019-05-31e, Lampkin Falsely Claims to Have Letter and
                             Documents Proving Payments
   242.          J. Castro   TY2018 Email: 2019-06-14, Lampkin Falsely Claims He Made Payments
   243.          J. Castro   TY2018 Email: 2019-06-20, Lampkin Falsely Claims He Was Unaware of
                             Address Disclosed on ACIS and on Prior Year Return
   244.          J. Castro   TY2018 Email: 2019-06-20, Lampkins Asks About Refund Check That
                             Was Sent Back to DC
   245.          J. Castro   TY2018 Email: 2019-06-25a, Lampkin Asks for Status
   246.          J. Castro   TY2018 Email: 2019-06-25b, John Explains That Everything Is Being
                             Undone
   247.          J. Castro   TY2018 Email: 2019-06-25c, Lampkin Again Falsely Claims He Did Not
                             Give Consent
   248.          J. Castro   TY2018 Email: 2020-09-23a, DC Revenue Agent Visits Office
   249.          J. Castro   TY2018 Email: 2020-09-23b, John and Alfonso Establish That Funds Were
                             Sent to DC
   250.          J. Castro   TY2018 Email: 2024-03-17, Email with Agent Passmore Re Ahmed
                             Lampkin
   251.          J. Castro   TY2018 Email: 2019-06-17, Amendment Paper-Filed



DEFENDANT’S EXHIBIT LIST                                                                                                        24
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 25 of 124 PageID 591



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
   252.          J. Castro   TY2018 ProFX Tax: 2015-4R2.B8I
                             TY2018 ProFX Tax: 2015-4R2.U8I
   253.          J. Castro   TY2018 ProLaw: 2018 Annual Tax Interview Packet Lampkin.pdf
                             TY2018 ProLaw: Main Notes
   254.          J. Castro   TY2018 Raw Data Transmitted to IRS: 2015-00523_2018 1040 DC XML
                             TY2018 Raw Data Transmitted to IRS: 2015-00523_2018 1040 FD XML
                             TY2018 Raw Data Transmitted to IRS: 2015-00523_2018 1040 History
                                            CLIENT SPECIFIC FILES: Meyer, John (17)
   255.          J. Castro   TY2017 Email: 2018-03-14 1250 - Re_ Information regarding my Tax
                             Return
   256.          J. Castro   TY2017 Email: 2018-03-14a, Meyer Provides John with Cru Tax
                             Instructions
   257.          J. Castro   TY2017 Email: 2018-03-14b, John Confirms He Will Have Team Review
   258.          J. Castro   TY2017 Email: 2018-03-14c, John Provides Document to AB
   259.          J. Castro   TY2017 Email: 2018-03-17, John Sends Meyer his 2017 Tax Proposal
   260.          J. Castro   TY2017 Email: 2018-03-22, Meyer Approves the Proposal
   261.          J. Castro   TY2017 Email: 2018-03-24, 2017 Electronic Return Accepted by the IRS
   262.          J. Castro   TY2017 Email: 2018-06-18, Alfonso Receives Meyer Out-of-Office Reply
   263.          J. Castro   TY2017 Email: 2018-06-18, Meyer Asks Alfonso for Update on Refund
   264.          J. Castro   TY2017 Email: 2018-06-20, Alfonso Determines Refund Check was Lost



DEFENDANT’S EXHIBIT LIST                                                                                                       25
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 26 of 124 PageID 592



Exhibit Number   Sponsoring Description of Exhibit                                                      Identified   Offered Admitted
                 Witness
   265.          J. Castro   TY2017 Email: 2018-06-21, Meyer Asks Alfonso to Submit Refund Trace
                             Request
   266.          J. Castro   TY2017 Email: 2018-06-26a, Alfonso Informs Meyer He Must Personally
                             Call IRS
   267.          J. Castro   TY2017 Email: 2018-06-26b, Meyer Asks Alfonso for Copy of Return
   268.          J. Castro   TY2017 Email: 2018-06-26c, Alfonso Explains that Fees Must Be Paid First
   269.          J. Castro   TY2017 Email: 2018-07-02a, Meyer Confirms He Called IRS to Trace
                             Refund
   270.          J. Castro   TY2017 Email: 2018-07-02b, Alfonso Confirms Fee will be Invoiced Later
   271.          J. Castro   TY2017 Email: 2018-07-02c, Meyer Thanks Alfonso
   272.          J. Castro   TY2017 Email: 2018-07-22, Meyer Receives IRS Notice that Refund Check
                             Cashed
   273.          J. Castro   TY2017 Email: 2018-07-23a, Alfonso Acknowledges Mistake
   274.          J. Castro   TY2017 Email: 2018-07-23b, Alfonso Explains Error and Discounts Fee
                             $500
   275.          J. Castro   TY2017 Email: 2018-07-23c, Meyer Confirms ACH Details
   276.          J. Castro   TY2017 Email: 2018-07-24a, Alfonso Confirms Wire Sent and Explains Fee
   277.          J. Castro   TY2017 Email: 2018-07-24c, Alfonso Uploads Copy of Return
   278.          J. Castro   TY2017 Email: 2018-07-24c, Meyer Confirms Receipt of Wire and Asks for
                             Copy of Return



DEFENDANT’S EXHIBIT LIST                                                                                                           26
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 27 of 124 PageID 593



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
   279.          J. Castro   TY2017 Email: 2018-07-28a, Meyer Asks for Return to be Removed from
                             SmartVault
   280.          J. Castro   TY2017 Email: 2018-07-28b, Meyer Asks About Document Retention
   281.          J. Castro   TY2017 Email: 2018-07-30a, Alfonso Confirms Removal of Return from
                             SmartVault
   282.          J. Castro   TY2017 Email: 2018-07-30b, Meyer Thanks Alfonso Again
   283.          J. Castro   TY2017 Email: 2018-09-27, Josh Emails Meyer about Annual Review Call
   284.          J. Castro   TY2017 Email: 2018-09-30, Meyer Schedules Annual Review Call
   285.          J. Castro   TY2017 Email: 2018-12-19a, Alfonso Informs Meyer of John Illness
   286.          J. Castro   TY2017 Email: 2018-12-04b, Alfonso Emails Meyer Scheduling
                             Instructions
   287.          J. Castro   TY2017 Email: 2018-12-04c, Meyer Confirms Call Completed in 10-22,
                             Asks About SE Tax
   288.          J. Castro   TY2017 Email: 2018-12-04d, Alfonso Asks Meyer to Schedule Another
                             Review Call
   289.          J. Castro   TY2017 Email: 2018-12-05, Meyer Schedules Another Review Call
   290.          J. Castro   TY2017 Email: 2018-12-19a, Alfonso Informs Meyer of John Illness
   291.          J. Castro   TY2017 Email: 2018-12-19b, Alfonso Mentions Form 4361
   292.          J. Castro   TY2017 Email: 2018-12-19c, Meyer Says No Availability on Calendar
   293.          J. Castro   TY2017 Email: 2018-12-19d, Alfonso Fixes Calendar



DEFENDANT’S EXHIBIT LIST                                                                                                       27
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 28 of 124 PageID 594



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
   294.          J. Castro   TY2017 Email: 2018-12-19e, Meyer Books a New Review Call
   295.          J. Castro   TY2017 Email: 2018-12-26, Meyer Asks for Email Address Update to
                             Personal Account
   296.          J. Castro   TY2017 Email: 2019-01-24, John Emails Meyer Re Legal Research on Issue
   297.          J. Castro   TY2017 Email: 2019-02-20, John Emails Meyer to Share Email Exchange
                             with Dennis Kaspar
   298.          J. Castro   TY2017 Email: 2021-03-27, Meyer Asks for SmartVault to be Deleted
                             (Suspicious)
   299.          J. Castro   TY2017 ProFX Tax: 2015-301.B7I
                             TY2017 ProFX Tax: 2015-301.U7I
   300.          J. Castro   TY2017 ProLaw: 2017 Tax Interview Packet v.6_Meyer.pdf
                             TY2017 ProLaw: 2018-03-09, JSM
                             TY2017 ProLaw: PDF copy 2017 Tax Proposal
   301.          J. Castro   TY2017 Raw Data Transmitted to IRS: 2015-00462_2017 1040 History
                             TY2017 Raw Data Transmitted to IRS: 2015-00462_2017 1040 XML
   302.          J. Castro   TY2017 SmartVault: 2017 MEYER U.S. FEDERAL INCOME TAX
                             RETURN
                             TY2017 SmartVault: ACIS---X
                             TY2017 SmartVault: FORM 1095C---X
                             TY2017 SmartVault: FORM 1098MIS---X



DEFENDANT’S EXHIBIT LIST                                                                                                         28
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 29 of 124 PageID 595



Exhibit Number   Sponsoring Description of Exhibit                                                 Identified   Offered Admitted
                 Witness
                             TY2017 SmartVault: FORM 1099 Consolidated---X
                             TY2017 SmartVault: FORM 1099DIV---X
                             TY2017 SmartVault: FORM 1099INT---X
                             TY2017 SmartVault: FORM 1099R (2)---X
                             TY2017 SmartVault: FORM 1099R---X
                             TY2017 SmartVault: FORM W2 (2)---X
                             TY2017 SmartVault: FORM W2---X
                             TY2017 SmartVault: Meyer, John and Kelley_Helpful Tax Information
                             TY2017 SmartVault: Meyer_Ministers Housing Allowables
                             TY2017 SmartVault: SCHEDULE K-1---X
                             TY2017 SmartVault: _READ FIRST_MEYER 2017 TAX SUMMARY
                             TY2017 SmartVault: _READ_Note about Ministers Housing
                                           CLIENT SPECIFIC FILES: Natt, Michael (17)
   303.          J. Castro   2017 U.S. FEDERAL INCOME TAX RETURN
   304.          J. Castro   TY2017 Email: 2018-02-23 Castro & Co_ ⚜ 2017 Tax Proposal
   305.          J. Castro   TY2017 Email: 2018-06-14 2017 Electronic Return Accepted by the IRS
   306.          J. Castro   TY2017 Email: 2018-08-01 Natt Confirms Receipt of Net Refund but
                             Believes It An Error
   307.          J. Castro   TY2017 Email: 2018-08-14 Alfonso Explains the Check




DEFENDANT’S EXHIBIT LIST                                                                                                      29
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 30 of 124 PageID 596



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
   308.          J. Castro   TY2017 Email: 2018-08-15 Natt Explains He Never Approved the Filing
                             and Requests a Copy
   309.          J. Castro   TY2017 Email: 2018-09-02 John Explains the Terms in the ACIS
                             Explaining Why Outstanding Proposals are Deemed Approved on the
                             Deadline
   310.          J. Castro   TY2017 Email: 2018-09-25 Natt Provides Word Document with Non-
                             Exhaustive List of Issues
   311.          J. Castro   TY2017 Email: 2018-09-28 Josh Contacts Natt to Schedule Annual Review
                             Call
   312.          J. Castro   TY2017 Email: 2018-09-28 Natt Books Appointment
   313.          J. Castro   TY2017 Email: 2018-11-08a Email from Tiffany with Entire Chain and
                             Details from Call, All Minor Issues
   314.          J. Castro   TY2017 Email: 2018-11-08b John Responds and Confirms Amendment
                             Will Be Filed If Needed
   315.          J. Castro   TY2017 Email: 2018-11-08c John Emails Natt
   316.          J. Castro   TY2017 Email: 2018-11-09a Alfonso Instructs Natt to Schedule Call
   317.          J. Castro   TY2017 Email: 2018-11-09b Natt Books Call with John the Day Before
                             Thanksgiving
   318.          J. Castro   TY2017 Email: 2018-11-15 Alfonso Cancels Scheduled Call and Advises
                             Natt to Reschedule



DEFENDANT’S EXHIBIT LIST                                                                                                        30
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 31 of 124 PageID 597



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
   319.          J. Castro   TY2017 Email: 2018-11-16a Natt Asks if Call Can Be Rescheduled
   320.          J. Castro   TY2017 Email: 2018-11-16b Alfonso Explains Again It Can Be
                             Rescheduled
   321.          J. Castro   TY2017 Email: 2018-11-28 John Responds to Natt in Red
   322.          J. Castro   TY2017 Email: 2019-01-15 Natt Responds to John in Blue but Its
                             Incoherent
   323.          J. Castro   TY2017 Email: 2019-03-05 Natt Comes Back with More Questions
   324.          J. Castro   TY2017 Email: 2019-04-03a Natt Contacts the Firm via Web Chat
   325.          J. Castro   TY2017 Email: 2019-04-03b John Asks Alfonso to Contact Natt to Explain
                             Termination
   326.          J. Castro   TY2017 Email: 2019-04-03c Alfonso Explains Termination
   327.          J. Castro   TY2017 Email: 2019-05-02a Natt Refers to Himself as Active Client but
                             Insists Return was Filed Without Authorization
   328.          J. Castro   TY2017 Email: 2019-05-02b Due to Harassment, John Advises Alfonso to
                             Block Natt
   329.          J. Castro   TY2017 Email: 2019-05-08 Natt Says He Is Angry and Wants John to
                             Reply
   330.          J. Castro   TY2017 Email: 2019-05-09a Natt Says He's Coming to DC
   331.          J. Castro   TY2017 Email: 2019-05-09b Alfonso Explains that Team Decides Who
                             They Work With



DEFENDANT’S EXHIBIT LIST                                                                                                         31
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 32 of 124 PageID 598



Exhibit Number   Sponsoring Description of Exhibit                                                 Identified   Offered Admitted
                 Witness
   332.          J. Castro   TY2017 Email: 2019-05-10 Natt Confirms He Landed in DC
   333.          J. Castro   TY2017 Email: 2021-07-29 Natt Asks for Copy of 2017 Return
   334.          J. Castro   TY2017 Email: 2021-07-30 Alfonso Confirms We No Longer Have His
                             2017 Return
   335.          J. Castro   TY2017 ProFX Tax: 2016-5C1.B71
                             TY2017 ProFX Tax: 2016-5C1.U71
   336.          J. Castro   TY2017 ProLaw: 2017 Tax Interview_-_NATT MICHAEL.pdf
                             TY2017 ProLaw: 2018-02-22, AD
                             TY2017 ProLaw: Main Notes
                             TY2017 ProLaw: PDF copy 2017 Tax Proposal
   337.          J. Castro   TY2017 Raw Data Transmitted to IRS: 2016-00777_2017 1040 History
                             TY2017 Raw Data Transmitted to IRS: 2016-00777_2017 1040 XML
   338.          J. Castro   2019 PUTICA U.S. FEDERAL AND CA STATE INCOME TAX
                             RETURN
                                           CLIENT-SPECIFIC FILES: Putica, Michael (19)
   339.          J. Castro   Putica ACH Confirmation
   340.          J. Castro   TY2019 Email: 2020-03-06, Michael Schedule his Annual Tax Interview
                             with Kasondra Kay Humphreys CPA
   341.          J. Castro   TY2019 Email: 2020-03-22, MISSING EXPENSES
   342.          J. Castro   TY2019 Email: 2020-03-22, RENTAL PROPERTY



DEFENDANT’S EXHIBIT LIST                                                                                                      32
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 33 of 124 PageID 599



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
   343.          J. Castro   TY2019 Email: 2020-03-23 Re_ MISSING EXPENSES
   344.          J. Castro   TY2019 Email: 2020-03-23 Re_ RENTAL PROPERTY
   345.          J. Castro   TY2019 Email: 2020-03-24, Re_ MISSING EXPENSES (2)
   346.          J. Castro   TY2019 Email: 2020-03-24, RE_ MISSING EXPENSES
   347.          J. Castro   TY2019 Email: 2020-03-25, Alexander and Michael Discuss the Vehicle
   348.          J. Castro   TY2019 Email: 2020-04-14a, Tiffany Send Michael his 2019 Tax Proposal
   349.          J. Castro   TY2019 Email: 2020-04-14b, Michael Confirms Receipt Before Deadline
   350.          J. Castro   TY2019 Email: 2020-06-26 a, Michael Emails that He Did Not Authorize
                             Filing on Deadline
   351.          J. Castro   TY2019 Email: 2020-06-26 b, John Has a Call Scheduled
   352.          J. Castro   TY2019 Email: 2020-06-26 c, Michael Asks Celeste for Scope of Call He
                             Requested
   353.          J. Castro   TY2019 Email: 2020-07-01, Michael Emails That He is on the Conference
                             Line, Proof We Talked, He Consented
   354.          J. Castro   TY2019 Email: 2020-07-03, Michael Emails John a Series of Questions
   355.          J. Castro   TY2019 Email: 2020-07-04a, Michael Expressly Rejects Proposal and
                             Requests Amendment
   356.          J. Castro   TY2019 Email: 2020-07-04b, John Confirms Amendment Will Be
                             Processed
   357.          J. Castro   TY2019 Email: 2020-07-05a, John Explains Amendment Results



DEFENDANT’S EXHIBIT LIST                                                                                                        33
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                Page 34 of 124 PageID 600



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
   358.          J. Castro   TY2019 Email: 2020-07-05b, John Asks Michael If He Still Wants
                             Questions Answered
   359.          J. Castro   TY2019 Email: 2020-07-06, Michael Ask for Details on Amendment
                             Procedure (Last Email)
   360.          J. Castro   TY2019 Email: 2020-07-29., John Explains Fee Sent to IRS and
                             Amendment Can Be e-Filed
   361.          J. Castro   TY2019 Email: 2020-12-16a, John Asks Kasondra Why the Software
                             Produced a Particular Line Item
   362.          J. Castro   TY2019 Email: 2020-12-16b, Kasondra Explains the Software Linking
                             Issue
   363.          J. Castro   TY2019 Email: 2020-12-16c, John Explains Everything to Michael
                             (CRITICAL)
   364.          J. Castro   TY2019 Email: 2021-01-08, John Identifies that Michael is Purposefully
                             Not Cashing our Checks and Calls Him Out
   365.          J. Castro   TY2019 Email: 2021-02-01, John Identifies and Explains to Michael Why
                             Return was Filed Before Deadline
   366.          J. Castro   TY2019 Email: 2022-01-25, Castro & Co Missing form 8879 for Tax Year
                             2019
   367.          J. Castro   TY2019 ProFX Tax: 2019-2Q1.B9I
                             TY2019 ProFX Tax: 2019-2Q1.U9I



DEFENDANT’S EXHIBIT LIST                                                                                                         34
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 35 of 124 PageID 601



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
                             TY2019 ProFX Tax: 2019-2Q2.B9I
                             TY2019 ProFX Tax: 2019-2Q2.U9I
   368.          J. Castro   TY2019 ProLaw: 2002-03-25, Alexander and Michael Discuss the Vehicle
                             TY2019 ProLaw: 2019 V Annual Tax Interview Packet_M
                             Putica_3.18.2020.pdf
                             TY2019 ProLaw: History of Events, Client is Being Shady
                             TY2019 ProLaw: PDF copy 2019 Tax Proposal
                             TY2019 ProLaw: Proposal_Calculator.pdf
   369.          J. Castro   TY2019 Raw Data Transmitted to IRS: 2019 2019-01363
                             TY2019 Raw Data Transmitted to IRS: 2019-01363 - CA
                             TY2019 Raw Data Transmitted to IRS: 2019-01363 - FD
   370.          J. Castro   TY2019 SmartVault: 1095C
                             TY2019 SmartVault: 1098 - 1 2019
                             TY2019 SmartVault: 1098-2 2019
                             TY2019 SmartVault: 2019 FBAR and 8938 Spreadsheet_v1
                             TY2019 SmartVault: 2019 PUTICA U.S. FEDERAL AND CA STATE
                             INCOME TAX RETURN
                             TY2019 SmartVault: 2019 Rental Property_mp
                             TY2019 SmartVault: 2020-10-07 - Putica, Michael - 2019 IRS Additional
                             Time Requested



DEFENDANT’S EXHIBIT LIST                                                                                                        35
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 36 of 124 PageID 602



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
                             TY2019 SmartVault: 2020-12-08 - Putica, Michael - 2019 IRS Additional
                             Time Requested for Inquiry
                             TY2019 SmartVault: 2021-02-22 - Putica, Michael - 2019 IRS Changes to
                             Form 1040
                             TY2019 SmartVault: 44 Wyadra Depreciation Schedule
                             TY2019 SmartVault: 5498-SA and 1099-SA 2019
                             TY2019 SmartVault: Castro customer form - page 2
                             TY2019 SmartVault: Castro Customer Form page 1
                             TY2019 SmartVault: Damian Passport Full
                             TY2019 SmartVault: Evan Passport Full
                             TY2019 SmartVault: Fidelity 1099-B 2019 page 3
                             TY2019 SmartVault: Fidelity 1099-B page 4 2019
                             TY2019 SmartVault: fidelity 1099-INT page 1
                             TY2019 SmartVault: fidelity 1099-INT page2
                             TY2019 SmartVault: Fidelity 1099B - page 7 2019
                             TY2019 SmartVault: Fidelity 1099B page 5 2019
                             TY2019 SmartVault: Fidelity 1099B page 6 2019
                             TY2019 SmartVault: Fidelity 1099B page 8 - 2019
                             TY2019 SmartVault: HSBC AU monthly stmnt Oct 2019
                             TY2019 SmartVault: HSBC AU statement June 2019



DEFENDANT’S EXHIBIT LIST                                                                                                        36
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 37 of 124 PageID 603



Exhibit Number   Sponsoring Description of Exhibit                                                Identified   Offered Admitted
                 Witness
                             TY2019 SmartVault: HSBC AU statements Jan 2020
                             TY2019 SmartVault: HSBC AU Stmnt April 2019
                             TY2019 SmartVault: HSBC June 2019 annual statement
                             TY2019 SmartVault: Jeremy Passport Full
                             TY2019 SmartVault: mike Drivers License CA
                             TY2019 SmartVault: Mike Passport Full
                             TY2019 SmartVault: Mira Passport Full_new
                             TY2019 SmartVault: Mira Passport Full_old
                             TY2019 SmartVault: Mira SSN copy
                             TY2019 SmartVault: ORIGINAL RETURN
                             TY2019 SmartVault: Oz_2019 return_MM
                             TY2019 SmartVault: Oz_2019 return_MP
                             TY2019 SmartVault: piano receipt
                             TY2019 SmartVault: STT dist. Nov 19 - 3
                             TY2019 SmartVault: STT Share Dist. - Aug 2019 - 2
                             TY2019 SmartVault: STT share dist. Aug 2019 - 4
                             TY2019 SmartVault: STT Share Dist. Aug 2019 -1
                             TY2019 SmartVault: STT Share Dist. Aug 2019-3
                             TY2019 SmartVault: STT share dist. May 2019 - 2
                             TY2019 SmartVault: STT share dist. May 2019 - 3



DEFENDANT’S EXHIBIT LIST                                                                                                     37
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 38 of 124 PageID 604



Exhibit Number   Sponsoring Description of Exhibit                                               Identified   Offered Admitted
                 Witness
                             TY2019 SmartVault:
                             TY2019 SmartVault: STT share dist. Nov 2019 - 2
                             TY2019 SmartVault: STT share Dist. Nov 2019 - 3
                             TY2019 SmartVault: STT share Dist. Nov 2019-1
                             TY2019 SmartVault: STT shares dist. - Nov 19 - 2
                             TY2019 SmartVault: STT shares Dist. Feb 19 - 1
                             TY2019 SmartVault: STT shares Dist. Feb 2019 - 2
                             TY2019 SmartVault: STT shares dist. Feb 2019 - 3
                             TY2019 SmartVault: STT shares dist. Feb 2019- 4
                             TY2019 SmartVault: STT shares Dist. May 2019 -1
                             TY2019 SmartVault: STT shares dist. Nov19 -4
                             TY2019 SmartVault: STT shares dist. Nov19-1
                             TY2019 SmartVault: tax receipt piano
                             TY2019 SmartVault: US 2019 Business Income_
                             TY2019 SmartVault: US Tax 2018_MP
                             TY2019 SmartVault: W2 2019 State Street CA
                             TY2019 SmartVault: W2 State Street 2019 MA
                                           CLIENT SPECIFIC FILES: Quigley, Brian (17)
   371.          J. Castro   TY2017 Email: 2018-01-31, Brian Schedules Tax Interview
   372.          J. Castro   TY2017 Email: 2018-02-01a, Brian Discusses Passport of Dependent



DEFENDANT’S EXHIBIT LIST                                                                                                    38
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 39 of 124 PageID 605



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
   373.          J. Castro   TY2017 Email: 2018-02-01b, John Explains He Needs Visa Number, Voice
                             to Text Messed Up Second Line
   374.          J. Castro   TY2017 Email: 2018-02-01c, John Identifies W-2 Anomaly
   375.          J. Castro   TY2017 Email: 2018-02-01d, Brian Emails HR
   376.          J. Castro   TY2017 Email: 2018-02-01e, Brian Explains 401(k) Structure
   377.          J. Castro   TY2017 Email: 2018-02-02a, John Identifies W-2 Code for Roth
   378.          J. Castro   TY2017 Email: 2018-02-02b, JOHN APOLOGIZES TO EVERYONE,
                             DID NOT UNDERSTAND W-2 CODES
   379.          J. Castro   TY2017 Email: 2018-02-05, Discovery Church Thanks John for the Update
   380.          J. Castro   TY2017 Email: 2018-02-07a, John Sends Brain his 2017 Tax Proposal
   381.          J. Castro   TY2017 Email: 2018-02-07b, Brian Approves Proposal
   382.          J. Castro   TY2017 Email: 2018-02-12 Fwd_ Castro & Co_ ⚜ 2017 Tax Proposal
   383.          J. Castro   TY2017 Email: 2018-02-12, 2017 Electronic Return Accepted by the IRS
   384.          J. Castro   TY2017 Email: 2018-02-20, Brian Asks for Refund Amount to Check
                             Status
   385.          J. Castro   TY2017 Email: 2018-02-21, John Provides Refund Total
   386.          J. Castro   TY2017 Email: 2018-04-18, Brian Notifies John of Updated Form 1098
                             Mortgage Interest Statement
   387.          J. Castro   TY2017 Email: 2018-04-25, John Notifies Brian that Return was Amended
                             and Mailed to IRS



DEFENDANT’S EXHIBIT LIST                                                                                                        39
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 40 of 124 PageID 606



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
   388.          J. Castro   TY2017 Email: 2018-06-20a, Brian Asks for Copies of Returns for 2015-
                             2017 (John Was Unaware)
   389.          J. Castro   TY2017 Email: 2018-06-20b, John Asks AB to Upload Copies of All
                             Quigley Returns
   390.          J. Castro   TY2017 Email: 2018-09-28, Josh Scott Milam Emails Brian to Schedule
                             Annual Review Call
   391.          J. Castro   TY2017 ProFX Tax: 2014-1S1.B7I
                             TY2017 ProFX Tax: 2014-1S1.U7I
   392.          J. Castro   TY2017 ProLaw: 2017 Tax Interview Packet v.2_Quigley.pdf
                             TY2017 ProLaw: 2018-02-02, JSM
                             TY2017 ProLaw: PDF copy 2017 Tax Proposal
   393.          J. Castro   TY2017 Raw Data Transmitted to IRS: 2014-00066_2017 1040 XML
                             TY2017 Raw Data Transmitted to IRS: 2014-00066_2017 1040 History
   394.          J. Castro   TY2017 SmartVault: 2017 Annual Client Information Sheet---X
                             TY2017 SmartVault: 2017 QUIGLEY U.S. FEDERAL AND FL STATE
                             INCOME TAX
                             TY2017 SmartVault: Charitable Contribution, $250
                             TY2017 SmartVault: Church Donations = $4140
                             TY2017 SmartVault: Form 1095-B (Brian Health Coverage)---X
                             TY2017 SmartVault: Form 1095-B (Kim Health Coverage)---X



DEFENDANT’S EXHIBIT LIST                                                                                                        40
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 41 of 124 PageID 607



Exhibit Number   Sponsoring Description of Exhibit                                                       Identified   Offered Admitted
                 Witness
                             TY2017 SmartVault: Form 1095-C---X Form 1098-MIS---X
                             TY2017 SmartVault: Form 1098-MIS---X
                             TY2017 SmartVault: Form W-2 (Brian)---X
                             TY2017 SmartVault: ITIN, Passport, Yuka Nishiyama (Osaka, Japan - 09-
                             29-00)
                             TY2017 SmartVault: NEW mortgage intstmt
                             TY2017 SmartVault: Real Estate Taxes, $101
                             TY2017 SmartVault: Real Estate Taxes, $101---X
                             TY2017 SmartVault: Retirement Statement
                             TY2017 SmartVault: x Not Relevant, Property Tax Exempt Card
                             TY2017 SmartVault: x Not Sufficient (Must Be on Letterhead), Church
                             Receipt
                             TY2017 SmartVault: Yuka Birth Certificate
                                      CLIENT-SPECIFIC FILES: Ragsdale, Randolph (17, 18, 19)
   395.          J. Castro   Fully Reimbursed
   396.          J. Castro   TY2017 Email: 2018-03-18, Robin Asks for Clarification on Fee Calculation
   397.          J. Castro   TY2017 Email: 2018-05-07, Alfonso Thanks Randy for the Update
   398.          J. Castro   TY2017 Email: 2018-03-19, John Explains Fee Calculation
   399.          J. Castro   TY2017 Email: 2018-03-26a, Randy Approves the 2017 Tax Proposal
   400.          J. Castro   TY2017 Email: 2018-03-26b, John Confirms Approval



DEFENDANT’S EXHIBIT LIST                                                                                                            41
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 42 of 124 PageID 608



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
   401.          J. Castro   TY2017 Email: 2018-03-29, Randy Asks John for an Update on the Refund
   402.          J. Castro   TY2017 Email: 2018-03-30, 2017 Electronic Return Accepted by the IRS
   403.          J. Castro   TY2017 Email: 2018-04-02, Alfonso Explains to Randy the Timeframe for
                             Processing
   404.          J. Castro   TY2017 Email: 2018-05-03, Alfonso Give ID Verify Instructions and a
                             Copy of the Return
   405.          J. Castro   TY2017 Email: 2018-05-04, Randy Lets Alfonso Know He Verified with
                             the IRS
   406.          J. Castro   TY2017 Email: 2018-05-07, Alfonso Thanks Randy for the Update
   407.          J. Castro   TY2017 Email: 2018-09-28, Josh Emails Randy to Schedule Review Call
   408.          J. Castro   TY2017 ProFX Tax: 2015-2W1.U7I
   409.          J. Castro   TY2017 ProLaw: 2017 Tax Interview_-_RAGSDALE RANDOLPH.pdf
                             TY2017 ProLaw: PDF copy 2017 Tax Proposal
   410.          J. Castro   TY2017 Raw Data Transmitted to IRS: 2015-00458_2017 1040 History
                             TY2017 Raw Data Transmitted to IRS: 2015-00458_2017 1040 XML
   411.          J. Castro   TY2017 SmartVault: 2017 RAGSDALE U.S. FEDERAL INCOME TAX
                             RETURN
                             TY2017 SmartVault: 2017_Bankling Summary-Quicken
                             TY2017 SmartVault: 2017_Chase Tax Info0001
                             TY2017 SmartVault: 20180121_USAA LIFE_whole_life_stmt



DEFENDANT’S EXHIBIT LIST                                                                                                        42
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 43 of 124 PageID 609



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
                             TY2017 SmartVault: ACIS---X
                             TY2017 SmartVault: Applebee's_20170210
                             TY2017 SmartVault: CHARITABLE DONATION - QUEST $4239.66
                             TY2017 SmartVault: CHARITABLE DONATION
                             TY2017 SmartVault: FORM 1095B----X
                             TY2017 SmartVault: FORM 1098MIS---X
                             TY2017 SmartVault: FORM 1099INT---X
                             TY2017 SmartVault: FORM W2 - RANDOLPH---X
                             TY2017 SmartVault: FORM W2 - REANN---X
                             TY2017 SmartVault: FORM W2 - ROBIN---X
                             TY2017 SmartVault: Ragsdale, Randolph - IRS ID Verification
                             TY2017 SmartVault: VEHICLE MILEAGE - RANDOLPH
   412.          J. Castro   TY2018 Email: 2019-03-03, Randy Messages via SmartVault that Docs are
                             Uploaded
   413.          J. Castro   TY2018 Email: 2019-03-12, Randy Notifies John of Additional Document
   414.          J. Castro   TY2018 Email: 2019-03-17a, Randy Messages John via SmartVault About
                             Readiness
   415.          J. Castro   TY2018 Email: 2019-03-17b, John Sends Randy Link to Schedule Interview
   416.          J. Castro   TY2018 Email: 2019-04-15a, Randy Asks If Extension was Filed




DEFENDANT’S EXHIBIT LIST                                                                                                         43
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 44 of 124 PageID 610



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
   417.          J. Castro   TY2018 Email: 2019-04-15b, Alfonso Explains that Extension is Not
                             Necessary
   418.          J. Castro   TY2018 Email: 2019-04-15c, Randy Thanks Alfonso for Confirmation
   419.          J. Castro   TY2018 Email: 2019-04-19, Randy Asks When We Will Work on His Taxes
   420.          J. Castro   TY2018 Email: 2019-04-22, Alfonso Confirms Firm is Working on the
                             Return
   421.          J. Castro   TY2018 Email: 2019-04-23a, Randy Apologizes for Impatience
   422.          J. Castro   TY2018 Email: 2019-04-23b, Alfonso Confirms Nothing to Worry About
   423.          J. Castro   TY2018 Email: 2019-05-02a, John Sends Randy His 2019 Tax Proposal
   424.          J. Castro   TY2018 Email: 2019-05-02b, Randy Approves the Proposal and Authorizes
                             Filing
   425.          J. Castro   TY2018 Email: 2019-05-10, 2018 Electronic Return Accepted by the IRS
   426.          J. Castro   TY2018 Email: 2021-03-22, John Notifies Randy of 2018 Examination
   427.          J. Castro   TY2018 Email: 2021-03-23, Randy Confirms He's Working on Data
                             Assembly for Examination
   428.          J. Castro   TY2018 Email: 2021-03-24, Kathryn Magan Asks for POAs and Whether
                             There was an Arrangement
   429.          J. Castro   TY2018 Email: 2021-03-25a, Randy Provides POAs
   430.          J. Castro   TY2018 Email: 2021-03-25b, Kathryn Magan Again Asks About
                             Arrangement



DEFENDANT’S EXHIBIT LIST                                                                                                        44
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 45 of 124 PageID 611



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
   431.          J. Castro   TY2018 Email: 2021-03-25c, ROBIN ADMITS TO
                             MISUNDERSTANDING QUESTIONS ABOUT ARRANGEMENT
   432.          J. Castro   TY2018 Email: 2021-03-26, Kathryn Magan Asks Which Expenses Subject
                             to Arrangement
   433.          J. Castro   TY2018 Email: 2021-03-31, Randy Asks Where to Upload Supporting
                             Documents
   434.          J. Castro   TY2018 Email: 2021-04-01, Firm Applies 2021 Standard to 2018
                             Examination
   435.          J. Castro   TY2018 Email: 2021-05-13, Randy Asks for Update on Examination
   436.          J. Castro   TY2018 Email: 2021-05-19, Randy Again Asks for Update on Examination
   437.          J. Castro   TY2018 ProFX Tax: 2015-2W1.B8I
                             TY2018 ProFX Tax: 2015-2W1.U8I
   438.          J. Castro   TY2018 ProLaw: 2018 Tax Interview Packet_RAGSDALE
                             RANDOLPH.pdf
                             TY2018 ProLaw: Main Notes
                             TY2018 ProLaw: PDF copy 2018 Tax Proposal
                             TY2018 ProLaw: Proposal_Calculator.pdf

   439.          J. Castro   TY2018 Raw Data Transmitted to IRS: 2015-00458_2018 1040 History
                             TY2018 Raw Data Transmitted to IRS: 2015-00458_2018 1040 XML




DEFENDANT’S EXHIBIT LIST                                                                                                       45
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 46 of 124 PageID 612



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
   440.          J. Castro   TY2018 SmartVault: 2018 RAGSDALE U.S. FEDERAL INCOME TAX
                             RETURN
                             TY2018 SmartVault: 2018 Tax Audit Payment
                             TY2018 SmartVault: 2018-Quicken
                             TY2018 SmartVault: 2018_Annual_Client_Info_Sheet_(ACIS)_Update
                             TY2018 SmartVault: 20190120_LIFE_whole_life_stmt
                             TY2018 SmartVault: 2021-03-15 - Ragsdale, Randolph - 2018 IRS
                             Examination
                             TY2018 SmartVault: 2021-05-03 - Ragsdale, Randolph - 2018 IRS Response
                             Received
                             TY2018 SmartVault: 2021-05-24 - Ragsdale, Randolph - 2018 IRS Report
                             of Income Tax Examination Changes (2)
                             TY2018 SmartVault: 2021-05-24 - Ragsdale, Randolph - 2018 IRS Report
                             of Income Tax Examination Changes
                             TY2018 SmartVault: 2021-08-30 - Ragsdale, Randolph - 2018 IRS Amount
                             Due
                             TY2018 SmartVault: 2021-08-30 - Ragsdale, Robin - 2018 IRS Amount
                             Due
                             TY2018 SmartVault: 2848 RANDOLPH RAGSDALE-Signed
                             TY2018 SmartVault: 2848 ROBIN RAGSDALE-Signed



DEFENDANT’S EXHIBIT LIST                                                                                                         46
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 47 of 124 PageID 613



Exhibit Number   Sponsoring Description of Exhibit                                                 Identified   Offered Admitted
                 Witness
                             TY2018 SmartVault: Discovery Church Giving0001
                             TY2018 SmartVault: IRS Form 1095-B Cigna
                             TY2018 SmartVault: IRS Form 1098-MIS, COPY Wells Fargo
                             TY2018 SmartVault: IRS Form 1098-MIS
                             TY2018 SmartVault: IRS Form 1099-INT NFCU0001
                             TY2018 SmartVault: IRS Form W2, Ragsdale_Randolph
                             TY2018 SmartVault: IRS Form W2, Ragsdale_Reann_0001
                             TY2018 SmartVault: IRS Form W2, Ragsdale_Robin_0001
                             TY2018 SmartVault: NFCU-2018-VISA Annual Summary
                             TY2018 SmartVault: Quest Payments
   441.          J. Castro   2019 AMENDED RAGSDALE U.S. FEDERAL INCOME TAX
                             RETURN
   442.          J. Castro   2019 AMENDED RAGSDALE U.S. FEDERAL INCOME TAX
                             RETURN_
   443.          J. Castro   2019 RAGSDALE U.S. FEDERAL INCOME TAX RETURN
   444.          J. Castro   TY2019 Email: 2020-01-30, Celeste Emails Randy the 2019 Intro Email
   445.          J. Castro   TY2019 Email: 2020-03-01, Randy Books Annual Tax Interview with
                             Katherine Jean Barnes JD LLM
   446.          J. Castro   TY2019 Email: 2020-03-26, Celeste Sends Randy the 2019 Virtual Tax
                             Interview Instructions



DEFENDANT’S EXHIBIT LIST                                                                                                      47
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 48 of 124 PageID 614



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
   447.          J. Castro   TY2019 Email: 2020-04-02, Alexander Asks for Details Re Transportation
                             Expenses
   448.          J. Castro   TY2019 Email: 2020-04-03, Randy Provides Details (Alexander is Not a
                             Tax Professional)
   449.          J. Castro   TY2019 Email: 2020-04-04, Alexander Asks About Home Insurance
   450.          J. Castro   TY2019 Email: 2020-04-26, Celeste Notifies Randy of Stimulus Check and
                             Randy Confirms Receipt
   451.          J. Castro   TY2019 Email: 2020-05-01, 2019 Electronic Return Accepted by the IRS
   452.          J. Castro   TY2019 Email: 2020-05-02, Tiffany Sends 2019 Tax Proposal
   453.          J. Castro   TY2019 Email: 2020-05-11, Tiffany Confirms Robin's Approval and
                             Address Updated
   454.          J. Castro   TY2019 Email: 2021-06-05a, Email Recommending a 2019 Amendment
   455.          J. Castro   TY2019 Email: 2021-06-05b, Randy Confirms He Will Sign and Mail
                             Amendment
   456.          J. Castro   TY2019 Email: 2021-06-06, Randy Confirms Process on Amendment
   457.          J. Castro   TY2019 Email: 2021-06-08, Randy Confirms Amendment Filed
   458.          J. Castro   TY2019 Email: 2021-10-14, JOHN SENDS RANDY MASS EMAIL RE
                             MANDATORY 2019 AMENDMENT
   459.          J. Castro   TY2019 Email: 2021-10-14, Randy Responds to SmartVault Notification




DEFENDANT’S EXHIBIT LIST                                                                                                         48
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 49 of 124 PageID 615



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
   460.          J. Castro   TY2019 Email: 2021-10-15a, Randy Responds to Mass Email Asking for
                             Clarification
   461.          J. Castro   TY2019 Email: 2021-10-15b, John Explains He Prefers to e-File
                             Amendment due to COVID
   462.          J. Castro   TY2019 Email: 2021-10-18a, Randy Signs the Form SSP for the 2019
                             Amendment and Notifies John
   463.          J. Castro   TY2019 Email: 2021-10-18b, John Confirming that 2019 Amendment was
                             e-Filed
   464.          J. Castro   TY2019 Email: 2021-10-26, John Explaining the Error and Refund
                             Guarantee
   465.          J. Castro   TY2019 Email: 2021-11-09, John Explains that No Info was Provided
                             Regarding Real Estate Sale (Chain)
   466.          J. Castro   TY2019 Email: 2021-11-10, John Asks Tiffany to Look into Ragsdale Real
                             Estate Proceeds Issue
   467.          J. Castro   TY2019 ProFX Tax: 2015-2W1.B9I
                             TY2019 ProFX Tax: 2015-2W1.U9I
                             TY2019 ProFX Tax: 2015-2W2.B91
                             TY2019 ProFX Tax: 2015-2W2.U91
   468.          J. Castro   TY2019 ProLaw: 2019 Annual Tax Interview Packet_R
                             Ragsdale_3.30.2020.pdf



DEFENDANT’S EXHIBIT LIST                                                                                                         49
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24           Page 50 of 124 PageID 616



Exhibit Number   Sponsoring Description of Exhibit                                            Identified   Offered Admitted
                 Witness
                             TY2019 ProLaw: Main Notes
                             TY2019 ProLaw: PDF copy 2019 Tax Proposal
                             TY2019 ProLaw: Proposal_Calculator.pdf
                             TY2019 ProLaw: Re MISSING EXPENSE DESCRIPTION AND
                             VALUES (1).msg
                             TY2019 ProLaw: Re MISSING EXPENSE DESCRIPTION AND
                             VALUES.msg
   469.          J. Castro   TY2019 Raw Data Transmitted to IRS: 2015-00458 - FD
                             TY2019 Raw Data Transmitted to IRS: 2015-00458 - FD
                             TY2019 Raw Data Transmitted to IRS: 2019 2015-00458
   470.          J. Castro   TY2019 SmartVault: 1095-B-BPRH
                             TY2019 SmartVault: 1095-B-ROGERS, LOVELOCK & FRITZ
                             TY2019 SmartVault: 1095-C-BPRH
                             TY2019 SmartVault: 1095-C-Discovery Church
                             TY2019 SmartVault: 2019 AMENDED RAGSDALE U.S. FEDERAL
                             INCOME TAX RETURN-Signed
                             TY2019 SmartVault: 2019 AMENDED RAGSDALE U.S. FEDERAL
                             INCOME TAX RETURN_
                             TY2019 SmartVault: 2019 RAGSDALE U.S. FEDERAL INCOME TAX
                             RETURN



DEFENDANT’S EXHIBIT LIST                                                                                                 50
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24            Page 51 of 124 PageID 617



Exhibit Number   Sponsoring Description of Exhibit                                               Identified   Offered Admitted
                 Witness
                             TY2019 SmartVault: 2019 TAX PROPOSAL
                             TY2019 SmartVault: 2019 W-2 -Randolph W Ragsdale-BRPH
                             TY2019 SmartVault: 2019 W-2 -Randolph W Ragsdale-RLF
                             TY2019 SmartVault: 2019 W-2 -Reann K Ragsdale
                             TY2019 SmartVault: 2019 W-2 -Robin L Ragsdale
                             TY2019 SmartVault: 2019-1098 Mortgage
                             TY2019 SmartVault: 2019-1099-B-BRPH
                             TY2019 SmartVault: 2019-1099-B-INT- Addition Financial
                             TY2019 SmartVault: 2019-Audit
                             TY2019 SmartVault: 2019-Milage-Randys Ford Escape
                             TY2019 SmartVault: 2019-Quicken
                             TY2019 SmartVault: Discovery Church Giving
                             TY2019 SmartVault: Invoice_Inv_16705_from_RepairCo_Of_Florida_Inc
                             TY2019 SmartVault: NFCU-Interest
                             TY2019 SmartVault: ORIGINAL AMENDED RETURN
                             TY2019 SmartVault: ORIGINAL RETURN
                             TY2019 SmartVault: Quest Payments-2019
                             TY2019 SmartVault: USAA-Whole Life Insurance
                                       CLIENT SPECIFIC FILES: Rivera, Linda (17, 18, 19)
   471.          J. Castro   2014 AMENDMENT



DEFENDANT’S EXHIBIT LIST                                                                                                    51
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 52 of 124 PageID 618



Exhibit Number   Sponsoring Description of Exhibit                                                Identified   Offered Admitted
                 Witness
   472.          J. Castro   2015 AMENDMENT
   473.          J. Castro   Rivera, Linda - 1st Stimulus Check 2020-04-22
   474.          J. Castro   Rivera, Linda - 2nd Stimulus Check 2021-01-05
   475.          J. Castro   TY2017 Email: 2018-03-09, Castro & Co_ _ Annual Tax Interview
   476.          J. Castro   TY2017 Email: 2018-03-21a, Castro & Co_ ⚜ 2017 Tax Proposal
   477.          J. Castro   TY2017 Email: 2018-03-21b, Re_ Castro & Co_ ⚜ 2017 Tax Proposal
   478.          J. Castro   TY2017 Email: 2020-02-05, Castro & Co. _ 2016 and 2017 Tax Returns
   479.          J. Castro   TY2017 ProFX Tax: 2016-2L1.B7I
                             TY2017 ProFX Tax: 2016-2L1.U7I
   480.          J. Castro   TY2017 ProLaw: 2017 Tax Interview_-_RIVERA LINDA.pdf
                             TY2017 ProLaw: PDF copy 2017 Tax Proposal
   481.          J. Castro   TY2017 Raw Data Transmitted to IRS: 2016-00680_2017 1040 History
                             TY2017 Raw Data Transmitted to IRS: 2016-00680_2017 1040 XML
   482.          J. Castro   TY2017 SmartVault: 2017 Business Income_-_rivera linda---X
                             TY2017 SmartVault: 2017 RIVERA U.S. INCOME TAX RETURN
                             TY2017 SmartVault: FORM 1099INT---X
                             TY2017 SmartVault: FORM W2, W2 (2), 1095C, 1095C (2)---X
                             TY2017 SmartVault: IMG_0948
                             TY2017 SmartVault: IMG_0949
   483.          J. Castro   TY2018 Email: 2019-02-12 Castro & Co_ _ 2018 Annual Tax Compliance


DEFENDANT’S EXHIBIT LIST                                                                                                     52
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 53 of 124 PageID 619



Exhibit Number   Sponsoring Description of Exhibit                                                 Identified   Offered Admitted
                 Witness
   484.          J. Castro   TY2018 Email: 2019-02-27 a, Re_ Castro & Co_ _ Annual Tax Interview
   485.          J. Castro   TY2018 Email: 2019-02-27 b, Re_ Castro & Co_ _ Annual Tax Interview
                             (2)
   486.          J. Castro   TY2018 Email: 2019-02-27 c, RE_ Castro & Co_ _ Annual Tax Interview
                             (1)
   487.          J. Castro   TY2018 Email: 2019-02-27 Castro & Co_ _ Annual Tax Interview
   488.          J. Castro   TY2018 Email: 2019-02-27 New Appointment Booked (Requires approval)
   489.          J. Castro   TY2018 Email: 2019-03-21, John Sends Linda her 2018 Tax Proposal
   490.          J. Castro   TY2018 Email: 2019-03-22 1555, Linda Accepts the Proposal
   491.          J. Castro   TY2018 Email: 2019-03-22 1926, John Confirms Approval
   492.          J. Castro   TY2018 Email: 2021-01-05, John Forwards Email Where Linda Approved
   493.          J. Castro   TY2018 Email: 2021-03-04, John Sends Linda 2018 IRS Examination
                             Notice
   494.          J. Castro   TY2018 Email: 2021-04-26a RE_ 2018 IRS Audit
   495.          J. Castro   TY2018 Email: 2021-04-26b Re_ 2018 IRS Audit
   496.          J. Castro   TY2018 Email: 2021-04-27a Re_ 2018 IRS Audit
   497.          J. Castro   TY2018 Email: 2021-04-27b RE_ 2018 IRS Audit
   498.          J. Castro   TY2018 Email: 2021-04-28 RE_ 2018 IRS Audit
   499.          J. Castro   TY2018 Email: 2021-05-04 Re_ 2018 IRS Audit




DEFENDANT’S EXHIBIT LIST                                                                                                      53
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 54 of 124 PageID 620



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
   500.          J. Castro   TY2018 Email: 2021-06-05 Castro & Co_ ⚠ 2019 Amended U_S_ Federal
                             Income Tax Return
   501.          J. Castro   TY2018 Email: 2021-11-08 RE_ IRS Examination _ Payment Plan
   502.          J. Castro   TY2018 Email: 2022-01-11 FW_ 2018 Resolution
   503.          J. Castro   TY2018 Email: 2022-01-12 Re_ Linda Rivera
   504.          J. Castro   TY2018 ProFX Tax: 2016-2L1.B8I
                             TY2018 ProFX Tax: 2016-2L1.U8I
   505.          J. Castro   TY2018 ProLaw: 2018 Tax Interview Packet_RIVERA LINDA.pdf
                             TY2018 ProLaw: CALCULATOR.pdf
                             TY2018 ProLaw: Main Notes
                             TY2018 ProLaw: PDF copy 2018 Tax Proposal
   506.          J. Castro   TY2018 Raw Data Transmitted to IRS: 2016-00680_2018 1040 History
                             TY2018 Raw Data Transmitted to IRS: 2016-00680_2018 1040 XML
   507.          J. Castro   TY2018 SmartVault: 2018 RIVERA, LINDA U.S. FEDERAL INCOME
                             TAX RETURN
                             TY2018 SmartVault: 2021-02-22 - Rivera, Linda - 2018 IRS Examination
                             TY2018 SmartVault: 2022-03-09 - Rivera, Linda - 2018 IRS Monthly
                             Payment Due
                             TY2018 SmartVault: 2022-04-06 - Rivera, Linda - 2018 IRS Monthly
                             Payment Due



DEFENDANT’S EXHIBIT LIST                                                                                                       54
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 55 of 124 PageID 621



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
                             TY2018 SmartVault: 2022-07-06- Rivera, Linda- 2018 IRS Monthly
                             Payment Due
                             TY2018 SmartVault: 2022-08-10 Rivera, Linda - 2018 IRS MONTHLY
                             PAYMENT DUE
                             TY2018 SmartVault: 2022-09-07 Rivera, Linda - 2018 Monthly Payment
                             Due Notice
                             TY2018 SmartVault: 2022-10-03 Rivera, Linda - 2018 IRS Annual
                             Installment Agreement Statement
                             TY2018 SmartVault: ACIS
                             TY2018 SmartVault: IMG_0945
                             TY2018 SmartVault: IRS Form 1095-C
                             TY2018 SmartVault: IRS Form 1098-MIS, 2
                             TY2018 SmartVault: IRS Form 1098-MIS, 3
                             TY2018 SmartVault: IRS Form 1098-MIS, COPY
                             TY2018 SmartVault: IRS Form W2, COPY
                             TY2018 SmartVault: IRS Form W2
   508.          J. Castro   TY2019 Email: 2020-01-22 Castro & Co_ _ 2019 Tax Compliance
   509.          J. Castro   TY2019 Email: 2020-01-30, Celeste Sends Tax Year 2019 IDR Intro Email
   510.          J. Castro   TY2019 Email: 2020-02-04 a, New Appointment Booked (Requires
                             approval)



DEFENDANT’S EXHIBIT LIST                                                                                                        55
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 56 of 124 PageID 622



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
   511.          J. Castro   TY2019 Email: 2020-02-05 Castro & Co_ _ Reschedule
   512.          J. Castro   TY2019 Email: 2020-02-08 Re_ Castro & Co_ _ Reschedule
   513.          J. Castro   TY2019 Email: 2020-02-10 New Appointment Booked (Requires approval)
                             (2)
   514.          J. Castro   TY2019 Email: 2020-02-10 RE_ Castro & Co_ _ Reschedule (1)
   515.          J. Castro   TY2019 Email: 2020-02-21 a, RE_ Castro & Co_ _ Update
   516.          J. Castro   TY2019 Email: 2020-02-21 a, RE_ Phone issue
   517.          J. Castro   TY2019 Email: 2020-02-21 b, Re_ Castro & Co_ _ Update (3)
   518.          J. Castro   TY2019 Email: 2020-02-21 b, RE_ Phone issue (4)
   519.          J. Castro   TY2019 Email: 2020-02-21 Castro & Co_ _ Update
   520.          J. Castro   TY2019 Email: 2020-02-21 Phone issue
   521.          J. Castro   TY2019 Email: 2020-02-21 Re_ Castro & Co. _ Reschedule
   522.          J. Castro   TY2019 Email: 2020-02-29 1504, John Sends Linda the 2019 Tax Proposal
   523.          J. Castro   TY2019 Email: 2020-02-29 1801, Linda Accepts the 2019 Tax Proposal
   524.          J. Castro   TY2019 Email: 2020-03-01a, John Confirms Approval
   525.          J. Castro   TY2019 Email: 2020-03-01b, John Files 2019 Tax Return
   526.          J. Castro   TY2019 Email: 2020-04-22 Castro & Co. _ Stimulus Check (1)
   527.          J. Castro   TY2019 Email: 2021-01-05 Re_ Castro & Co. _ Stimulus Check (3)
   528.          J. Castro   TY2019 Email: 2021-01-12 Castro & Co. _ Stimulus Check
   529.          J. Castro   TY2019 Email: 2021-06-05, John Explains Need to Amend 2019



DEFENDANT’S EXHIBIT LIST                                                                                                        56
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 57 of 124 PageID 623



Exhibit Number   Sponsoring Description of Exhibit                                                Identified   Offered Admitted
                 Witness
   530.          J. Castro   TY2019 Email: 2022-01-14 Re_ Just in case you didn’t get my reply
   531.          J. Castro   TY2019 Email: 2022-01-25, Amendment Electronically Filed
   532.          J. Castro   TY2019 Email: 2022-01-25, David Mistakenly Asks Linda to Sign Now-
                             Amended Return
   533.          J. Castro   TY2019 ProFX Tax: 2016-2L1.B9I
                             TY2019 ProFX Tax: 2016-2L1.U9I
                             TY2019 ProFX Tax: 2016-2L2.B9I
                             TY2019 ProFX Tax: 2016-2L2.U9I
   534.          J. Castro   TY2019 SmartVault: 1095 C page 1
                             TY2019 SmartVault: 1095 C page 2
                             TY2019 SmartVault: 2019 RIVERA U.S. FEDERAL INCOME TAX
                             RETURN
                             TY2019 SmartVault: 2019 AMENDED RIVERA U.S. FEDERAL
                             INCOME TAX RETURN
                             TY2019 SmartVault: 2019 AMENDED RIVERA U.S. FEDERAL
                             INCOME TAX RETURN_
                             TY2019 SmartVault: 2019 TAX PROPOSAL
                             TY2019 SmartVault: 2022-03-08 - Rivera, Linda - 2019 IRS Account
                             Adjusted
                             TY2019 SmartVault: ATI Page 1



DEFENDANT’S EXHIBIT LIST                                                                                                     57
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 58 of 124 PageID 624



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
                             TY2019 SmartVault: ATi page 2
                             TY2019 SmartVault: IMG_0943
                             TY2019 SmartVault: IMG_0944
                             TY2019 SmartVault: ORIGINAL AMENDED RETURN
                             TY2019 SmartVault: Rivera- 1098
                             TY2019 SmartVault: tax 2019 insurance doc.1
                             TY2019 SmartVault: tax 2019 insurance doc.2
                             TY2019 SmartVault: tax 2019 w-2 doc.1
                             TY2019 SmartVault: tax 2019 w-2 doc.2
                             TY2019 SmartVault: tax 2019 w-2 doc.3
                                          CLIENT SPECIFIC FILES: Sola, Javier (17, 18, 19)
   535.          J. Castro   TY2017 Email: 2018-02-07a, John Sends Javier the 2017 Tax Proposal
   536.          J. Castro   TY2017 Email: 2018-02-07b, Javier Approves the Proposal
   537.          J. Castro   TY2017 Email: 2018-02-13, 2017 Electronic Return Accepted by the IRS
   538.          J. Castro   TY2017 Email: 2018-03-09a, Javier Asks for Refund Update and John Asks
                             Alfonso to Check
   539.          J. Castro   TY2017 Email: 2018-03-09b, Javier Thanks John
   540.          J. Castro   TY2017 Email: 2018-03-09c, Alfonso Explains that the Return is
                             Processing
   541.          J. Castro   TY2017 Email: 2018-03-09d, Javier Thanks Alfonso



DEFENDANT’S EXHIBIT LIST                                                                                                         58
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 59 of 124 PageID 625



Exhibit Number   Sponsoring Description of Exhibit                                                     Identified   Offered Admitted
                 Witness
   542.          J. Castro   TY2017 Email: 2018-03-12a, Javier Notifies Alfonso of Issuance Date for
                             Refund
   543.          J. Castro   TY2017 Email: 2018-03-12b, Alfonso Acknowledges
   544.          J. Castro   TY2017 Email: 2018-09-28, Josh Emails Javier for Annual Review Call
   545.          J. Castro   TY2017 ProFX Tax: 2015-0G1.B7I
                             TY2017 ProFX Tax: 2015-0G1.U7I
   546.          J. Castro   TY2017 ProLaw: 2017 Tax Interview Packet v.3_Sola.pdf
                             TY2017 ProLaw: 2018-02-06, JSM
                             TY2017 ProLaw: PDF copy 2017 Tax Proposal
   547.          J. Castro   TY2017 Raw Data Transmitted to IRS: 2015-00371_2017 1040 History
                             TY2017 Raw Data Transmitted to IRS: 2015-00371_2017 1040 XML
   548.          J. Castro   TY2017 SmartVault: 2017 SOLA U.S. FEDERAL AND FL STATE
                             INCOME TAX RETURN
                             TY2017 SmartVault: ACIS---X
                             TY2017 SmartVault: ASSOCIATION FEES
                             TY2017 SmartVault: CHARITABLE DONATION (2)
                             TY2017 SmartVault: CHARITABLE DONATION (3)
                             TY2017 SmartVault: CHARITABLE DONATION
                             TY2017 SmartVault: CHILD CARE EXPENSE
                             TY2017 SmartVault: EDUCATION EXPENSES



DEFENDANT’S EXHIBIT LIST                                                                                                          59
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24            Page 60 of 124 PageID 626



Exhibit Number   Sponsoring Description of Exhibit                                             Identified   Offered Admitted
                 Witness
                             TY2017 SmartVault: FORM 1095-B---X
                             TY2017 SmartVault: FORM 1098E---X
                             TY2017 SmartVault: FORM 1098MIS---X
                             TY2017 SmartVault: FORM 1099-B (2)---X
                             TY2017 SmartVault: FORM 1099-B (3)
                             TY2017 SmartVault: FORM 1099-B---X
                             TY2017 SmartVault: FORM 1099-DIV
                             TY2017 SmartVault: FORM 1099MISC---X
                             TY2017 SmartVault: FORM W2---X
                             TY2017 SmartVault: Gold Key Roofing Transaction Receipt
                             TY2017 SmartVault: HOME IMPROVEMENT EXPENSE (2)
                             TY2017 SmartVault: HOME IMPROVEMENT EXPENSE (3)
                             TY2017 SmartVault: HOME IMPROVEMENT EXPENSE (4)
                             TY2017 SmartVault: HOME IMPROVEMENT EXPENSE
                             TY2017 SmartVault: LAPTOP EXPENSE
                             TY2017 SmartVault: test-payments
                             TY2017 SmartVault: VEHICLE EXPENSE (2)
                             TY2017 SmartVault: VEHICLE EXPENSE (3)
                             TY2017 SmartVault: VEHICLE EXPENSE




DEFENDANT’S EXHIBIT LIST                                                                                                  60
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 61 of 124 PageID 627



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
   549.          J. Castro   TY2018 Email: 2019-02-07, Betsy Rangsdale-Sola Notifies Alfonso of
                             Independent Contractor Status
   550.          J. Castro   TY2018 Email: 2019-02-08a, Alfonso Sends 2018 Tax Intro Email
   551.          J. Castro   TY2018 Email: 2019-02-08b, Betsy Confirms 1099 Status
   552.          J. Castro   TY2018 Email: 2019-02-08c, Betsy Provides Superfluous Details
   553.          J. Castro   TY2018 Email: 2019-02-08d, Betsy Books Annual Tax Interview
   554.          J. Castro   TY2018 Email: 2019-02-08e, Alfonso Provides More Instructions
   555.          J. Castro   TY2018 Email: 2019-02-20, John Sends Javier the 2018 Tax Proposal
   556.          J. Castro   TY2018 Email: 2019-02-21, Javier Approves the Proposal
   557.          J. Castro   TY2018 Email: 2019-02-22, John Confirms Approval
   558.          J. Castro   TY2018 Email: 2019-02-26, 2018 Electronic Return Accepted by the IRS
   559.          J. Castro   TY2018 ProFX Tax: 2015-0G1.B8I
                             TY2018 ProFX Tax: 2015-0G1.U8I
   560.          J. Castro   TY2018 ProLaw: 2018 Tax Interview Packet_SOLA JAVIER.pdf
                             TY2018 ProLaw: Main Notes
                             TY2018 ProLaw: PDF copy 2018 Tax Proposal
                             TY2018 ProLaw: Proposal Calculator.pdf
   561.          J. Castro   TY2018 Raw Data Transmitted to IRS: 2015-00371_2018 1040 History
                             TY2018 Raw Data Transmitted to IRS: 2015-00371_2018 1040 XML




DEFENDANT’S EXHIBIT LIST                                                                                                       61
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 62 of 124 PageID 628



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
   562.          J. Castro   TY2018 SmartVault: 2018 SOLA U.S. FEDERAL INCOME TAX
                             RETURN
                             TY2018 SmartVault: 2018_Annual_Client_Info_Sheet_(ACIS)
                             TY2018 SmartVault: Commission disbursement
                             TY2018 SmartVault: commission1
                             TY2018 SmartVault: commission2
                             TY2018 SmartVault: Gabriel’s school
                             TY2018 SmartVault: IRS Form 1098-E SUB, Betsy
                             TY2018 SmartVault: IRS Form 1098-MIS
                             TY2018 SmartVault: IRS Form 1099-B
                             TY2018 SmartVault: IRS Form 1099-DIV (1)
                             TY2018 SmartVault: IRS Form 1099DIV, American
                             TY2018 SmartVault: IRS Form W2 and 1095-C
                             TY2018 SmartVault: Realtor Dues 2018
                             TY2018 SmartVault: tithe
   563.          J. Castro   TY2019 Email: 2020-01-29, Javier Books Interview with Katherine Jean
                             Barnes JD LLM
   564.          J. Castro   TY2019 Email: 2020-01-30, Celeste Sends 2019 Tax Intro Email
   565.          J. Castro   TY2019 Email: 2020-02-15, Tiffany Emails Javier about Section 119
   566.          J. Castro   TY2019 Email: 2020-02-19a, John Sends 2019 Tax Proposal



DEFENDANT’S EXHIBIT LIST                                                                                                       62
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 63 of 124 PageID 629



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
   567.          J. Castro   TY2019 Email: 2020-02-19b, Javier Approves Proposal
   568.          J. Castro   TY2019 Email: 2020-02-24, Javier Requests and Tiffany Acquires and
                             Provides EIN (Chain)
   569.          J. Castro   TY2019 Email: 2020-03-04, Javier Asks for Update
   570.          J. Castro   TY2019 Email: 2020-03-04b, 2019 Electronic Return Accepted by the IRS
   571.          J. Castro   TY2019 Email: 2020-03-16, Mo Iqbal Provides PDFs of Completed
                             Interviews
   572.          J. Castro   TY2019 Email: 2020-04-16, Javier Asks About COVID Stimulus Check
   573.          J. Castro   TY2019 Email: 2020-04-21a, Javier Again Asks About COVID Stimulus
                             Checks
   574.          J. Castro   TY2019 Email: 2020-04-21b, Celeste Notifies Javier About COVID
                             Stimulus Situation
   575.          J. Castro   TY2019 Email: 2020-04-21c, Javier Thanks Celeste for the Update
   576.          J. Castro   TY2019 Email: 2020-04-27a, Javier Again Asks About Stimulus Checks
   577.          J. Castro   TY2019 Email: 2020-04-27b, Celeste Confirms Stimulus Check Mailed to
                             Javier
   578.          J. Castro   TY2019 Email: 2020-04-27c, Alfonso Clarifies Stimulus was Mailed the
                             Prior Week
   579.          J. Castro   TY2019 Email: 2020-04-27d, Javier Confirms Its in his Mailbox




DEFENDANT’S EXHIBIT LIST                                                                                                        63
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 64 of 124 PageID 630



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
   580.          J. Castro   TY2019 Email: 2020-08-13, Javier Asks for Address Update and Celeste
                             Confirms
   581.          J. Castro   TY2019 Email: 2021-12-30, JOHN SENDS MASS EMAIL RE SECTION
                             119
   582.          J. Castro   TY2019 Email: 2022-01-26, David Emails Javier for Form 8879
   583.          J. Castro   TY2019 ProFX Tax: 2015-0G1.B9I
                             TY2019 ProFX Tax: 2015-0G1.U9I
   584.          J. Castro   TY2019 ProLaw: 2018 Annual Tax Interview Packet_J Sola_1.31.2020.pdf
                             TY2019 ProLaw: Main Notes
                             TY2019 ProLaw: PDF copy 2019 Tax Proposal
                             TY2019 ProLaw: Proposal_Calculator.pdf
   585.          J. Castro   TY2019 SmartVault: 2019 Business Income
                             TY2019 SmartVault: 2019 SOLA U.S. FEDERAL INCOME TAX
                             RETURN
                             TY2019 SmartVault: 2019_Annual_Client_Info_Sheet__(ACIS)
                             TY2019 SmartVault: Betsy Sola - EIN
                             TY2019 SmartVault: IRS Form 1098-E
                             TY2019 SmartVault: IRS Form W-2, Javier_W_2_2019
                             TY2019 SmartVault: KIDCARE 1
                             TY2019 SmartVault: Kidcare 2



DEFENDANT’S EXHIBIT LIST                                                                                                       64
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 65 of 124 PageID 631



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
                             TY2019 SmartVault: Kidcare 3
                             TY2019 SmartVault: Kidcare
                             TY2019 SmartVault: ORIGINAL RETURN
                             TY2019 SmartVault: Sch A, Contributions, Amaya_Donation
                             TY2019 SmartVault: Sch A, Contributions, Church_Giving
                             Statement_2019
                             TY2019 SmartVault: Sch A, Contributions, Jake Donation
                             TY2019 SmartVault: Sch A, Contributions, Scott_Donation
                             TY2019 SmartVault: Sch A, Contributions, Sophie_donation
                             TY2019 SmartVault: Sch C 2, Income, 1099_Javier
                             TY2019 SmartVault: Sch C, Betsy_1099_GoReality
                             TY2019 SmartVault: Sch C, Expense, Business cards
                             TY2019 SmartVault: Sch C, Expense, ce credits and post license
                             TY2019 SmartVault: Sch C, Expense, MLS dues -2019
                             TY2019 SmartVault: Sch C, Expense, Mortgage_interest_1098
                             TY2019 SmartVault: Sch C, Expense, nametag
                             TY2019 SmartVault: Sch C, Expense, New_Tires
                             TY2019 SmartVault: Sch C, Expense, Plumbing receipt
                             TY2019 SmartVault: Sch C, Expense, realtor dues
                             TY2019 SmartVault: Sch C, Expense, Shop Order IND525936 notification



DEFENDANT’S EXHIBIT LIST                                                                                                       65
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 66 of 124 PageID 632



Exhibit Number   Sponsoring Description of Exhibit                                                 Identified   Offered Admitted
                 Witness
                             TY2019 SmartVault: Sola- New Address
                             TY2019 SmartVault: TaxYear20191099B (1)
                             TY2019 SmartVault: TaxYear20191099B (2)
                             TY2019 SmartVault: TaxYear20191099B
                             TY2019 SmartVault: TaxYear20191099DIV (1)
                             TY2019 SmartVault: TaxYear20191099DIV
                             TY2019 SmartVault: X, 2019 Business Income
                             TY2019 SmartVault: X, Mortgage_Interest_paid(WON'T OPEN)
                                       CLIENT SPECIFIC FILES: Tozeto Ramos, Fabio (19)
   586.                      TY2019 Email: 2020-10-02 a, RE_ Queries and IRS update (2)
   587.                      TY2019 Email: 2020-10-02 b, RE_ Queries and IRS update (1)
   588.                      TY2019 Email: 2020-10-02 FW_ Queries and IRS update
   589.                      TY2019 Email: 2020-10-02 RE_ Queries and IRS update
   590.                      TY2019 Email: 2020-11-17 Re_ Queries and IRS update
   591.                      TY2019 Email: 2020-12-04 New Appointment Booked (Requires approval)
   592.                      TY2019 Email: 2020-12-08 2019 Amendment - Tozeto Ramos
   593.                      TY2019 Email: 2020-12-08 Re_ 2019 Amendment - Tozeto Ramos
   594.                      TY2019 Email: 2020-12-09 RE_ 2019 Amendment - Tozeto Ramos (3)
   595.                      TY2019 Email: 2021-02-24 IRS Refund Update Request
   596.                      TY2019 Email: 2021-02-24 RE_ IRS Refund Update Request



DEFENDANT’S EXHIBIT LIST                                                                                                      66
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 67 of 124 PageID 633



Exhibit Number   Sponsoring Description of Exhibit                                              Identified   Offered Admitted
                 Witness
   597.          J. Castro   TY2019 Email: 2021-06-08 a, Re_ Castro & Co_ _ Update
   598.          J. Castro   TY2019 Email: 2021-06-08 Castro & Co_ _ Update
   599.          J. Castro   TY2019 Email: 2021-06-09 RE_ Castro & Co_ _ Update (4)
   600.          J. Castro   TY2019 Email: 2020-07-15 a, Fabio Approved the Proposal
   601.          J. Castro   TY2019 ProFX Tax: 2019-6S1.B9I
                             TY2019 ProFX Tax: 2019-6S1.U9I
                             TY2019 ProFX Tax: 2019-6S2.B9I
                             TY2019 ProFX Tax: 2019-6S2.U9I
   602.          J. Castro   TY2019 ProLaw: 2019 Annual Tax Interview Packet_F
                             Ramos_7.9.2020.pdf
                             TY2019 ProLaw: Main Notes
                             TY2019 ProLaw: PDF copy 2019 Tax Proposal
                             TY2019 ProLaw: Proposal_Calculator.pdf
   603.          J. Castro   TY2019 Raw Data Transmitted to IRS: 2019 2019-01509
                             TY2019 Raw Data Transmitted to IRS: 2019-01509 - FD
   604.          J. Castro   TY2019 SmartVault: 2019 AMENDED TOZETO U.S. FEDERAL
                             INCOME TAX RETURN
                             TY2019 SmartVault: 2019 Business Income
                             TY2019 SmartVault: 2019 FBAR and 8938 Spreadsheet
                             TY2019 SmartVault: 2019 Rental Property



DEFENDANT’S EXHIBIT LIST                                                                                                   67
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24            Page 68 of 124 PageID 634



Exhibit Number   Sponsoring Description of Exhibit                                                 Identified   Offered Admitted
                 Witness
                             TY2019 SmartVault: 2019 TOZETO U.S. FEDERAL INCOME TAX
                             RETURN
                             TY2019 SmartVault: 2019-Health-Savings-Account-227505233-Form-1099-
                             SA-&-Instructions
                             TY2019 SmartVault: 2019_Annual_Client_Info_Sheet_(ACIS)
                             TY2019 SmartVault: A200_Distribution_Advice_2019_07_16
                             TY2019 SmartVault: A200_Distribution_Advice_2019_10_16
                             TY2019 SmartVault: ATO18-19_Notice1
                             TY2019 SmartVault: ATO18-19_Notice2
                             TY2019 SmartVault: Bank_of_america_TaxStatement_2020
                             TY2019 SmartVault: Donations_to_parents
                             TY2019 SmartVault: Fabio_Oz_Passport_Main_Page
                             TY2019 SmartVault: Form1095C
                             TY2019 SmartVault: Form3922
                             TY2019 SmartVault: Giulia_Oz_Passport_main
                             TY2019 SmartVault: HRBlock_2019TaxReturn
                             TY2019 SmartVault: IRA_contribution
                             TY2019 SmartVault: ITIN_applications
                             TY2019 SmartVault: Karin_Oz_Passport_main
                             TY2019 SmartVault: Mortgage2019



DEFENDANT’S EXHIBIT LIST                                                                                                      68
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 69 of 124 PageID 635



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
                             TY2019 SmartVault: ORIGINAL AMENDED RETURN
                             TY2019 SmartVault: ORIGINAL RETURN
                             TY2019 SmartVault: Radius_ftozetoramos-01_23_20(1)
                             TY2019 SmartVault: Radius_ftozetoramos-01_23_20
                             TY2019 SmartVault: Rental Income & Expenditure Report for a 12 Month
                             Period Fabio
                             TY2019 SmartVault: Schwab_1099B
                             TY2019 SmartVault:
                             Schwab_1099CompositeandYearEndSummary20190124207923
                             TY2019 SmartVault: Schwab_1099DIV2019010119
                             TY2019 SmartVault: Schwab_Form3922_2019_123119
                             TY2019 SmartVault: Sydney_Uni_salary
                             TY2019 SmartVault: TaxReturn_Australia2018-2019(1)
                             TY2019 SmartVault: TaxReturn_Australia2018-2019
                             TY2019 SmartVault: Thomas_Oz_Passport
                             TY2019 SmartVault: Unisuper_Jan2019
                             TY2019 SmartVault: Unisuper_Jul2019
                             TY2019 SmartVault: Vanguard_USA_TaxForm
                             TY2019 SmartVault: VAS_Issuer_Annual_Tax_Statement_2019_07_22 (1)
                             TY2019 SmartVault: VAS_Issuer_Annual_Tax_Statement_2019_07_22



DEFENDANT’S EXHIBIT LIST                                                                                                       69
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 70 of 124 PageID 636



Exhibit Number   Sponsoring Description of Exhibit                                               Identified   Offered Admitted
                 Witness
                             TY2019 SmartVault: VAS_MIS_Periodic_Statement_2019_11_22 (2)
                             TY2019 SmartVault: VAS_Payment_Advice_2019_07_16
                             TY2019 SmartVault: VAS_Payment_Advice_2019_10_16
                             TY2019 SmartVault: VAS_Payment_Advice_2020_01_17
                             TY2019 SmartVault: VGB_Issuer_Annual_Tax_Statement_2019_07_22 (1)
                             TY2019 SmartVault: VGB_MIS_Periodic_Statement_2019_11_22
                             TY2019 SmartVault: VGB_Payment_Advice_2019_07_16
                             TY2019 SmartVault: VGB_Payment_Advice_2019_10_16
                             TY2019 SmartVault: VTS_Payment_Advice_2019_04_24
                             TY2019 SmartVault: VTS_Payment_Advice_2019_07_15
                             TY2019 SmartVault: VTS_Payment_Advice_2019_10_15
                             TY2019 SmartVault: VTS_Payment_Advice_2020_01_28
                             TY2019 SmartVault: W2_nvidia
                             TY2019 SmartVault:
                             TY2019 SmartVault:
                             TY2019 SmartVault:
                             TY2019 SmartVault:
                                     CLIENT SPECIFIC FILES – Turrati, Federico (17, 18, 19)
   605.          J. Castro   Outline of Turatti Call
   606.          J. Castro   Turatti Call



DEFENDANT’S EXHIBIT LIST                                                                                                    70
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 71 of 124 PageID 637



Exhibit Number   Sponsoring Description of Exhibit                                                     Identified   Offered Admitted
                 Witness
   607.          J. Castro   DC tax return
   608.          J. Castro   US tax return
   609.          J. Castro   TY2017 Email: 2018-02-17 Fwd_ Castro and Company LLC has sent you a
                             link to the document _2017 Annual Client Information Sheet _pdf__
   610.          J. Castro   TY2017 Email: 2018-02-17 RE_ Castro and Company LLC has sent you a
                             link to the document _2017 Annual Client Information Sheet _pdf__
   611.          J. Castro   TY2017 Email: 2018-02-19 a, RE_ Additional relocation expense_ Turatti_
                             FY2017
   612.          J. Castro   TY2017 Email: 2018-02-19 Additional relocation expense_ Turatti_
                             FY2017
   613.          J. Castro   TY2017 Email: 2018-02-19 b, RE_ Additional relocation expense_ Turatti_
                             FY2017 (1)
   614.          J. Castro   TY2017 Email: 2018-02-19 FW_ Additional relocation expense_ Turatti_
                             FY2017
   615.          J. Castro   TY2017 Email: 2018-02-20 b, Re_ Additional relocation expense_ Turatti_
                             FY2017 (2)
   616.          J. Castro   TY2017 Email: 2018-02-20 c, RE_ Additional relocation expense_ Turatti_
                             FY2017 (3)
   617.          J. Castro   TY2017 Email: 2018-02-20 d, Re_ Additional relocation expense_ Turatti_
                             FY2017 (4)



DEFENDANT’S EXHIBIT LIST                                                                                                          71
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24            Page 72 of 124 PageID 638



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
   618.          J. Castro   TY2017 Email: 2018-02-24 FW_ TURATTI_ amended out of pocket
                             medical costs
   619.          J. Castro   TY2017 Email: 2018-02-24 RE_ TURATTI_ amended out of pocket
                             medical costs
   620.          J. Castro   TY2017 Email: 2018-02-24 TURATTI_ amended out of pocket medical
                             costs
   621.          J. Castro   TY2017 Email: 2018-02-25 Castro & Co_ ⚜ 2017 Tax Proposal
   622.          J. Castro   TY2017 Email: 2018-02-25 Re_ Castro & Co_ ⚜ 2017 Tax Proposal
   623.          J. Castro   TY2017 Email: 2018-02-26 a, Re_ Castro & Co_ ⚜ 2017 Tax Proposal (12)
   624.          J. Castro   TY2017 Email: 2018-02-26 b, RE_ Castro & Co_ ⚜ 2017 Tax Proposal
                             (11)
   625.          J. Castro   TY2017 Email: 2018-02-26 c, RE_ Castro & Co_ ⚜ 2017 Tax Proposal
                             (10)
   626.          J. Castro   TY2017 Email: 2018-02-26 Castro & Co_ ⚜ 2017 __REVISED__ Tax
                             Proposal
   627.          J. Castro   TY2017 Email: 2018-02-26 Castro & Co_ ⚜ _REVISED_ 2017 Tax
                             Proposal
   628.          J. Castro   TY2017 Email: 2018-02-26 d, RE_ Castro & Co_ ⚜ 2017 Tax Proposal (9)
   629.          J. Castro   TY2017 Email: 2018-02-26 e, RE_ Castro & Co_ ⚜ 2017 Tax Proposal (8)



DEFENDANT’S EXHIBIT LIST                                                                                                        72
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                 Page 73 of 124 PageID 639



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
   630.          J. Castro   TY2017 Email: 2018-02-26 f, RE_ Castro & Co_ ⚜ 2017 Tax Proposal (7)
   631.          J. Castro   TY2017 Email: 2018-02-26 g, RE_ Castro & Co_ ⚜ 2017 Tax Proposal (6)
   632.          J. Castro   TY2017 Email: 2018-02-26 h, RE_ Castro & Co_ ⚜ 2017 Tax Proposal (5)
   633.          J. Castro   TY2017 Email: 2018-02-26 i, Re_ Castro & Co_ ⚜ 2017 __REVISED__
                             Tax Proposal
   634.          J. Castro   TY2017 Email: 2018-02-26 RE_ Castro & Co_ ⚜ _REVISED_ 2017 Tax
                             Proposal (13)
   635.          J. Castro   TY2017 Email: 2018-02-26 Re_ Castro & Co_ ⚜ _REVISED_ 2017 Tax
                             Proposal
   636.          J. Castro   TY2017 Email: 2018-02-26 Re_ TURATTI_ URGENT_ Additional W-2
                             just received
   637.          J. Castro   TY2017 Email: 2018-02-26 TURATTI_ URGENT_ Additional W-2 just
                             received
   638.          J. Castro   TY2017 Email: 2018-02-28 2017 Electronic Return Accepted by the IRS
   639.          J. Castro   TY2017 Email: 2018-03-02 DC state tax return filing
   640.          J. Castro   TY2017 Email: 2018-03-02 RE_ DC state tax return filing
   641.          J. Castro   TY2017 Email: 2018-03-28 Castro & Co_ _ DC ID Verification
   642.          J. Castro   TY2017 Email: 2018-03-30 RE_ Castro & Co_ _ DC ID Verification (14)
   643.          J. Castro   TY2017 Email: 2018-03-30 Re_ Castro & Co_ _ DC ID Verification



DEFENDANT’S EXHIBIT LIST                                                                                                       73
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 74 of 124 PageID 640



Exhibit Number   Sponsoring Description of Exhibit                                               Identified   Offered Admitted
                 Witness
   644.          J. Castro   TY2017 Email: 2018-04-05 Re_ Status of 2017 Refund_ TURATTI (15)
   645.          J. Castro   TY2017 Email: 2018-04-05 RE_ Status of 2017 Refund_ TURATTI (16)
   646.          J. Castro   TY2017 Email: 2018-04-05 RE_ Status of 2017 Refund_ TURATTI
   647.          J. Castro   TY2017 Email: 2018-04-05 Status of 2017 Refund_ TURATTI
   648.          J. Castro   TY2017 Email: 2018-04-06 RE_ Status of 2017 Refund_ TURATTI (17)
   649.          J. Castro   TY2017 Email: 2018-04-06 RE_ Status of 2017 Refund_ TURATTI (18)
   650.          J. Castro   TY2017 Email: 2018-04-20 Re_ Status of 2017 Refund_ TURATTI (19)
   651.          J. Castro   TY2017 Email: 2018-04-25 Re_ Status of 2017 Refund_ TURATTI (20)
   652.          J. Castro   TY2017 Email: 2018-04-26 RE_ Status of 2017 Refund_ TURATTI (21)
   653.          J. Castro   TY2017 Email: 2018-04-26 Re_ Status of 2017 Refund_ TURATTI (22)
   654.          J. Castro   TY2017 Email: 2018-04-26 RE_ Status of 2017 Refund_ TURATTI (23)
   655.          J. Castro   TY2017 Email: 2018-04-26 Re_ Status of 2017 Refund_ TURATTI (24)
   656.          J. Castro   TY2017 Email: 2018-04-27 Re_ Status of 2017 Refund_ TURATTI (25)
   657.          J. Castro   TY2017 Email: 2018-04-30 RE_ Status of 2017 Refund_ TURATTI (26)
   658.          J. Castro   TY2017 Email: 2018-05-08 Taxation advice - new tax code
   659.          J. Castro   TY2017 Email: 2018-05-10 RE_ Taxation advice - new tax code
   660.          J. Castro   TY2017 Email: 2018-05-11 RE_ Taxation advice - new tax code (27)
   661.          J. Castro   TY2017 Email: 2018-05-11 Re_ Taxation advice - new tax code (28)
   662.          J. Castro   TY2017 Email: 2018-05-11 RE_ Taxation advice - new tax code (29)
   663.          J. Castro   TY2017 Email: 2018-05-11 Re_ Taxation advice - new tax code (30)



DEFENDANT’S EXHIBIT LIST                                                                                                    74
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 75 of 124 PageID 641



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
   664.          J. Castro   TY2017 Email: 2018-05-11 RE_ Taxation advice - new tax code (31)
   665.          J. Castro   TY2017 Email: 2018-05-11 Re_ Taxation advice - new tax code (32)
   666.          J. Castro   TY2017 Email: 2018-06-05 Case Action _ Employee Benefits Plan
   667.          J. Castro   TY2017 Email: 2018-06-05 RE_ Case Action _ Employee Benefits Plan
                             (33)
   668.          J. Castro   TY2017 Email: 2018-06-05 Re_ Case Action _ Employee Benefits Plan
   669.          J. Castro   TY2017 Email: 2018-06-06 Re_ Case Action _ Employee Benefits Plan (34)
   670.          J. Castro   TY2017 Email: 2018-06-21 RE_ Case Action _ Employee Benefits Plan
                             (35)
   671.          J. Castro   TY2017 Email: 2018-08-16 Employee benefits plan - TURATTI
   672.          J. Castro   TY2017 Email: 2018-09-28 New Appointment Booked (Requires approval)
   673.          J. Castro   TY2017 Email: 2018-11-05 Fwd_ Appointment Alert
   674.          J. Castro   TY2017 Email: 2018-11-06 New Appointment Booked (Requires approval)
                             (37)
   675.          J. Castro   TY2017 Email: 2022-01-18, Email to Leila Carney in Re Turatti
   676.          J. Castro   TY2017 ProFX Tax: 2014-8Z1.B7I
                             TY2017 ProFX Tax: 2014-8Z1.U7I
                             TY2017 ProFX Tax: 2014-8Z2.B7I
                             TY2017 ProFX Tax: 2014-8Z2.U7I
   677.          J. Castro   TY2017 ProLaw: 2017 Tax Interview Packet v.5_Turatti.pdf



DEFENDANT’S EXHIBIT LIST                                                                                                         75
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 76 of 124 PageID 642



Exhibit Number   Sponsoring Description of Exhibit                                              Identified   Offered Admitted
                 Witness
                             TY2017 ProLaw: 2018-02-19, JSM
                             TY2017 ProLaw: Main Notes
                             TY2017 ProLaw: PDF copy 2017 Tax Proposal (2)
                             TY2017 ProLaw: PDF copy 2017 Tax Proposal (3)
                             TY2017 ProLaw: PDF copy 2017 Tax Proposal
   678.          J. Castro   TY2017 Raw Data Transmitted to IRS: 2014-00324_2017 1040 FD XML
                             TY2017 Raw Data Transmitted to IRS: 2014-00324_2017 1040 History
                             TY2017 Raw Data Transmitted to IRS: 2014-00324_2017 1040 MD XML
                             TY2017 Raw Data Transmitted to IRS: 2014-00324_2017 1040 UT XML
   679.          J. Castro   TY2017 SmartVault: 1098 TURATTI 2017 CORRECTED
                             TY2017 SmartVault: 2017 Annual Client Info Sheet---X
                             TY2017 SmartVault: 2017 FBAR Spreadsheet TURATTI---X
                             TY2017 SmartVault: 2017 TURATTI U.S. FEDERAL AND MD DC UT
                             STATE INCOME TAX RETURNS
                             TY2017 SmartVault: 2017 TURATTI U.S. FEDERAL AND STATE
                             INCOME TAX RETURN
                             TY2017 SmartVault: Donation, 100
                             TY2017 SmartVault: Donation, 150
                             TY2017 SmartVault: Expense, Taxes, Maryland MVA Sales Tax paid -
                             Receipt



DEFENDANT’S EXHIBIT LIST                                                                                                   76
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                Page 77 of 124 PageID 643



Exhibit Number   Sponsoring Description of Exhibit                                                        Identified   Offered Admitted
                 Witness
                             TY2017 SmartVault: Expense, Taxes, Turatti receipt, 2400 for vehicle sales
                             tax
                             TY2017 SmartVault: FORM 1095C - Rio Tinto---X
                             TY2017 SmartVault: FORM 1095C - Toyota---X
                             TY2017 SmartVault: Form 1098 MIS Turatt---Xi
                             TY2017 SmartVault: FORM 1099B---X
                             TY2017 SmartVault: FORM 1099DIV---X
                             TY2017 SmartVault: FORM 1099G---X
                             TY2017 SmartVault: FORM 1099INT---X
                             TY2017 SmartVault: FORM 1099S---X
                             TY2017 SmartVault: FORM 1099SA---X
                             TY2017 SmartVault: FORM W2 - Rio Tinto---X
                             TY2017 SmartVault: FORM W2 - Toyota---X
                             TY2017 SmartVault: Turatti, Federico - DC ID Verification Quiz
                             TY2017 SmartVault: W-2 Rio Tinto 2 Turatt---Xi
   680.          J. Castro   TY2018 Email: 2019-02-17 - New Appointment Booked (Requires
                             approval)
   681.          J. Castro   TY2018 Email: 2019-03-14 - 2018 Electronic Return Accepted by the IRS
   682.          J. Castro   TY2018 Email: 2019-03-15 - FBAR submission
   683.          J. Castro   TY2018 Email: 2019-03-15 - RE_ FBAR submission



DEFENDANT’S EXHIBIT LIST                                                                                                             77
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                Page 78 of 124 PageID 644



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
   684.          J. Castro   TY2018 Email: 2019-07-23 - TURATTI_ Amended 1098 TY2018
   685.          J. Castro   TY2018 Email: 2019-07-24 - RE_ TURATTI_ Amended 1098 TY2018
   686.          J. Castro   TY2018 Email: 2019-07-24 - School fees for special needs child
   687.          J. Castro   TY2018 Email: 2019-07-25 - New Appointment Booked (Requires
                             approval) (1)
   688.          J. Castro   TY2018 Email: 2019-07-25 - RE_ School fees for special needs child
   689.          J. Castro   TY2018 Email: 2019-08-07 - Re_ School fees for special needs child (2)
   690.          J. Castro   TY2018 Email: 2019-09-20 - Fwd_ UPDATE_ Chase and Form 1098 Tax
                             Correspondence
   691.          J. Castro   TY2018 Email: 2019-09-20 - Fwd_ UPDATE_ Chase and Form 1098 Tax
                             Correspondence
   692.          J. Castro   TY2018 Email: 2019-09-23 - RE_ UPDATE_ Chase and Form 1098 Tax
                             Correspondence
   693.          J. Castro   TY2018 Email: 2019-09-23 - RE_ UPDATE_ Chase and Form 1098 Tax
                             Correspondence
   694.          J. Castro   TY2018 Email: 2019-10-09 - RE_ Mail Received
   695.          J. Castro   TY2018 Email: 2019-11-07 - Fwd_ Chase Revised Form 1098
   696.          J. Castro   TY2018 Email: 2019-11-07 - RE_ Chase Revised Form 1098
   697.          J. Castro   TY2018 Email: 2022-01-18, Email to Leila Carney in Re Turatti
   698.          J. Castro   TY2018 ProFX Tax: 2014-8Z1.B8I



DEFENDANT’S EXHIBIT LIST                                                                                                         78
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 79 of 124 PageID 645



Exhibit Number   Sponsoring Description of Exhibit                                               Identified   Offered Admitted
                 Witness
                             TY2018 ProFX Tax: 2014-8Z1.U8I
   699.          J. Castro   TY2018 ProLaw: 2018 Tax Interview Packet_TURATTI FEDERICO.pdf
                             TY2018 ProLaw: Main Notes
                             TY2018 ProLaw: PDF copy 2018 Tax Proposal
                             TY2018 ProLaw: Proposal Calculator.pdf
   700.          J. Castro   TY2018 Raw Data Transmitted to IRS: 2014-00324_2018 1040 History
                             TY2018 Raw Data Transmitted to IRS: 2014-00324_2018 1040 MD
                             XML.txt
                             TY2018 Raw Data Transmitted to IRS: 2014-00324_2018 FD 1040 XML
   701.          J. Castro   TY2018 SmartVault: 1098 Turatti 2018 CORRECTED AS OF 07-02-2019
                             TY2018 SmartVault: 2018 FBAR and 8938 Spreadsheet
                             TY2018 SmartVault: 2018 TAX PROPOSAL
                             TY2018 SmartVault: 2018 TURATTI U.S. FEDERAL AND MD STATE
                             INCOME TAX RETURN
                             TY2018 SmartVault: 2018_Annual_Client_Info_Sheet_(ACIS) TURATTI
                             TY2018 SmartVault: Donation 1 63.44 2018 Turatti
                             TY2018 SmartVault: Donation 2 100 2018 Turatti
                             TY2018 SmartVault: Donation 3 20 2018 Turatti
                             TY2018 SmartVault: IRS Form 1095-C Turatti 2018
                             TY2018 SmartVault: IRS Form 1098-MIS Turatti 2018



DEFENDANT’S EXHIBIT LIST                                                                                                    79
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 80 of 124 PageID 646



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
                             TY2018 SmartVault: IRS Form 1099 INT Turatti
                             TY2018 SmartVault: IRS Form 1099G
                             TY2018 SmartVault: IRS Form W2
                             TY2018 SmartVault: Turatti, Federico - 2018 Paid Invoice
   702.          J. Castro   2019 FULL PRINT
   703.          J. Castro   2019 TURATTI U.S. FEDERAL AND MD STATE INCOME TAX
                             RETURN
   704.          J. Castro   TY2019 Email: 2020-02-16 New Appointment Booked (Requires approval)
   705.          J. Castro   TY2019 Email: 2020-04-01 RE_ Turatti_ TY2019 tax return submission
   706.          J. Castro   TY2019 Email: 2020-11-24 a, RE_ TURATTI 2017 Federal and State Tax
                             Return_ Not in SmartVault
   707.          J. Castro   TY2019 Email: 2020-11-24 b, Re_ TURATTI 2017 Federal and State Tax
                             Return_ Not in SmartVault (1)
   708.          J. Castro   TY2019 Email: 2020-11-24 TURATTI 2017 Federal and State Tax Return_
                             Not in SmartVault
   709.          J. Castro   TY2019 Email: 2021-01-26 Please contact a close colleague and possible
                             new Castro & Co_ client_ Bob Wimmer
   710.          J. Castro   TY2019 Email: 2021-01-26 RE_ Please contact a close colleague and
                             possible new Castro & Co_ client_ Bob Wimmer
   711.          J. Castro   TY2019 Email: 2022-01-18, Email to Leila Carney in Re Turatti



DEFENDANT’S EXHIBIT LIST                                                                                                         80
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 81 of 124 PageID 647



Exhibit Number   Sponsoring Description of Exhibit                                              Identified   Offered Admitted
                 Witness
   712.          J. Castro   TY2019 ProFX Tax: 2014-8Z1.B9I
                             TY2019 ProFX Tax: 2014-8Z1.U9I
   713.          J. Castro   TY2019 ProLaw: 2018 Annual Tax Interview Packet_F
                             Turatti_3.18.2020.pdf
                             TY2019 ProLaw: Main Notes
                             TY2019 ProLaw: PDF copy 2019 Tax Proposal
                             TY2019 ProLaw: Proposal_Calculator.pdf
   714.          J. Castro   TY2019 Raw Data Transmitted to IRS: 2014-00324 - FD
                             TY2019 Raw Data Transmitted to IRS: 2014-00324 - MD
                             TY2019 Raw Data Transmitted to IRS: 2019 2014-00324
   715.          J. Castro   TY2019 SmartVault: 1095-C TURATTI 2019
                             TY2019 SmartVault: 1098 TURATTI 2019
                             TY2019 SmartVault: 1098-MIS TURATTI 2019
                             TY2019 SmartVault: 1099-INT TURATTI 2019
                             TY2019 SmartVault: 1099-SA TURATTI 2019
                             TY2019 SmartVault: 2019 Annual Tax Interview Packet TURATTI
                             TY2019 SmartVault: 2019 Apr Main Bill Paying Checking account
                             TY2019 SmartVault: 2019 Aug Main Bill Paying Checking account
                             TY2019 SmartVault: 2019 Business meals
                             TY2019 SmartVault: 2019 Business Miles



DEFENDANT’S EXHIBIT LIST                                                                                                   81
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 82 of 124 PageID 648



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
                             TY2019 SmartVault: 2019 Dec Main Bill Paying Checking account
                             TY2019 SmartVault: 2019 Farmers Home Insurance
                             TY2019 SmartVault: 2019 FBAR and 8938 TURATTI
                             TY2019 SmartVault: 2019 Feb Main Bill Paying Checking account
                             TY2019 SmartVault: 2019 Jan Main Bill Paying Checking account
                             TY2019 SmartVault: 2019 Jul Main Bill Paying Checking account
                             TY2019 SmartVault: 2019 Jun Main Bill Paying Checking account
                             TY2019 SmartVault: 2019 Mar Main Bill Paying Checking account
                             TY2019 SmartVault: 2019 May Main Bill Paying Checking account
                             TY2019 SmartVault: 2019 Medical - Anthem - Partial, from Mar 2019 to
                             Dec 2019
                             TY2019 SmartVault: 2019 Medical Expenses - from HSA
                             TY2019 SmartVault: 2019 Nov Main Bill Paying Checking account
                             TY2019 SmartVault: 2019 Oct Main Bill Paying Checking account
                             TY2019 SmartVault: 2019 Out of Pocket Medical - 1
                             TY2019 SmartVault: 2019 Out of Pocket Medical - 2
                             TY2019 SmartVault: 2019 Out of Pocket Medical - 3
                             TY2019 SmartVault: 2019 Sep Main Bill Paying Checking account
                             TY2019 SmartVault: 2019 TAX PROPOSAL




DEFENDANT’S EXHIBIT LIST                                                                                                       82
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 83 of 124 PageID 649



Exhibit Number   Sponsoring Description of Exhibit                                                 Identified   Offered Admitted
                 Witness
                             TY2019 SmartVault: 2019 TURATTI U.S. FEDERAL AND MD STATE
                             INCOME TAX RETURN
                             TY2019 SmartVault: 2021-02-17 - Turatti, Federico - 2019 MD State
                             Examination
                             TY2019 SmartVault: Audit Response to Maryland
                             TY2019 SmartVault: Donation 1 TURATTI 2019
                             TY2019 SmartVault: Donation 2 TURATTI 2019
                             TY2019 SmartVault: Donation 3 TURATTI 2019
                             TY2019 SmartVault: MD POA Turatti SIGNED(1)
                             TY2019 SmartVault: MD POA Turatti SIGNED
                             TY2019 SmartVault: ORIGINAL RETURN
                             TY2019 SmartVault: Response to Questions from Kathryn Magan General
                             Counsel
                             TY2019 SmartVault: TURATTI 2019_Annual_Client_Info_Sheet__(ACIS)
                             copy
                             TY2019 SmartVault: Turatti, Federico- 2019 MD 1099-G
                             TY2019 SmartVault: Visa Fred Turatti 2019
                             TY2019 SmartVault: Visa FT Apr 2019
                             TY2019 SmartVault: Visa FT Aug 2019
                             TY2019 SmartVault: Visa FT Dec 2019



DEFENDANT’S EXHIBIT LIST                                                                                                      83
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 84 of 124 PageID 650



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
                             TY2019 SmartVault: Visa FT Feb 2019
                             TY2019 SmartVault: Visa FT Jan 2019
                             TY2019 SmartVault: Visa FT Jul 2019
                             TY2019 SmartVault: Visa FT Jun 2019
                             TY2019 SmartVault: Visa FT Mar 2019
                             TY2019 SmartVault: Visa FT May 2019
                             TY2019 SmartVault: Visa FT Nov 2019
                             TY2019 SmartVault: Visa FT Oct 2019
                             TY2019 SmartVault: Visa FT Sept 2019
                             TY2019 SmartVault: Visa JT 2019 (missing Jan-Feb)
                             TY2019 SmartVault: W2 TURATTI 2019
                                       CLIENT SPECIFIC FILES – Wells, Crystal (17, 18, 19)
   716.          J. Castro   TY2017 Email: 2018-03-31, John Sends Crystal Her 2017 Tax Proposal
   717.          J. Castro   TY2017 Email: 2018-04-05, Crystal Approves Proposal
   718.          J. Castro   TY2017 Email: 2018-04-06a, John Confirms Approval
   719.          J. Castro   TY2017 Email: 2018-04-06b, 2017 Electronic Return Accepted by the IRS
   720.          J. Castro   TY2017 Email: 2018-09-28, Joshua Scott Milam JD LLM Emails Crystal to
                             Schedule Annual Review
   721.          J. Castro   TY2017 Email: 2018-11-02, Crystal Asks for Copy of Return




DEFENDANT’S EXHIBIT LIST                                                                                                        84
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 85 of 124 PageID 651



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
   722.          J. Castro   TY2017 Email: 2018-11-03, John Uploads Copy of Crystal's Tax Return
                             into SmartVault
   723.          J. Castro   TY2017 ProFX Tax: 2016-411.B7I
                             TY2017 ProFX Tax: 2016-411.U7I
   724.          J. Castro   TY2017 ProLaw: 2017 Tax Interview Packet v.6_Wells.pdf
                             TY2017 ProLaw: PDF copy 2017 Tax Proposal
   725.          J. Castro   TY2017 Raw Data Transmitted to IRS: 2016-00732_2017 1040 History
                             TY2017 Raw Data Transmitted to IRS: 2016-00732_2017 1040 XML
   726.          J. Castro   TY2017 SmartVault: 2017 WELLS U.S. FEDERAL INCOME TAX
                             RETURN
                             TY2017 SmartVault: Brea Wouda ACIS---X
                             TY2017 SmartVault: Brea Wouda W-2---X
                             TY2017 SmartVault: Crystal Wells ACIS---X
                             TY2017 SmartVault: Crystal Wells W-2---X
   727.          J. Castro   TY2018 Email: 2019-03-01, Crystal Scheduled Annual Tax Interview
   728.          J. Castro   TY2018 Email: 2019-03-25, Kasondra Kay Humphreys CPA Asks Crystal
                             for Alimony Details
   729.          J. Castro   TY2018 Email: 2019-03-30, John Sends Crystal Her 2018 Tax Proposal
   730.          J. Castro   TY2018 Email: 2019-04-12a, Crystal Approves Proposal
   731.          J. Castro   TY2018 Email: 2019-04-12b, 2018 Electronic Return Accepted by the IRS



DEFENDANT’S EXHIBIT LIST                                                                                                        85
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 86 of 124 PageID 652



Exhibit Number   Sponsoring Description of Exhibit                                                      Identified   Offered Admitted
                 Witness
   732.          J. Castro   TY2018 Email: 2019-04-15, John Confirms Approval
   733.          J. Castro   TY2018 Email: 2019-10-09a, Crystal Asks for Copy of Return
   734.          J. Castro   TY2018 Email: 2019-10-09b, Celeste Uploads Copy and Notifies Crystal
   735.          J. Castro   TY2018 ProFX Tax: 2016-411.B8I
                             TY2018 ProFX Tax: 2016-411.U8I
   736.          J. Castro   TY2018 ProLaw: 2018 Tax Interview Packet_WELLS CRYSTAL.pdf
                             TY2018 ProLaw: Calculator.pdf
                             TY2018 ProLaw: Main Notes
                             TY2018 ProLaw: PDF copy 2018 Tax Proposal
   737.          J. Castro   TY2018 Raw Data Transmitted to IRS: 2016-00732_2018 1040 History
                             TY2018 Raw Data Transmitted to IRS: 2016-00732_2018 1040 XML
   738.          J. Castro   TY2018 SmartVault: 2018 WELLS U.S. FEDERAL INCOME TAX
                             RETURN
                             TY2018 SmartVault: ACIS
                             TY2018 SmartVault: ACIS2
                             TY2018 SmartVault: IRS Form 1095-C Nemours
                             TY2018 SmartVault: IRS Form 1095-C
                             TY2018 SmartVault: IRS Form 1095-C
                             TY2018 SmartVault: IRS Form W2, ORLANDO Health
   739.          J. Castro   TY2019 Email: 2020-01-31, Celeste Sends Crystal the 2019 Tax Intro Email



DEFENDANT’S EXHIBIT LIST                                                                                                           86
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 87 of 124 PageID 653



Exhibit Number   Sponsoring Description of Exhibit                                                      Identified   Offered Admitted
                 Witness
   740.          J. Castro   TY2019 Email: 2020-04-05, Crystal Schedules Annual Tax Interview
   741.          J. Castro   TY2019 Email: 2020-04-22, 2019 Electronic Return Accepted by the IRS
   742.          J. Castro   TY2019 Email: 2020-04-23a, Celeste Notifies Crystal of Stimulus Check
                             Arrival
   743.          J. Castro   TY2019 Email: 2020-04-23b, Tiffany Sends Crystal her 2019 Tax Proposal
   744.          J. Castro   TY2019 Email: 2020-04-27, Tiffany Explains that Daughter Requires
                             Separate Return
   745.          J. Castro   TY2019 Email: 2020-05-01, Tiffany Explains Why There is No Child Tax
                             Credit After Crystal Approves Proposal
   746.          J. Castro   TY2019 Email: 2020-07-15, Crystals Asks Tiffany for Update on Daughter's
                             Refund
   747.          J. Castro   TY2019 Email: 2020-07-15a, Tiffany Asks Kasondra to File Daughter's
                             Return
   748.          J. Castro   TY2019 Email: 2020-07-15b, Kasondra Confirms She Filed Daughter's
                             Return
   749.          J. Castro   TY2019 Email: 2021-04-07a, A Year Later, Crystal Asks Tiffany for Copy
                             of Return
   750.          J. Castro   TY2019 Email: 2021-04-07b,Tiffany Asks Celeste to Upload Crystal's
                             Return




DEFENDANT’S EXHIBIT LIST                                                                                                           87
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 88 of 124 PageID 654



Exhibit Number   Sponsoring Description of Exhibit                                                     Identified   Offered Admitted
                 Witness
   751.          J. Castro   TY2019 Email: 2021-04-07c, Celeste Informs Crystal that Return Has Been
                             in SmartVault for Nearly a Year
   752.          J. Castro   TY2019 Email: 2022-01-26, David Asks Crystal for Form 8879
   753.          J. Castro   TY2019 ProFX Tax: 2016-411.B9I
                             TY2019 ProFX Tax: 2016-411.U9I
   754.          J. Castro   TY2019 ProLaw: 2019 Annual Tax Interview Packet_C Wells_4.9.2020.pdf
                             TY2019 ProLaw: Main Notes
                             TY2019 ProLaw: PDF copy 2019 Tax Proposal
                             TY2019 ProLaw: Proposal_Calculator.pdf
   755.          J. Castro   TY2019 Raw Data Transmitted to IRS: 2016-00732 - FD
                             TY2019 Raw Data Transmitted to IRS: 2019 2016-00732
   756.          J. Castro   TY2019 SmartVault: 2019 document
                             TY2019 SmartVault: 2019 tax document
                             TY2019 SmartVault: 2019 tax documents
                             TY2019 SmartVault: 2019 tax
                             TY2019 SmartVault: 2019 WELLS U.S. FEDERAL INCOME TAX
                             RETURN
                             TY2019 SmartVault: Breas Bank Information(DAUGHTER)
                             TY2019 SmartVault: Breas W2(DAUGHTER)
                             TY2019 SmartVault: Castro & Co., LLC _ New Client Information Form



DEFENDANT’S EXHIBIT LIST                                                                                                          88
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 89 of 124 PageID 655



Exhibit Number   Sponsoring Description of Exhibit                                                      Identified   Offered Admitted
                 Witness
                             TY2019 SmartVault: ORIGINAL RETURN
                             TY2019 SmartVault: ucf tax(DAUGHTER)
                                      CLIENT SPECIFIC FILES – Zelinksi, Joseph (17, 18, 19)
   757.          J. Castro   Fully Reimbursed
   758.          J. Castro   TY2017 Email: 2018-02-15a, Zilinski Contacts the Firm Online
   759.          J. Castro   TY2017 Email: 2018-02-15b, John Emails Zilinski Intro Details
   760.          J. Castro   TY2017 Email: 2018-02-19a, Zilinski Emails Alfonso to Ask for Quick Call
   761.          J. Castro   TY2017 Email: 2018-02-19b, Alfonso Starts Onboarding
   762.          J. Castro   TY2017 Email: 2018-02-19c, Zilinski Provides Contact Details
   763.          J. Castro   TY2017 Email: 2018-02-19d, Alfonso Confirms Account Setup and Emails
                             IDR
   764.          J. Castro   TY2017 Email: 2018-03-18a, John Sends Zilinski his 2017 Tax Proposal
   765.          J. Castro   TY2017 Email: 2018-03-18b, Zilinski Approves the Proposal AND RE-
                             PROVIDES ACIS with BANK INFO
   766.          J. Castro   TY2017 Email: 2018-03-19, 2017 Electronic Return Accepted by the IRS
   767.          J. Castro   TY2017 Email: 2018-03-27, Alfonso Provides Zilinski with Update on
                             Refund
   768.          J. Castro   TY2017 Email: 2018-09-28, Josh Emails Zilinski to Schedule Annual
                             Review Call
   769.          J. Castro   TY2017 ProFX Tax: 2017-1F1.B7I



DEFENDANT’S EXHIBIT LIST                                                                                                           89
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 90 of 124 PageID 656



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
                             TY2017 ProFX Tax: 2017-1F1.U7I
   770.          J. Castro   TY2017 ProLaw: 2017 Tax Interview Packet v.6_Zilinski.pdf
                             TY2017 ProLaw: 2018-03-09, JAC
                             TY2017 ProLaw: PDF copy 2017 Tax Proposal
   771.          J. Castro   TY2017 Raw Data Transmitted to IRS: 2017-00834_2017 1040 History
                             TY2017 Raw Data Transmitted to IRS: 2017-00834_2017 1040 XML
   772.          J. Castro   TY2017 SmartVault: 2017 Annual Client Info Sheet (1)
                             TY2017 SmartVault: 2017 Annual Client Info Sheet (bank info)
                             TY2017 SmartVault: 2017 ZILINKSI U.S. FEDERAL INCOME TAX
                             RETURN
                             TY2017 SmartVault: FORM 1095C (2)---X
                             TY2017 SmartVault: FORM 1095C---X
                             TY2017 SmartVault: Form 1098-E---x
                             TY2017 SmartVault: FORM 1098E - JOSEPH---X
                             TY2017 SmartVault: FORM W2 - JOSEPH---X
                             TY2017 SmartVault: FORM W2 - KAYLA---X
   773.          J. Castro   TY2018 Email: 2019-02-26, John Sends Zilinski the 2018 Tax Intro Email
   774.          J. Castro   TY2018 Email: 2019-03-21, John Sends Zilinski his 2018 Tax Proposal
   775.          J. Castro   TY2018 Email: 2019-03-22a, Zilinski Approves the Proposal
   776.          J. Castro   TY2018 Email: 2019-03-22b, John Confirms Approval



DEFENDANT’S EXHIBIT LIST                                                                                                         90
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 91 of 124 PageID 657



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
   777.          J. Castro   TY2018 Email: 2019-03-26, 2018 Electronic Return Accepted by the IRS
   778.          J. Castro   TY2018 Email: 2021-03-22, John Emails Zilinski Information Needed for
                             2018 Audit
   779.          J. Castro   TY2018 Email: 2021-04-05, Kathryn Magan Emails Zilinski to Acquire
                             Documents for 2018 Audit
   780.          J. Castro   TY2018 Email: 2021-04-12a, Kathryn Magan Updates the Amendment
                             Spreadsheet
   781.          J. Castro   TY2018 Email: 2021-04-12b, Kathryn Magan Notifies John that Zilinski
                             Wants Full Refund
   782.          J. Castro   TY2018 Email: 2021-04-12c, JOHN EXPLAINS DISCLOSURES AND
                             FEE REIMBURSEMENT
   783.          J. Castro   TY2018 Email: 2021-04-12d, Kathryn Magan Asks Zilinski to Signs POAs
   784.          J. Castro   TY2018 Email: 2021-04-12e, Zilinski Claims the Deduction was Not
                             Properly Explained During Interview
   785.          J. Castro   TY2018 Email: 2021-04-12f, John Confirms Partial Responsibility for
                             Misunderstanding
   786.          J. Castro   TY2018 Email: 2021-04-13, Zilinski Asks for Confirmation of Refund
                             Amount Prior to Signing POAs
   787.          J. Castro   TY2018 Email: 2021-07-08, Celeste Sends Zilinski the 2018 Examination
                             Installment Plan Instructions



DEFENDANT’S EXHIBIT LIST                                                                                                        91
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                Page 92 of 124 PageID 658



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
   788.          J. Castro   TY2018 Email: 2021-08-13a, John Explains that Reimbursements Must Be
                             on Installment Method for Stability
   789.          J. Castro   TY2018 Email: 2021-08-13b, Celeste Explains to Zilinski that
                             Reimbursement Must Be on Installment Method
   790.          J. Castro   TY2018 Email: 2021-08-17, Zilinski Asks Details of Installment
                             Reimbursement
   791.          J. Castro   TY2018 Email: 2021-10-12, John Emails David List of 2019 Amendments
                             Uploaded for Client Signature
   792.          J. Castro   TY2018 ProFX Tax: 2017-1F1.B8I
                             TY2018 ProFX Tax: 2017-1F1.U8I
   793.          J. Castro   TY2018 ProLaw: 2018 Tax Interview Packet_ZILINSKI JOSEPH.pdf
                             TY2018 ProLaw: CALCULATOR.pdf
                             TY2018 ProLaw: Main Notes
                             TY2018 ProLaw: PDF copy 2018 Tax Proposal
   794.          J. Castro   TY2018 Raw Data Transmitted to IRS: 2017-00834_2018 1040 History
                             TY2018 Raw Data Transmitted to IRS: 2017-00834_2018 1040 XML
   795.          J. Castro   TY2018 SmartVault: 2018 TAX PROPOSAL
                             TY2018 SmartVault: 2018 ZILINSKI U.S. FEDERAL INCOME TAX
                             RETURN
                             TY2018 SmartVault: 2018_Annual_Client_Info_Sheet_(ACIS)



DEFENDANT’S EXHIBIT LIST                                                                                                       92
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                Page 93 of 124 PageID 659



Exhibit Number   Sponsoring Description of Exhibit                                                        Identified   Offered Admitted
                 Witness
                             TY2018 SmartVault: 2021-03-15 - Zilinski, Joseph - 2018 IRS Examination
                             TY2018 SmartVault: 2021-06-14 - ZILINSKI, JOSEPH - 2018 IRS
                             REPORT OF INCOME TAX EXAMINATION CHANGES
                             TY2018 SmartVault: IRS Form 1095-C, Kayla 2018
                             TY2018 SmartVault: IRS Form 1095-C
                             TY2018 SmartVault: IRS Form 1098-E, MOHELA Tax Info 2018
                             TY2018 SmartVault: IRS Form 1098-E
                             TY2018 SmartVault: IRS Form 1098-MIS
                             TY2018 SmartVault: IRS Form W-2, Joseph
                             TY2018 SmartVault: IRS Form W2, Kayla 2018
   796.          J. Castro   TY2019 Email: 2020-01-31, Celeste Sends Zilinski the 2019 Tax Intro
                             Email
   797.          J. Castro   TY2019 Email: 2020-02-09, Zilinski Books Annual Tax Interview with
                             Katherine Jeane Barnes JD LLM
   798.          J. Castro   TY2019 Email: 2020-03-10 John Sends Zilinski his 2019 Tax Proposal
   799.          J. Castro   TY2019 Email: 2020-03-11, 2019 Electronic Return Accepted by the IRS
   800.          J. Castro   TY2019 Email: 2020-03-21, Zilinski Asks if Return was Filed
   801.          J. Castro   TY2019 Email: 2020-03-24a, John Initially States that Return was Not Filed
   802.          J. Castro   TY2019 Email: 2020-03-24b, Zilinski Asks for Guidance on Filing Mishap




DEFENDANT’S EXHIBIT LIST                                                                                                             93
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                 Page 94 of 124 PageID 660



Exhibit Number   Sponsoring Description of Exhibit                                                      Identified   Offered Admitted
                 Witness
   803.          J. Castro   TY2019 Email: 2020-04-03a, Zilinski Again Asks How to Resolve
                             Accidental Filing
   804.          J. Castro   TY2019 Email: 2020-04-03b, John Confirms Inadvertent Filing Due to
                             COVID Chaos
   805.          J. Castro   TY2019 Email: 2020-04-17, Zilinski Contacts Firm via Website to Ask
                             About COVID Stimulus
   806.          J. Castro   TY2019 Email: 2020-04-21, Celeste Notifies Zilinski that the Firm is
                             Monitoring the COVID Stimulus Situation
   807.          J. Castro   TY2019 Email: 2020-04-23, Celeste Notifies Zilinski that Stimulus Check
                             was Sent
   808.          J. Castro   TY2019 Email: 2020-07-13a, Zilinski Asks for Copy of Return Before Fees
                             Settled
   809.          J. Castro   TY2019 Email: 2020-07-14a, Celeste Asks Zilinski to Pay Account Balance
   810.          J. Castro   TY2019 Email: 2020-07-14b, Zilinski Pays Account Balance
   811.          J. Castro   TY2019 Email: 2021-03-29, Kathryn Magan Makes Spreadsheet for 2019
                             Amendments
   812.          J. Castro   TY2019 Email: 2021-04-12, Kathryn Magan Updates the Amendment
                             Spreadsheet
   813.          J. Castro   TY2019 Email: 2021-06-05, John Emails Zilinski about the Need for a 2019
                             Amendment



DEFENDANT’S EXHIBIT LIST                                                                                                           94
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                Page 95 of 124 PageID 661



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
   814.          J. Castro   TY2019 Email: 2021-06-17, Zilinski is Confused Why 2019 is Being
                             Amended DESPITE Incredibly Detailed Email
   815.          J. Castro   TY2019 Email: 2021-06-24, Zilinski Refuses to Communicate via Email to
                             Ensure Historical Record
   816.          J. Castro   TY2019 Email: 2021-06-30, Alfonso Notifies John that Zilinski's 2019
                             Return Now Under Examination
   817.          J. Castro   TY2019 Email: 2021-07-08, Tiffany Updates Celeste on Status of
                             Examinations
   818.          J. Castro   TY2019 Email: 2021-08-17, Zilinski Asks Details of Installment
                             Reimbursement
   819.          J. Castro   TY2019 Email: 2021-09-08, John Instructs Celeste to Ensure All Clients
                             Notified They Will Be Refunded
   820.          J. Castro   TY2019 Email: 2021-10-14, JOHN EMAILS ZILINSKI THAT 2019
                             AMENDMENT IS MANDATORY
   821.          J. Castro   TY2019 Email: 2021-10-27, ALFONSO EMAILS ZILINSKI THE
                             CONTINGENT FEE REIMBURSEMENT DETAILS
   822.          J. Castro   TY2019 Email: 2021-11-18a, Zilinski Asks for More Detail on
                             Reimbursement Calculation
   823.          J. Castro   TY2019 Email: 2021-11-18b, Overwhelmed John Instructs Alfonso to
                             Ignore Since Question was Answered in Prior Email



DEFENDANT’S EXHIBIT LIST                                                                                                         95
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                  Page 96 of 124 PageID 662



Exhibit Number   Sponsoring Description of Exhibit                                                     Identified   Offered Admitted
                 Witness
   824.          J. Castro   TY2019 Email: 2022-01-26a, David Emails Zilinski for 2019 Form 8879
   825.          J. Castro   TY2019 Email: 2022-01-26b, Zilinski Refuses to Sign Form 8879 (John Not
                             Copied)
   826.          J. Castro   TY2019 Email: 2022-03-03, Zilinski Asks David to Call Him, Refusing to
                             Email (John Not Copied)
   827.          J. Castro   TY2019 Email: 2022-03-04, Alfonso Instructs David to Ignore Due to
                             Suspicions About Zilinski's Intent (John Not Copied)
   828.          J. Castro   TY2019 Email: 2022-03-05, Zilinski Again Asks David for a Reply (John
                             Not Copied)
   829.          J. Castro   TY2019 Email: 2022-03-05, Zilinski Asks for a Call, Never Emails John
   830.          J. Castro   TY2019 Email: 2022-03-15, Zilinski Again Asks for a Call, Never Emails
                             John
   831.          J. Castro   TY2019 Email: 2022-03-17, Zilinski Again Asks for a Call, Never Emails
                             John
   832.          J. Castro   TY2019 Email: 2022-03-21, Zilinski Again Asks for a Call, Never Emails
                             John
   833.          J. Castro   TY2019 Email: 2022-03-28, Zilinski Again Asks for a Call, Never Emails
                             John
   834.          J. Castro   TY2019 ProFX Tax: 2017-1F1.B9I
                             TY2019 ProFX Tax: 2017-1F1.U9I



DEFENDANT’S EXHIBIT LIST                                                                                                          96
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 97 of 124 PageID 663



Exhibit Number   Sponsoring Description of Exhibit                                                Identified   Offered Admitted
                 Witness
                             TY2019 ProFX Tax: 2017-1F2.B9I
                             TY2019 ProFX Tax: 2017-1F2.U9I
   835.          J. Castro   TY2019 ProLaw: 2019 Annual Tax Interview Packet_J
                             Zilinski_2.21.2020.pdf
                             TY2019 ProLaw: Main Notes
                             TY2019 ProLaw: PDF copy 2019 Tax Proposal
                             TY2019 ProLaw: Proposal_Calculator.pdf
   836.          J. Castro   TY2019 Raw Data Transmitted to IRS: 2019 2017-00834
                             TY2019 Raw Data Transmitted to IRS: 2019 2017-00834
   837.          J. Castro   TY2019 SmartVault: 1099-INT KAYLA 2019
   838.          J. Castro   TY2019 SmartVault: 2019 AMENDED ZILINSKI U.S. FEDERAL
                             INCOME TAX RETURN_
   839.          J. Castro   TY2019 SmartVault: 2019 Client Info page 1
                             TY2019 SmartVault: 2019 Client Info page 2
                             TY2019 SmartVault: 2019 Kayla 1095-C
                             TY2019 SmartVault: 2019 TAX PROPOSAL
                             TY2019 SmartVault: 2019 ZILINSKI U.S. FEDERAL INCOME TAX
                             RETURN
                             TY2019 SmartVault: 2020-03-25 - Zilinski, Joseph - BFS Notice
                             TY2019 SmartVault: ADP 2019 1095-C



DEFENDANT’S EXHIBIT LIST                                                                                                     97
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24           Page 98 of 124 PageID 664



Exhibit Number   Sponsoring Description of Exhibit                                            Identified   Offered Admitted
                 Witness
                             TY2019 SmartVault: ADP 2019 W2
                             TY2019 SmartVault: CRU W-2 2019
                             TY2019 SmartVault: MOHELA_tax_info
                             TY2019 SmartVault: ORIGINAL AMENDED RETURN
                             TY2019 SmartVault: ORIGINAL RETURN
                             TY2019 SmartVault: STIHL 2019 1095-C
                             TY2019 SmartVault: STIHL 2019 W2
                                                     VERIZON PHONE RECORDS
   840.          J. Castro   2018-03 Invoice
   841.          J. Castro   2018-04 Invoice
   842.          J. Castro   2019-04 Invoice
   843.          J. Castro   2019-05 Invoice
   844.          J. Castro   2020-03 Invoice
   845.          J. Castro   Ahmad Lampkin VZ Log 2017 – Redacted
   846.          J. Castro   Ahmad Lampkin VZ Log 2018 – Redacted
   847.          J. Castro   Angela Jackson VZ Log 2017 - Redacted
   848.          J. Castro   John Meyer VZ Log 2017 - Redacted
   849.          J. Castro   Linda Rivera VZ log 2017 – Redacted
   850.          J. Castro   Linda Rivera VZ log 2018 – Redacted
   851.          J. Castro   Linda Rivera VZ Log 2019 – Redacted



DEFENDANT’S EXHIBIT LIST                                                                                                 98
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                    Page 99 of 124 PageID 665



Exhibit Number   Sponsoring Description of Exhibit                                                          Identified   Offered Admitted
                 Witness
   852.          J. Castro   Michael Putica VZ Log 2019 – Redacted
   853.          J. Castro   Paul Clayton VZ log 2017 – Redacted
   854.          J. Castro   Robin Ragsdale VZ Log 2017 – Redacted
   855.          J. Castro   Robin Ragsdale VZ Log 2018 – Redacted
                                            INTERNAL DOCUMENTS AND EMAILS
   856.          J. Castro   Internal Taxation in Plain English: backup (2).docx
   857.          J. Castro   Internal Taxation in Plain English: backup 2022-03-31.docx
   858.          J. Castro   Internal Taxation in Plain English: backup manuscript.docx
   859.          J. Castro   Internal Taxation in Plain English: backup.docx
   860.          J. Castro   Internal Taxation in Plain English: Combined Manuscript on International
                             Taxation - Red Line.docx
   861.          J. Castro   Internal Taxation in Plain English:
                             Manuscript_for_Study_Aid_on_International_Taxation.docx
   862.          J. Castro   Law Blog Articles; Article 13(5) Article: Article_13(5)_.pdf
   863.          J. Castro   Law Blog Articles; Article 13(5) Article: capital_gain.jpg
   864.          J. Castro   Law Blog Articles; Article 13(5) Article: Treaty-Based Synthetic Basis Step-
                             Up Election for Australian Nationals.docx
   865.          J. Castro   Law Blog Articles; Australian Superannuation: CCA 200604023.pdf
   866.          J. Castro   Law Blog Articles; Australian Superannuation: Sydney.MP4
   867.          J. Castro   Law Blog Articles; Australian Superannuation: sydney_opera_house.jpg



DEFENDANT’S EXHIBIT LIST                                                                                                               99
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                 Page 100 of 124 PageID 666



Exhibit Number   Sponsoring Description of Exhibit                                                     Identified   Offered Admitted
                 Witness
   868.          J. Castro   Law Blog Articles; Australian Superannuation: Totalization.pdf
   869.          J. Castro   Law Blog Articles; Australian Superannuation:
                             U.S._Tax_Treatment_of_Australian_Superannuation_-_Law_Review.docx
   870.          J. Castro   Law Blog Articles; Changing Form of Payment for 409A: Changing the
                             Form of Payment Under a Section 409A NQDC Plan.docx
   871.          J. Castro   Law Blog Articles; Changing Form of Payment for 409A: law_library.jpg
   872.          J. Castro    Law Blog Articles; Child Care Expenses: 212 Expenses for production of
                             income.pdf
   873.          J. Castro   Law Blog Articles; Child Care Expenses: 262 Personal living and family
                             expenses.pdf
   874.          J. Castro   Law Blog Articles; Child Care Expenses: 2024-03-28, The Case for
                             Deducting Child Care Expenses.pdf
   875.          J. Castro   Law Blog Articles; Child Care Expenses: discrimination 2.jpg
   876.          J. Castro   Law Blog Articles; Child Care Expenses: K-1103 WHETHER SPECIFIC
                             KINDS OF PERSONAL EXPENSES ARE DEDUCTIBLE.pdf
   877.          J. Castro   Law Blog Articles; Child Care Expenses: O’Connor v C I R (citing sexist
                             Smith).pdf
   878.          J. Castro   Law Blog Articles; Child Care Expenses: Schedule C, Disclosure Form
                             8275, Line 48, Child Care Expenses Necessary to Pursue Business.txt




DEFENDANT’S EXHIBIT LIST                                                                                                         100
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24               Page 101 of 124 PageID 667



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
   879.          J. Castro   Law Blog Articles; Child Care Expenses: Smith v CIR (The Genesis
                             Case).pdf
   880.          J. Castro   Law Blog Articles; Child Care Expenses: The Case for Deducting Child
                             Care Expenses.docx
   881.          J. Castro   Law Blog Articles; CTB Planning In Re Section 965 Deemed Repatriation
                             Tax: Section 965 - Deemed Repatriation Tax.docx
   882.          J. Castro   Law Blog Articles; Deduct Medical Expenses of Non-Dependent Parents:
                             Deducting Medical Expenses of Parents and Relative Not Living With
                             You.docx
   883.          J. Castro   Law Blog Articles; Depreciation:    Depreciation.docx
   884.          J. Castro   Law Blog Articles; Depreciation: W2.JPG
   885.          J. Castro   Law Blog Articles; Downward Attribution: non-CFC.jpg
   886.          J. Castro   Law Blog Articles; Downward Attribution: non-CFC_700.jpg
   887.          J. Castro   Law Blog Articles; Downward Attribution: The Myth of Downward
                             Attribution.docx
   888.          J. Castro   Law Blog Articles; Employee Expenses Incurred Under a Reimbursement
                             Arrangement: 2020-09-26, Employee Expenses Incurred Under a
                             Reimbursement Arrangement.pdf




DEFENDANT’S EXHIBIT LIST                                                                                                       101
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                Page 102 of 124 PageID 668



Exhibit Number   Sponsoring Description of Exhibit                                                      Identified   Offered Admitted
                 Witness
   889.          J. Castro   Law Blog Articles; Employee Expenses Incurred Under a Reimbursement
                             Arrangement: 2024-03-28, Employee Expenses Incurred Under a
                             Reimbursement Arrangement.pdf
   890.          J. Castro   Law Blog Articles; Employee Expenses Incurred Under a Reimbursement
                             Arrangement: Plante v. U.S., 226 F. Supp. 314 (D.N.H. 1963) .pdf
   891.          J. Castro   Law Blog Articles; Expenses Paid by a Forgiven PPP Loan are Deductible:
                             Expenses Paid with a Forgiven PPP Loan are Deductible.docx
   892.          J. Castro   Law Blog Articles; Expenses Paid by a Forgiven PPP Loan are Deductible:
                             loan_forgiveness.jpg
   893.          J. Castro   Law Blog Articles; Expenses Paid by a Forgiven PPP Loan are Deductible:
                             Quote_Re_PPP.PNG
   894.          J. Castro   Law Blog Articles; Expenses Paid by a Forgiven PPP Loan are Deductible:
                             Quote_Re_PPP_.PNG
   895.          J. Castro   Law Blog Articles; Hobby vs Business: Understanding Business Purpose
                             and Schedule C.docx
   896.          J. Castro   Law Blog Articles; Impairment Expenses: Work-Related Temporary
                             Impairment Expenses.docx
   897.          J. Castro   Law Blog Articles; Invalidity of Check the Box Regulations: Foreign LLC-
                             Equivalents are Flow-Through by Default.docx




DEFENDANT’S EXHIBIT LIST                                                                                                          102
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                  Page 103 of 124 PageID 669



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
   898.          J. Castro   Law Blog Articles; Legality of Retroactive Regulations: Legality of
                             Retroactive Regulations.docx
   899.          J. Castro   Law Blog Articles; Meals and Impairment Expenses: Meals and Impairment
                             Expernses.docx
   900.          J. Castro   Law Blog Articles; Necessity of Tax Opinions: The Necessity of Tax
                             Opinions.docx
   901.          J. Castro   Law Blog Articles; NIIT Treaty Exemption: social_security_tax.jpg
   902.          J. Castro   Law Blog Articles; NIIT Treaty Exemption: The Net Investment Income
                             Tax is Offset by the Foreign Tax Credit if a Treaty Applies.docx
   903.          J. Castro   Law Blog Articles; NQDC Treaty Benefits: NQDC Plans Are Eligible for
                             Treaty Pension Benefits.docx
   904.          J. Castro   Law Blog Articles; NQDC Treaty Benefits: PLR 200209026 (IRA is a
                             Treaty Pension).pdf
   905.          J. Castro   Law Blog Articles; NQDC Treaty Benefits: PLR 200416008 (Lump Sum
                             Withdrawal Covered under Treaty).pdf
   906.          J. Castro   Law Blog Articles; NQDC Treaty Benefits: PLR 200416008 (NQDC Plan
                             Covered under Treaty).pdf
   907.          J. Castro   Law Blog Articles; NQDC Treaty Benefits: shutterstock_261716156.jpg
   908.          J. Castro   Law Blog Articles: NRA Shareholders of S Corps: Nonresident Aliens Can
                             Now Be S Corp Shareholders via an ESBT.docx



DEFENDANT’S EXHIBIT LIST                                                                                                        103
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                Page 104 of 124 PageID 670



Exhibit Number   Sponsoring Description of Exhibit                                                     Identified   Offered Admitted
                 Witness
   909.          J. Castro   Law Blog Articles; Paycheck Protection Program: Paycheck Protection
                             Program.PNG
   910.          J. Castro   Law Blog Articles; Paycheck Protection Program: SBA Paycheck Protection
                             Program.docx
   911.          J. Castro   Law Blog Articles; Per Se Corporation: per_se_corporation.jpg
   912.          J. Castro   Law Blog Articles; Permanent Establishments: OECD_Building.jpg
   913.          J. Castro   Law Blog Articles; Permanent Establishments: OECD_Sign.jpg
   914.          J. Castro   Law Blog Articles; Permanent Establishments: PE Excerpt.pdf
   915.          J. Castro   Law Blog Articles; Permanent Establishments: The Treaty Definition of a
                             Permanent Establishment.docx
   916.          J. Castro   Law Blog Articles; Permanent Establishments: Treaty_Word_Dictionary.jpg
   917.          J. Castro   Law Blog Articles; Reasonable Cause: Memo Re Reasonable Cause.docx
   918.          J. Castro   Law Blog Articles; Reasonable Cause: Memo Re Reasonable Cause.pdf
   919.          J. Castro   Law Blog Articles; Reasonable Cause: Reasonable Cause to Avoid Tax
                             Penalties.docx
   920.          J. Castro   Law Blog Articles; Reasonable Cause: reasonable_cause.jpg
   921.          J. Castro   Law Blog Articles; Religious Exemption: 47A31Religious services.pdf
   922.          J. Castro   Law Blog Articles; Religious Exemption: 597What constitutes a religious
                             order.pdf




DEFENDANT’S EXHIBIT LIST                                                                                                         104
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                 Page 105 of 124 PageID 671



Exhibit Number   Sponsoring Description of Exhibit                                                         Identified   Offered Admitted
                 Witness
   923.          J. Castro   Law Blog Articles; Religious Exemption: 2024-03-28, SE Tax Exemption
                             for Religious Organization Employees.pdf
   924.          J. Castro   Law Blog Articles; Religious Exemption: Eighth St. Baptist Church. v. U.S.,
                             295 F. Supp. 1400 (D. Kan. 1969).pdf
   925.          J. Castro   Law Blog Articles; Religious Exemption: faith.jpg
   926.          J. Castro   Law Blog Articles; Religious Exemption: P 3401524 MINISTERS AND
                             MEMBERS OF RELIGIOUS ORDERS.pdf
   927.          J. Castro   Law Blog Articles; Religious Exemption: Rev. Proc. 91-20.pdf
   928.          J. Castro   Law Blog Articles; Religious Exemption: SE Tax Exemption for Religious
                             Organization Employees.docx
   929.          J. Castro   Law Blog Articles; Religious Exemption: Treas. Reg. 31.3401(a)(9)-1.pdf
   930.          J. Castro   Law Blog Articles; SBA Issues PPP Loan Forgiveness Application and
                             Instructions: SBA Issues PPP Loan Forgiveness Application and
                             Instructions.docx
   931.          J. Castro   Law Blog Articles; SBA Issues PPP Loan Forgiveness Application and
                             Instructions: tax_deductions.jpg
   932.          J. Castro   Law Blog Articles; Section 119: Employer-Provided Lodging
                             Expenses.docx
   933.          J. Castro   Law Blog Articles; Section 139 Pandemic Disaster Relief Payments: Section
                             139 Pandemic Disaster Relief Payments.docx



DEFENDANT’S EXHIBIT LIST                                                                                                             105
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                    Page 106 of 124 PageID 672



Exhibit Number   Sponsoring Description of Exhibit                                                        Identified   Offered Admitted
                 Witness
   934.          J. Castro   Law Blog Articles; Section 139 Pandemic Disaster Relief Payments: tax-
                             free.jpg
   935.          J. Castro   Law Blog Articles; Section 163(j) Changes: 163 Interest -- Compare (1).pdf
   936.          J. Castro   Law Blog Articles; Section 163(j) Changes: 163 Interest.pdf
   937.          J. Castro   Law Blog Articles; Section 163(j) Changes: loan_agreement.jpg
   938.          J. Castro   Law Blog Articles; Section 163(j) Changes: The New 163(j) Interest Limits
                             and the Portfolio Interest Exemption.docx
   939.          J. Castro   Law Blog Articles; Section 163(j) Changes: Westlaw - 9 full text items for
                             American Jurisprudence 2d.pdf
   940.          J. Castro   Law Blog Articles; Section 165(i): Section 165(i) Disaster Loss
                             Deduction.docx
   941.          J. Castro   Law Blog Articles; Section 165(i): Section_165(i).jpg
   942.          J. Castro   Law Blog Articles; Section 165(i):     Section_165.jpg
   943.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI;
                             Worksheets: Comprehensive_QBI_Worksheet.pdf
   944.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI;
                             Worksheets: Mid-Tier_QBI_Worksheet.pdf
   945.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI;
                             Worksheets: Simplified_QBI_Worksheet.pdf




DEFENDANT’S EXHIBIT LIST                                                                                                            106
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 107 of 124 PageID 673



Exhibit Number   Sponsoring Description of Exhibit                                                     Identified   Offered Admitted
                 Witness
   946.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI: 2018
                             Instruction 1040.pdf
   947.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI: 2018
                             Publication 535.pdf
   948.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI: FULL
                             WORKSHEET form.pdf
   949.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI: FULL
                             WORKSHEET.pdf
   950.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI:
                             INSIGHT.docx
   951.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI:
                             IRS_Notice_2018-64_(Calculating_W-2_Wages).pdf
   952.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI: Mertens
                             on QBI.pdf
   953.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI: Mid Tier
                             and Full Worksheets.pdf
   954.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI: Mid Tier
                             Worksheet.pdf
   955.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI: Mid-Tier
                             SSTB Worksheet.pdf



DEFENDANT’S EXHIBIT LIST                                                                                                         107
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                  Page 108 of 124 PageID 674



Exhibit Number   Sponsoring Description of Exhibit                                                     Identified   Offered Admitted
                 Witness
   956.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI: NEW
                             ARTICLE.docx
   957.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI: QBI
                             Numbers.xlsx
   958.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI: QBI_-
                             _Simplified_Worksheet_copy edit trash.pdf
   959.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI:
                             qbi_flowchart.PNG
   960.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI:
                             Rev._Proc._2019-11_(Determination_of_W-2_Wages).pdf
   961.          J. Castro   Law Blog Articles; Section 199A Qualified Business Income QBI: The
                             Section 199A Qualified Business Income Deduction.docx
   962.          J. Castro   Law Blog Articles; Section 245A DRD: Section 245A DRD.url
   963.          J. Castro   Law Blog Articles; Section 245A DRD: tax-free.jpg
   964.          J. Castro   Law Blog Articles; Section 267(b)(1) Related Family Members: 267 Losses
                             expenses and interest with respect to transactions between related.pdf
   965.          J. Castro   Law Blog Articles; Section 267(b)(1) Related Family Members: family.jpg
   966.          J. Castro   Law Blog Articles; Section 267(b)(1) Related Family Members: Notes.txt
   967.          J. Castro   Law Blog Articles; Section 267(b)(1) Related Family Members: Section
                             267(b)(1) Related Family Members.docx



DEFENDANT’S EXHIBIT LIST                                                                                                         108
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                 Page 109 of 124 PageID 675



Exhibit Number   Sponsoring Description of Exhibit                                                         Identified   Offered Admitted
                 Witness
   968.          J. Castro   Law Blog Articles; Social Security Totalization Agreements: The Benefits of
                             Social Security Totalization Agreements.docx
   969.          J. Castro   Law Blog Articles; Special Education: Special Education Deduction.docx
   970.          J. Castro   Law Blog Articles; Special Education: special_education.jpg
   971.          J. Castro   Law Blog Articles; Step-by-Step Guide to Challenging the Validity of a
                             Treasury Regulation: blind_justice.jpg
   972.          J. Castro   Law Blog Articles; Step-by-Step Guide to Challenging the Validity of a
                             Treasury Regulation: New York State Charitable Gifts Trust Fund.txt
   973.          J. Castro   Law Blog Articles; Step-by-Step Guide to Challenging the Validity of a
                             Treasury Regulation: Notes.docx
   974.          J. Castro   Law Blog Articles; Step-by-Step Guide to Challenging the Validity of a
                             Treasury Regulation: STEP-BY-STEP GUIDE TO CHALLENGING
                             THE LEGALITY OF TREASURY REGULATIONS.docx
   975.          J. Castro   Law Blog Articles; Step-by-Step Guide to Challenging the Validity of a
                             Treasury Regulation: Step-by-Step Guide to Challenging the Validity of a
                             Treasury Regulation.docx
   976.          J. Castro   Law Blog Articles; Step-by-Step Guide to Challenging the Validity of a
                             Treasury Regulation: supreme_court.jpg
   977.          J. Castro   Law Blog Articles; Taxation of Americans at JDFPG: JDFPG Legal
                             Opinion by Dwyer Lawyers.pdf



DEFENDANT’S EXHIBIT LIST                                                                                                             109
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                   Page 110 of 124 PageID 676



Exhibit Number   Sponsoring Description of Exhibit                                                          Identified   Offered Admitted
                 Witness
   978.          J. Castro   Law Blog Articles; Taxation of Americans at JDFPG: JDFPG.docx
   979.          J. Castro   Law Blog Articles; The Constitutionality of Retroactive Tax Legislation:
                             The Constitutionality of Retroactive Tax Legislation.docx
   980.          J. Castro   Law Blog Articles; The Constitutionality of Retroactive Tax Legislation:
                             Unconstitutional.jpg
   981.          J. Castro   Law Blog Articles; Treaty Application to States: Income Tax Treaties Apply
                             to State Income Tax.docx
   982.          J. Castro   Law Blog Articles; Treaty Application to States: state_taxes.jpg
   983.          J. Castro   Law Blog Articles; Treaty Application to States: Treaty Application to State
                             Tax.docx
   984.          J. Castro   Law Blog Articles; UK LTA Charge Can Be Claimed as a Foreign Tax
                             Credit: HMRC_Building.jpg
   985.          J. Castro   Law Blog Articles; UK LTA Charge Can Be Claimed as a Foreign Tax
                             Credit: The U.K. LTA Charge Can Be Claimed as a Foreign Tax
                             Credit.docx
   986.          J. Castro   Law Blog Articles; UK SIPP: IMG_5197.TRIM.MOV
   987.          J. Castro   Law Blog Articles; UK SIPP: roth_conversion.jpg
   988.          J. Castro   Law Blog Articles; Using Non-Working Spouse as Real Estate Manager:
                             Non-Working Spouse and a Rental Property Create a Tax Planning
                             Opportunity.docx



DEFENDANT’S EXHIBIT LIST                                                                                                              110
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                   Page 111 of 124 PageID 677



Exhibit Number   Sponsoring Description of Exhibit                                                      Identified   Offered Admitted
                 Witness
   989.          J. Castro   Law Blog Articles; Vehicles: Section 280F.docx
   990.          J. Castro   Law Blog Articles; Willfulness: Memo Re Willfulness.docx
   991.          J. Castro   Law Blog Articles; Willfulness: Memo_Re_Willfulness.pdf
   992.          J. Castro   Law Blog Articles; Willfulness: monolpoly.jpg
   993.          J. Castro   Law Blog Articles; Willfulness: Willfulness v.4.docx
   994.          J. Castro   Law Blog Articles; Willfulness:
                             Willfulness,_Tax_Analysts_(Oct._21,_2014).pdf
   995.          J. Castro   Law Blog Articles; Learned_Hand_Quote.jpg: Ridgely_v_Lew.pdf
   996.          J. Castro   2016-06-21, Email Identifying Home Concrete as Basis to Challenge IRS
                             Rule.msg
   997.          J. Castro   2016-12-02, Email to James Land Re Self-Employed Health Insurance
                             Deduction.msg
   998.          J. Castro   2017-01-06 Email Showing Early 2017 Basic Development of Practices.msg
   999.          J. Castro   2017-02-28, Email Identifying Home Concrete as Basis to Challenge
                             Regulations.msg
   1000.         J. Castro   2017-03-09, Section 132 Tax-Free Fringe Benefit Guide Provide to Orlando
                             Client.msg
   1001.         J. Castro   2017-04-12, Email to Client Explaining Logic Behind Our Section
                             280F(d)(6)(B) Commuting.msg




DEFENDANT’S EXHIBIT LIST                                                                                                          111
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                Page 112 of 124 PageID 678



Exhibit Number   Sponsoring Description of Exhibit                                                     Identified   Offered Admitted
                 Witness
   1002.         J. Castro   2017-11-07, Another Email Relying on Home Concrete to Suggest a
                             Challenge to Regulations.msg
   1003.         J. Castro   2018-03-14, Cease and Desist Letter to Glenn Hines.msg
   1004.         J. Castro   2018-04-29, Employee Benefits Plan References Section 132(a)(4), (e) De
                             Minimis.msg
   1005.         J. Castro   2018-06-23, Email to Client and Joshua Scott Milam Regarding Section
                             119.msg
   1006.         J. Castro   2019-02-15, Education and Dependent Care Working Condition Fringe
                             Benefits.msg
   1007.         J. Castro   2019-10-05, Email Referencing Section 162(l) as Authority for Health
                             Insurance Deduction.msg
   1008.         J. Castro   2020-01-08, Chain Re Deduction for Form W-2, Box 12, Code DD.eml
   1009.         J. Castro   020-02-16, John Identifies Cohan Estimates In Re Vehicles.MOV
   1010.         J. Castro   2020-06-26, Tiffany Provides Data Entry Instructions with Erroneous
                             Instruction Re Family Medical.eml
   1011.         J. Castro   2020-07-08, Kasondra Addresses Other Issues and Repeats Tiffany's
                             Instructions.eml
   1012.         J. Castro   2020-11-30, Kasondra Kay Humphreys Conclusion Re Deducting Code
                             DD.eml
   1013.         J. Castro   2020-12-05, Email Explaining Tax Treatment of Vehicles to Team.msg



DEFENDANT’S EXHIBIT LIST                                                                                                         112
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                   Page 113 of 124 PageID 679



Exhibit Number   Sponsoring Description of Exhibit                                                        Identified   Offered Admitted
                 Witness
   1014.         J. Castro   2020-12-09, John Clarifies Legal Positions to Team Re 132 and 280F.eml
   1015.         J. Castro   2020-12-17, Email Explaining 280F(d)(6)(B) to Client.msg
   1016.         J. Castro   2021-06-20, Vow of Poverty Requirement Discovered.msg
   1017.         J. Castro   2021-08-02, Summary of Phone Discussion with Scott Tucker.msg
   1018.         J. Castro   2021-08-04, Charitable Marketing Advertising Expense.msg
   1019.         J. Castro   Affidavit of Amy Plumlee.pdf
   1020.         J. Castro   Declaration of Cameron Gregory.pdf
   1021.         J. Castro   Declaration of Martha Baker.pdf
   1022.         J. Castro   Memo Re Depreciating Leased Vehicle.pdf
   1023.         J. Castro   Section 119 Castro & Co. Virtual Consultation.mp4
                                                     LEGAL AUTHORITIES
   1024.         J. Castro   Legal Authorities: 26 U.S.C. § 67, Enumerated Above-the-Line Deductions
                             and Miscellaneous Itemized Deductions.pdf
   1025.         J. Castro   Legal Authorities: 26 U.S.C. § 119, Meals or lodging furnished for the
                             convenience of the employer (1).pdf
   1026.         J. Castro   Legal Authorities: 26 U.S.C. § 129, Dependent Care Assistance Programs
                             (Has Limits on Applicability Unlike Others).pdf
   1027.         J. Castro   Legal Authorities: 26 U.S.C. § 132, Certain fringe benefits.pdf
   1028.         J. Castro   Legal Authorities: 26 U.S.C. § 280F, Limitation on depreciation for luxury
                             automobiles limitation where certain property used for (1).pdf



DEFENDANT’S EXHIBIT LIST                                                                                                            113
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                    Page 114 of 124 PageID 680



Exhibit Number   Sponsoring Description of Exhibit                                                       Identified   Offered Admitted
                 Witness
   1029.         J. Castro   Legal Authorities: 26 U.S.C. § 6107, Tax Return Preparer Must Furnish
                             Copy of Return.pdf
   1030.         J. Castro   Legal Authorities: 26 U.S.C. § 6662, Imposition of Accuracy-Related
                             Penalty on Underpayments.pdf
   1031.         J. Castro   Legal Authorities: 26 U.S.C. § 6694, Unreasonable Positions.pdf
   1032.         J. Castro   Legal Authorities: 26 U.S.C. § 6695, Other Assessable Penalties With
                             Respect to the Preparation of Tax Returns.pdf
   1033.         J. Castro   Legal Authorities: 26 U.S.C. § 6702, Frivolous tax submissions.pdf
   1034.         J. Castro   Legal Authorities: 31 C.F.R. § 10.28, Lien on Tax Return Pending
                             Settlement of Fee.pdf
   1035.         J. Castro   Legal Authorities: Armstrong v. Phinney, 394 F.2d 661 (5th Cir. 1968).pdf
   1036.         J. Castro   Legal Authorities: EEp-FBO § 3-42, Fringe Benefits (Premiums of Entire
                             Family Deductible).pdf
   1037.         J. Castro   Legal Authorities: Employee Benefits Coordinator, § 15-69.50.pdf
   1038.         J. Castro   Legal Authorities: FedTaxCC § 217, Status as Employee (Identifies
                             Armstrong as Unique).pdf
   1039.         J. Castro   Legal Authorities: I.R.M. § 9.4.6.7.1, Surveillance Restrictions.pdf
   1040.         J. Castro   Legal Authorities: IRS Instructions for Form 2106 (2017) (Screenshot).png
   1041.         J. Castro   Legal Authorities: IRS Instructions for Form 2106 (2017).pdf




DEFENDANT’S EXHIBIT LIST                                                                                                           114
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                      Page 115 of 124 PageID 681



Exhibit Number   Sponsoring Description of Exhibit                                                       Identified   Offered Admitted
                 Witness
   1042.         J. Castro   Legal Authorities: IRS Notice 2006-31, Discussing Criminal Penalties for
                             Published Frivolous Positions.pdf
   1043.         J. Castro   Legal Authorities: IRS Notice 2010-33, Frivolous Positions.pdf
   1044.         J. Castro   Legal Authorities: IRS Publication 15-B (2020), Employer's Tax Guide to
                             Fringe Benefits.pdf
   1045.         J. Castro   Legal Authorities: IRS Publication 5137, Fringe Benefits Guide.pdf
   1046.         J. Castro   Legal Authorities: IRS, The Truth About Frivolous Tax Arguments (March
                             2022).pdf
   1047.         J. Castro   Legal Authorities: Jacob v U.S., 493 F.2d 1294 (3d Cir. 1974) (Meals
                             includes groceries on home-based business premises).pdf
   1048.         J. Castro   Legal Authorities: Mertens § 7-143, Working condition fringe benefits.pdf
   1049.         J. Castro   Legal Authorities: Mertens § 7-200, Meals and lodging furnished to
                             employees.pdf
   1050.         J. Castro   Legal Authorities: The Case Against Strategic Tax Law Uncertainty.pdf
   1051.         J. Castro   Legal Authorities: U.S. v. Lovely, 420 F.Supp.3d 398 (M.D.N.C. 2019) (for
                             a legal position to be frivolous, ''it is established beyond doubt'').pdf
   1052.         J. Castro   Legal Authorities: US v Loney.pdf
   1053.         J. Castro   Legal Authorities: US v Montgomery.pdf
   1054.         J. Castro   Legal Authorities: USTR P 67025.01, Frivolous Tax Return Penalty.pdf
                                                     Pre-AiTax Virtual Tax Interview



DEFENDANT’S EXHIBIT LIST                                                                                                           115
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                  Page 116 of 124 PageID 682



Exhibit Number   Sponsoring Description of Exhibit                                                      Identified   Offered Admitted
                 Witness
   1055.         J. Castro   2018 Annual Tax Interview Video (Created 2019-10-23)
   1056.         J. Castro   2018 Annual Tax Interview Video (Created 2019-10-08)
   1057.         J. Castro   2018 Annual Tax Interview: 00 Exit Tax planning.mp4
   1058.         J. Castro   2018 Annual Tax Interview: 00.1 Departure Planning
   1059.         J. Castro   2018 Annual Tax Interview: 00.2 Life Planning Docs
   1060.         J. Castro   2018 Annual Tax Interview: 00.3 Cohan Rule
   1061.         J. Castro   2018 Annual Tax Interview: 01 Annual Tax Interview Introduction
   1062.         J. Castro   2018 Annual Tax Interview: 02 Foreign Assets
   1063.         J. Castro   2018 Annual Tax Interview: 03 Rental Properties
   1064.         J. Castro   2018 Annual Tax Interview: 04 Sch C
   1065.         J. Castro   2018 Annual Tax Interview: 04.1 Indepth Overview
   1066.         J. Castro   2018 Annual Tax Interview: 04.10 Business Insurance
   1067.         J. Castro   2018 Annual Tax Interview: 04.11 Business Interest
   1068.         J. Castro   2018 Annual Tax Interview: 04.12 Legal Professional Services
   1069.         J. Castro   2018 Annual Tax Interview: 04.13 Office Equipment Long Term
   1070.         J. Castro   2018 Annual Tax Interview: 04.14 Pension Scheme Start Up
   1071.         J. Castro   2018 Annual Tax Interview: 04.15 Rent Expenses
   1072.         J. Castro   2018 Annual Tax Interview: 04.16 Repairs or maintenance
   1073.         J. Castro   2018 Annual Tax Interview: 04.17 Real estate Taxes and personal property
   1074.         J. Castro   2018 Annual Tax Interview: 04.18 License fees



DEFENDANT’S EXHIBIT LIST                                                                                                          116
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                  Page 117 of 124 PageID 683



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
   1075.         J. Castro   2018 Annual Tax Interview: 04.19 Travel expenses
   1076.         J. Castro   2018 Annual Tax Interview: 04.2 Income
   1077.         J. Castro   2018 Annual Tax Interview: 04.20 Business Meals
   1078.         J. Castro   2018 Annual Tax Interview: 04.21 Utilities Outside the Home
   1079.         J. Castro   2018 Annual Tax Interview: 04.3 Advertising Expense
   1080.         J. Castro   2018 Annual Tax Interview: 04.4 Section 119 132
   1081.         J. Castro   2018 Annual Tax Interview: 04.5 Vehicle Expenses
   1082.         J. Castro   2018 Annual Tax Interview: 04.6 Tolls
   1083.         J. Castro   2018 Annual Tax Interview: 04.7 Comissions
   1084.         J. Castro   2018 Annual Tax Interview: 04.8 Contract Labor
   1085.         J. Castro   2018 Annual Tax Interview: 04.9 Wages
   1086.         J. Castro   2018 Annual Tax Interview: 05 Education Expenses
   1087.         J. Castro   2018 Annual Tax Interview: 06 Student Loan Interest
   1088.         J. Castro   2018 Annual Tax Interview: 07 Claiming a dependent
   1089.         J. Castro   2018 Annual Tax Interview: 08 Dependent Care Expenses
   1090.         J. Castro   2018 Annual Tax Interview: 09 Adoption Intro
   1091.         J. Castro   2018 Annual Tax Interview: 10 Home Expenses
   1092.         J. Castro   2018 Annual Tax Interview:   11 Small But Important Items
   1093.         J. Castro   2018 Annual Tax Interview: 12 Unreimbursed Job Expenses Overview
   1094.         J. Castro   2018 Annual Tax Interview: 12.1 Parking Fees



DEFENDANT’S EXHIBIT LIST                                                                                                       117
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                 Page 118 of 124 PageID 684



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
   1095.         J. Castro   2018 Annual Tax Interview: 12.2 Tolls
   1096.         J. Castro   2018 Annual Tax Interview: 12.3 Local Transportation
   1097.         J. Castro   2018 Annual Tax Interview: 12.4 Work Related Travel
   1098.         J. Castro   2018 Annual Tax Interview: 13 Vehicle Make & Model
   1099.         J. Castro   2018 Annual Tax Interview: 13.1 Mileage
   1100.         J. Castro   2018 Annual Tax Interview: 13.10 Inspection Cost Etc
   1101.         J. Castro   2018 Annual Tax Interview: 13.11 Any Other Vehicle Costs
   1102.         J. Castro   2018 Annual Tax Interview: 13.2 Other Mileage
   1103.         J. Castro   2018 Annual Tax Interview: 13.3 Total Mileage
   1104.         J. Castro   2018 Annual Tax Interview: 13.4 Gas Expenses
   1105.         J. Castro   2018 Annual Tax Interview: 13.5 Oil Change Expenses
   1106.         J. Castro   2018 Annual Tax Interview: 13.6 Tires and brakes
   1107.         J. Castro   2018 Annual Tax Interview: 13.7 Other Repairs
   1108.         J. Castro   2018 Annual Tax Interview: 13.8 Auto Insurance
   1109.         J. Castro   2018 Annual Tax Interview: 13.9 Financing Interest
   1110.         J. Castro   2018 Annual Tax Interview: 14 Moving Expenses
   1111.         J. Castro   2018 Annual Tax Interview: 15 Health Insurance Premiums
   1112.         J. Castro   2018 Annual Tax Interview: 15.1 Glasses, Vision
   1113.         J. Castro   2018 Annual Tax Interview: 15.2 Medz RX
   1114.         J. Castro   2018 Annual Tax Interview: 15.3 Dental Care



DEFENDANT’S EXHIBIT LIST                                                                                                      118
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                 Page 119 of 124 PageID 685



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
   1115.         J. Castro   2018 Annual Tax Interview: 15.4 Routine Check Ups and more
   1116.         J. Castro   2018 Annual Tax Interview: 15.5 Medical Mileage
   1117.         J. Castro   2018 Annual Tax Interview: 16 Charitable Deducations
   1118.         J. Castro   2018 Annual Tax Interview: 17 Meals
   1119.         J. Castro   2018 Annual Tax Interview: 17.1 Gifts to coworkers
   1120.         J. Castro   2018 Annual Tax Interview: 18 Work Tools office furniture
   1121.         J. Castro   2018 Annual Tax Interview: 18.1 Laptop Phone Software
   1122.         J. Castro   2018 Annual Tax Interview: 18.10 Professional Subscription
   1123.         J. Castro   2018 Annual Tax Interview: 18.11 Professional fees
   1124.         J. Castro   2018 Annual Tax Interview: 18.2 Job Seeking Cost
   1125.         J. Castro   2018 Annual Tax Interview: 18.3 Cell Phone Usage
   1126.         J. Castro   2018 Annual Tax Interview: 18.4 Internet Usage
   1127.         J. Castro   2018 Annual Tax Interview: 18.5 Networking conferences
   1128.         J. Castro   2018 Annual Tax Interview: 18.6 Training Certifications
   1129.         J. Castro   2018 Annual Tax Interview: 18.7 Exam License renewal
   1130.         J. Castro   2018 Annual Tax Interview: 18.8 Self Education
   1131.         J. Castro   2018 Annual Tax Interview: 18.9 Union Dues
   1132.         J. Castro   2018 Annual Tax Interview: 19 Blue Collar Tools
   1133.         J. Castro   2018 Annual Tax Interview: 19.1 Machinery
   1134.         J. Castro   2018 Annual Tax Interview: 19.2 Uniforms



DEFENDANT’S EXHIBIT LIST                                                                                                      119
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                 Page 120 of 124 PageID 686



Exhibit Number   Sponsoring Description of Exhibit                                                    Identified   Offered Admitted
                 Witness
   1135.         J. Castro   2018 Annual Tax Interview: 19.3 Work Shoes
   1136.         J. Castro   2018 Annual Tax Interview: 19.4 Tailoring Expenses
   1137.         J. Castro   2018 Annual Tax Interview: 19.5 Saftey Equipment
   1138.         J. Castro   2018 Annual Tax Interview: 20 Emergency Personel Weapons
   1139.         J. Castro   2018 Annual Tax Interview: 20.1 Emergency Personel Tacticle
   1140.         J. Castro   2018 Annual Tax Interview: 20.2 Shooting Range Fees
   1141.         J. Castro   2018 Annual Tax Interview: 20.3 Emergency Personel Final message
   1142.         J. Castro   2018 Annual Tax Interview: 22 Thank you, Direct deposit
   1143.         J. Castro   2018 Annual Tax Interview, MACOSX: ._00 Exit Tax planning
   1144.         J. Castro   2018 Annual Tax Interview, MACOSX: ._01 Annual Tax Interview
                             Introduction
   1145.         J. Castro   2018 Annual Tax Interview, MACOSX: ._03 Rental Properties
   1146.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.11 Business Interest
   1147.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.12 Legal Professional Services
   1148.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.13 Office Equipment Long
                             Term
   1149.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.13 Office Supplies Short Term
   1150.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.14 Pension Scheme Start Up
   1151.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.15 Rent Expenses
   1152.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.16 Repairs or maintenance



DEFENDANT’S EXHIBIT LIST                                                                                                        120
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 121 of 124 PageID 687



Exhibit Number   Sponsoring Description of Exhibit                                                   Identified   Offered Admitted
                 Witness
   1153.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.17 Real estate Taxes and
                             personal property
   1154.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.18 License fees
   1155.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.19 Travel expenses
   1156.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.2 Income
   1157.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.20 Business Meals
   1158.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.21 Utilities Outside the Home
   1159.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.3 Advertising Expense
   1160.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.4 Section 119 132
   1161.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.5 Vehicle Expenses
   1162.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.6 Tolls
   1163.         J. Castro   2018 Annual Tax Interview, MACOSX: ._04.7 Comissions
   1164.         J. Castro   2018 Annual Tax Interview, MACOSX: ._12.2 Tolls
   1165.         J. Castro   2018 Annual Tax Interview, MACOSX: ._12.3 Local Transportation
   1166.         J. Castro   2018 Annual Tax Interview, MACOSX: ._12.4 Work Related Travel
   1167.         J. Castro   2018 Annual Tax Interview, MACOSX: ._13 Vehicle Make & Model
   1168.         J. Castro   2018 Annual Tax Interview, MACOSX: ._13.1 Mileage
   1169.         J. Castro   2018 Annual Tax Interview, MACOSX: ._13.10 Inspection Costs Etc.
   1170.         J. Castro   2018 Annual Tax Interview, MACOSX: ._13.11 Any Other Vehicle Costs
   1171.         J. Castro   2018 Annual Tax Interview, MACOSX: ._13.2 Other Mileage



DEFENDANT’S EXHIBIT LIST                                                                                                       121
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24             Page 122 of 124 PageID 688



Exhibit Number   Sponsoring Description of Exhibit                                                  Identified   Offered Admitted
                 Witness
   1172.         J. Castro   2018 Annual Tax Interview, MACOSX: ._13.4 Gas Expenses
   1173.         J. Castro   2018 Annual Tax Interview, MACOSX: ._13.7 Other Repairs
   1174.         J. Castro   2018 Annual Tax Interview, MACOSX: ._13.8 Auto Insurance
   1175.         J. Castro   2018 Annual Tax Interview, MACOSX: ._13.9 Financing Interest
   1176.         J. Castro   2018 Annual Tax Interview, MACOSX: ._15 Health Insurance Premiums
   1177.         J. Castro   2018 Annual Tax Interview, MACOSX: ._15.1 Glasses, Vision
   1178.         J. Castro   2018 Annual Tax Interview, MACOSX: ._15.2 Medz RX
   1179.         J. Castro   2018 Annual Tax Interview, MACOSX: ._15.3 Dental Care
   1180.         J. Castro   2018 Annual Tax Interview, MACOSX: ._15.4 Routine Check Ups and
                             more
   1181.         J. Castro   2018 Annual Tax Interview, MACOSX: ._15.5 Medical Mileage
   1182.         J. Castro   2018 Annual Tax Interview, MACOSX: ._15.5 Medical Mileage
   1183.         J. Castro   2018 Annual Tax Interview, MACOSX: ._17.1 Gifts to coworkers
   1184.         J. Castro   2018 Annual Tax Interview, MACOSX: ._18 Work Tools office furniture
   1185.         J. Castro   2018 Annual Tax Interview, MACOSX: ._18.1 Laptop Phone Software
   1186.         J. Castro   2018 Annual Tax Interview, MACOSX: ._18.10 Professional Subscription
   1187.         J. Castro   2018 Annual Tax Interview, MACOSX: ._18.11 Professional fees
   1188.         J. Castro   2018 Annual Tax Interview, MACOSX: ._18.2 Job Seeking Cost
   1189.         J. Castro   2018 Annual Tax Interview, MACOSX: ._18.3 Cell Phone Usage
   1190.         J. Castro   2018 Annual Tax Interview, MACOSX: ._18.4 Internet Usage



DEFENDANT’S EXHIBIT LIST                                                                                                      122
                  Case 4:24-cr-00001-Y Document 40 Filed 05/14/24              Page 123 of 124 PageID 689



Exhibit Number   Sponsoring Description of Exhibit                                                Identified   Offered Admitted
                 Witness
   1191.         J. Castro   2018 Annual Tax Interview, MACOSX: ._18.5 Networking conferences
   1192.         J. Castro   2018 Annual Tax Interview, MACOSX: ._18.6 Training Certifications
   1193.         J. Castro   2018 Annual Tax Interview, MACOSX: ._18.7 Exam License renewal
   1194.         J. Castro   2018 Annual Tax Interview, MACOSX: ._18.8 Self Education
   1195.         J. Castro   2018 Annual Tax Interview, MACOSX: ._18.9 Union Dues
   1196.         J. Castro   2018 Annual Tax Interview, MACOSX: ._19 Blue Collar Tools
   1197.         J. Castro   2018 Annual Tax Interview, MACOSX: ._19.1 Machinery
   1198.         J. Castro   2018 Annual Tax Interview, MACOSX: ._19.3 Work Shoes
   1199.         J. Castro   2018 Annual Tax Interview, MACOSX: ._19.4 Tailoring Expenses
   1200.         J. Castro   2018 Annual Tax Interview, MACOSX: ._19.5 Saftey Equipment
   1201.         J. Castro   2018 Annual Tax Interview, MACOSX: ._20 Emergency Personel Weapons
   1202.         J. Castro   2018 Annual Tax Interview, MACOSX: ._20.1 Emergency Personel
                             Tacticle
   1203.         J. Castro   2018 Annual Tax Interview, MACOSX: ._20.2 Shooting Range Fees
   1204.         J. Castro   2018 Annual Tax Interview, MACOSX: ._22 Thank you, Direct deposit


Dated: May 14, 2024                                  Respectfully submitted,

                                                     By: /s/Jason B. Freeman

                                                     Jason B. Freeman
                                                     TX Bar No. 24069736


DEFENDANT’S EXHIBIT LIST                                                                                                    123
                   Case 4:24-cr-00001-Y Document 40 Filed 05/14/24                 Page 124 of 124 PageID 690



                                                     FREEMAN LAW, PLLC
                                                     7011 Main Street
                                                     Frisco, Texas 75034
                                                     Tel.: 214.984.3410
                                                     Fax: 214.984.3409
                                                     jason@freemanlaw.com


                                                     By: /s/Franklyn Mickelsen

                                                     Franklyn Mickelsen
                                                     TX Bar No. 14011020
                                                     Broden & Mickelsen
                                                     2600 State Street
                                                     Dallas, Texas 75204
                                                     (214) 720-9552
                                                     (214) 720-9594 (facsimile)
                                                     mick@texascrimlaw.com


                                                     ATTORNEYS FOR DEFENDANT

                                                    CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing motion was served on all counsel of record via CM/ECF, on this 14th

day of May 2024.

                                                     /s/Jason B. Freeman




DEFENDANT’S EXHIBIT LIST                                                                                                             124
